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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA U.S. DISTRICT COURT
AUGUSTA DIVISION SOUTHERN DISTRICT OF GEORGIA

SEP 13 2024

REINALDO JAVIER RIVERA,

Petitioner, FILED

Vv. CV 113-161

SHAWN EMMONS Warden of the
Georgia Diagnostic and
Classification State Prison,}

Ne ee 8 es se

Respondent.

ORDER
Petitioner Reinaldo Rivera filed his Writ of Habeas Corpus
pursuant to 28 U.S.C. § 2254 in September 2013, (doc. 1), and
amended his Petition on October 20, 2014, (doc. 41). Before the
Court is Petitioner’s Amended Brief on Exhaustion and Procedural

Defenses, filed in support of his Petition for Writ of Habeas

Corpus. (Doc. 142.) The Respondent filed its Response, (doc.
145), and Petitioner replied, (doc. 150). The Court ordered
additional briefing, (doc. 157), and the matter is due for
resolution.

I. Facts and Procedural Background

On October 24, 2000, Reinaldo Rivera was indicted in Richmond
County, Georgia on one count of malice murder, three counts of

rape, four counts of aggravated sodomy, four counts of aggravated

1 Shawn Emmons is now the Warden and has been substituted as the defendant.
Fed. R. Civ. Pro. 25(d). The Clerk is DIRECTED to update the docket accordingly.
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assault, one count of possession of a knife during the commission
of a crime, and one count of burglary. (Doc. 29-1, pp. 11-19.)
These charges arise out of Rivera assaulting, sodomizing, and
raping Tabitha Bosdell, assaulting, sodomizing, raping, and
murdering Marni Glista, and assaulting and raping Chrisilee
Barton, the sole survivor of the three. (See docs. 29-1, pp. 11-
19; 29-28, pp. 107-146.) He entered a plea of guilty but mentally
ill, (doc. 29-6, p. 33), and at trial, the jury heard testimony
from competing experts who interpreted diagnostic tests conducted
on Rivera’s brain after his arrest. (Docs. 30-1; 30-2; 30-3, pp.
1-101.) After receiving the evidence summarized below, the jury
rejected the mentally ill defense, convicted Rivera, and sentenced
him to death. (Doc. 29-9, p. 29.)

A. Rivera’s Trial

The jury first heard the prosecution’s case in chief which
included audio recordings wherein Rivera confessed to and provided
details of the crimes charged as well as other assaults. (Docs.
29-29, pp. 148, 154; 29-30, pp. 167, 256.) Barton, in fact,
testified to harrowing details of her encounter, which occurred on
October 10, 2000. (Doc. 29-28, pp. 107-138.) She recounted the
statements Rivera made to her during her rape, (id. at 119), she
showed the jury her scar from where he stabbed her in the neck,
and she described the bodily disfigurement resulting therefrom,

(id. at 136-37).
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The failed attack on Barton led to Rivera’s arrest.
Investigators explained how they interviewed Barton’s neighbor who
described Rivera’s appearance and vehicle, and how they
immediately engaged a sketch artist to find Barton’s attacker and
alerted the media. (Doc. 29-28, pp. 160-65.) Rivera’s coworker
testified he called the police after seeing a description of the
suspect’s vehicle on television, and he recognized the artist’s
rendering of Rivera once he spoke with investigators. (Doc. 29-
29, pp. 25-28.) Rivera’s sister-in-law testified that, on this
same day, she called the sheriff’s department when she saw the
description of Rivera’s vehicle. (Doc. 29-29, p. 42.) She had
been suspicious of Rivera previously because she caught him talking
to girls, (id. at 48, 51), and observed how he randomly
disappeared. (id. at 49), She even called “crime stoppers” after
hearing a news story about Tiffaney Wilson, (id. at 57), who went
missing on December 4, 1999, because on that same date Rivera was
inexplicably late to a party. (Id. at 38.)

Investigators also described how, on the day after Barton’s

attack, Rivera attempted suicide and was taken to the same hospital

where Barton was being treated. (See doc. 29-28, pp. 147-48; see
also docs. 29-29, pp. 128; 29-14, p. 14.) From his hospital bed,
Rivera made several inculpatory statements. The first was on
October 12, 2000. (Doc. 29-13, pp. 189-99.) The trial judge

suppressed this statement because Rivera was drowsy from the
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effects of the suicide attempt, and the medication used to treat
him thereafter impacted his ability to speak coherently. (Docs.
29-14, pp. 182-86; 32-1, pp. 165-190; Doc. 36-1, pp. 178, 183; but
see doc. 29-13, pp. 189-90.) However, Rivera gave more statements
on October 13th, 14th, 20th, and 26th after being Mirandized, all
four of which were recorded and admitted as evidence at trial.
(See docs. 35-8, pp. 132-215; 36-1, pp.69-133, 136-59; 36-3, pp.

13-24 (Jackson-Denno Hearings.) However, not all four were played

to the jury in their entirety. (Docs. 29-29, pp. 148, 154-200
(October 13); 29-30, pp. 167-225 (October 26), 256-277 (October
14, in part); but see doc. 29-30, p. 251.)

Tabitha Bosdell’s sister testified about Bosdell’s activities
the day she went missing, (doc. 29-27, pp. 63-74), and an
investigator described finding Bosdell’s body using a map provided
by Rivera,* (id. at 74-75). A forensic dentist described the
procedure she used to identify Bosdell’s remains based upon dental
records. (Doc. 29-28, pp. 70-82.) One of the recordings of Rivera
included specific details regarding Bosdell’s death, such as the
type of bag she carried and clothes she wore, as well as where he
placed her body after he killed her. (Doc. 29-30, pp. 269-74; see

also id. at 277 (investigator testifying to finding body); doc.

2 Because Rivera admitted to slaying Bosdell in Columbia County, the Richmond
County indictment did not include a charge of her murder. (Doc. 29-27 at 86.)
The jury found Rivera guilty of assaulting, sodomizing, and raping Bosdell in
Richmond County, doc. 30-5 at 74-75, and the jury considered her murder only as
Similar transaction evidence.
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29-27, p. 75 (investigator testifying as to map used).)

The jury heard testimony from the people who found Marni
Glista in her home after she did not report for duty in the Army,
(doc. 29-27, pp. 113-19), and a physician described the
irreversible brain damage she suffered from limited or no blood
flow to her brain, (doc. 29-28, pp. 17-24). The jury heard the
autopsy findings of bruising and scratching in a “near
circumferential manner around the neck” which “correlated with the
implication of some sort of ligature around the neck,” (id. at
90), and the jury saw pictures of the injuries to her perianal
region, (id. at 64). Her cause of death was described as “delayed
consequences of ligature strangulation which essentially mean[t]
that this individual was assaulted, was strangled using an object”
which was “applied to a degree where there was a disturbance of
blood flow and oxygenation to the brain, but [it was] insufficient
to kill her at the time.” (Id. at 55.) The forensic pathologist
and medical examiner hypothesized that it took “a number of days
before those delayed consequences ultimately resulted in her
death.” (Id.) The jury also heard lengthy questioning from both
the State and the defense concerning whether the extensive friction
burns and other injuries to Glista’s body were (1) consistent with
involuntary, repetitive, and continuous movement which might have

accompanied a prolonged semi-conscious state; or (2) incurred in

an attempt to break free from her restraints during the assault.
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(Id. at 64-69.) The pathologist opined that, because the burns
were localized, they likely occurred during the attack. (Id. at

67; see also id. at 22.) The jury heard audio recordings of

Rivera’s confession to Glista’s murder. (Doc. 29-29, pp. 174-86.)
The State presented similar transaction evidence including
Rivera’s recorded confessions to other murders and between 150 and

200 prior rapes. (See generally, doc. 29-30.)3 The jury also

considered testimony from a dentist and forensic pathologist who
identified Melissa Dingess’s remains, (Doc. 29-30, pp. 18-35), and
testimony from her husband who stated she was seventeen years old
the day she went missing (id. at 132-38).

A bystander and witness testified he found an abandoned infant
at a welcome center on December 4, 1999. (Id. at 87- 107.) The
jury heard an audio recording of Rivera recounting how he
,Mmanipulated Tiffaney Wilson into entering his vehicle only to
realize too late she had a baby with her. (Id. at 169-70, 212.)
He tried not to think about the baby in the front of the van while
assaulting her, (id. at 196-97) and he struggled to drag Wilson’s
postpartum body away from his van when he disposed of her body.
(Id. at 206-207.) The jury heard Rivera explain how he first

attempted to abandon Wilson’s baby at a Dollar General store but

3 The Court provided repeated instructions on the impact of similar transactions
evidence, (see, e.g., doc. 29-30 at 15-16), and the defense sought a mistrial
after the second recording of Rivera was played, arguing prejudice outweighed
any probative value. (Id., pp. 224-225.) The trial judge denied the motion
(Id. at 228.)
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became afraid when the customers exited the store before he made
his getaway, so he decided to leave the baby at the welcome center
instead. (Id. at 171-72.) Wilson’s murder occurred on the same
day that Rivera was late to his sister-in-law’s aforementioned
party: December 4, 1999. (Id. at 216.) Wilson, who was also
seventeen years old, (id. at 142), had taken her child to see Santa
Clause that day. (Id. at 143.) When the baby was returned to her
grandmother after being found at the welcome center, she had to be
hospitalized due to her RSV symptoms (id. at 158). Needless toa
say, the evidence as to Rivera’s involvement in the assaults and
murders and the aggravating factors accompanying those murders was
devastating.

Trial counsel relied on a guilty but mentally ill strategy to
respond to the undeniable evidence of guilt. (Doc. 31-28, pp.
122; 32-15, pp. 60-61.) Their primary expert, Dr. Thomas Sachy,
detailed how state-of-the-art technology, combined with the
results of a study conducted by Dr. Adrian Raine, indicated that
Rivera had brain abnormalities which explained or caused his
compulsive actions. (Doc. 30-2, pp. 13, 32-33, 43, 72-73.)
According to Dr. Sachy, the study conducted by Dr. Raine used
position emission tomography (PET) scans which indicated that
subjects with functional abnormalities in the pre-frontal cortex
of their brain displayed increased rates of aggression and

antisocial behavior. (Id. at 21.) These abnormalities in the
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subjects’ brains correlated to or even predisposed them to
“behavior dis-control,” which limited their ability to override
compulsions. (Id. at 32, 43.) Dr. Sachy then displayed PET scan
images of Rivera’s brain which he claimed had been constructed
using a protocol precisely mimicking Dr. Raine’s test. (Id.; see
also id. at 11-12; id. at 144.) Dr. Sachy pointed out what he
perceived to be significant structural abnormalities in Rivera’s
brain. (Doc. 30-2, pp. 4-15; 20-140.)

Dr. Sachy admitted his own readings of the MRI and PET scans
conflicted with the interpretations given by the radiologists who

oversaw their production and interpreted them as substantially

normal. (See doc. 30-2, p. 108; see also, e.g., id. at 148-49

(defense expert Dr. Einhorn testifying Rivera’s neuropsychological
tests were negative, meaning his brain function was not impaired) .)
Nevertheless, according to Dr. Sachy, the tests conducted on Rivera
conclusively led to a finding that, like Dr. Raine’s test subjects,
Rivera too, was unable to control his compulsive ideations because
of his brain abnormality, which he described as a loss of “meat.”
(Id. at 46-50.) On redirect, Dr. Sachy concluded Rivera’s
condition was one of “moral insanity.” (Doc. 30-2, pp. 138-39.)
and agreed this condition was “[s]omething that the law doesn’t
recognize” when defining mentally ill. (Id. at 139-40.)

Geral Blanchard, a psychologist and counselor, also testified

regarding his own newly developed model of evaluation, called
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“biopsychosocial model for assessing lust murderers,” which he had
used to assess Rivera, and he opined as to Rivera’s sex addiction.
(Doc. 30-3, pp. 45, 59.) Blanchard testified the biopsychosocial
test results showed Rivera met the criteria for schizoid
personality disorder, bipolar disorder, sadistic personality
disorder, paraphilic disorder, and anxiety disorder. (Id. at 23.)
Blanchard described in detail Rivera’s sexual deviancy, including
his childhood “imprinting” of his father’s pornography and
associated conflict-driven home, Rivera’s first sexual
experiences, how older men performed sex acts on him in exchange
for money when he was a minor, his wrestling and military
background, his history of raping between “175 and 200 women” in
the Washington D.C. area, and progression of Rivera’s deviancy
into sadism and murder. (Id. at 46-58.) He discussed Rivera’s
lifelong, untreated sex addiction as a “level IV sex addict, the
most severe type.” (Id. at 59-60.) Based on these observations,
he concluded Rivera was mentally ill. (Id. at 24.) However,
Blanchard was not a medical doctor.

Rivera testified about his pervasive interest in sex and his
continued sexual fantasies. (Doc. 30-3, pp. 102-67.) The defense
Strategy appeared to be the argument Rivera must be mentally ill
because, otherwise, he would not have serially raped and murdered
and would not continue to fantasize about rapes while on trial.

(Id. at 120-21.) For example, the Defense suggested that, because
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of uncontrollable compulsions caused by brain abnormality, Rivera
had been kicked out of the navy, experienced great financial and
emotional turmoil and was fired from jobs, and he now faced
imprisonment or death. (Id. at 132-33.) Yet even now, Rivera
testified, he did not believe he could stop. (Id. at 134.)

On cross examination, Rivera described murdering Melissa
Dingess including details not previously heard in the recorded
confessions. (Id. at 144-46; see also docs. 29-29, pp. 154-200;
29-30, pp. 167-224, 256-77.) He described calculating his decision
to approach Tiffaney Wilson (Doc. 30-3, p. 146), noticing Tabatha
Bosdell walking down the street near her work, (id. at 149),
leaving Marni Glista because he “couldn’t keep on strangling” her,
and wondering whether she would be braindead because of the
strangulation, (id. at 151). Finally, he recounted returning to
Chrisilee Barton’s home to make sure he did not leave evidence
(id. at 151-52), finding she was still alive, and strangling her
more until he “gave up” because it was “very hard, not just
physically but when you start thinking about what you’re doing,”
and so he “went and got a butcher knife,” (id. at 152). When the
prosecutor questioned him as to each count of the indictment,
Rivera repeatedly responded he was “guilty” to each count. (Id.
at _ 154-593.) On re-redirect, Rivera ended his testimony by
confirming he killed them all and would do it “again, and again.”

(Id. at 166.)

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During the State’s rebuttal, Dr. Hayden Williams and other
experts contradicted Dr. Sachy’s diagnosis and conclusions. (Doc.
30-4, p. 6.) Dr. Williams explained the protocol used on Rivera
was faulty and did not, in fact, mimic the study on which Dr. Sachy
relied, rendering Dr. Sachy’s findings incomparable to Dr. Raine’s
study, and therefore, inconclusive. (Doc. 30-4, pp. 9-14.) On
redirect, he also explained the Defense experts had “manipulated
the color intensities on the [PET] scan,” (id. at 30), and the
images showed only relative activity and not absolute activity,
(id. at 35). In other words, he opined the images could not be
directly correlated with the hypothesis relied upon by the defense
team. (Id. at 37 (“You’re comparing apples to oranges on this
because the hottest areas on the scan are not the same.”).)

Next, Dr. David Hess testified that Dr. Sachy had
misinterpreted the very study he relied upon to form his conclusion
about Rivera. (See doc. 30-4, pp. 59-60.) According to Dr. Hess,
the Raine study did suggest some test subjects who experienced
frontal cortex disfunction had a limited ability to premeditate
and make decisions. (Id. at 59-61.) However, the test clearly
indicated the abnormality would impact only “affective” or “rage”
murderers-not predatory murderers such as Rivera. (Id. at 60.)
Dr. Hess further explained that individuals with the type of brain
damage described by Dr. Sachy would be unable to manipulate women

in the manner Rivera did; they could not “plan the rest of the

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day.” (Id. at 61-62.) He described Rivera as the “antithesis” of
the “pre-frontal personality.” (Id.) Dr. Hess explained the
results “actually disprove[d] the whole hypothesis set forward.”
(Id. at 60.) In other words, the defense sought to defend Rivera’s
actions based on a study whose findings did not apply to his crime
or his alleged brain abnormality which, if it existed at all, could
not be relevant to or explain the violent assaults. (Id.)

B. Verdict and Sentencing

After closing arguments, the jury found Rivera guilty on all

counts and rejected the mentally ill defense. (Doc. 30-5, pp. 74-
75.) The attorneys began debating admissibility of evidence for
the sentencing phase. (Doc. 30-5, pp. 78-85.) Rivera requested

to exercise his right “to not present any mitigating circumstances
or evidence on the part of the defense.” (Id. at 86.) He requested
the trial continue in his absence and explained he would never
seek appeal. (Id. at 86-87.)  Confounded by his request and how
to resolve the conflict between his wishes and his attorneys’
duties, the Court adjourned for the evening. (Id. at 103.)

The penalty phase of the trial began January 24, 2004. On
that day, the Court also held a hearing to determine whether Rivera
could represent himself. (Doc. 30-6, p. 5.) Rivera explained he
did not wish to proceed pro se and simply did not want anyone to
be “revictimized” by the mitigation stage, and any mitigation would

actually be in conflict with his own intention to “ask the jury if

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it would impose capital punishment.” (Id. at 8-9.) Rivera and
his attorneys “made an agreement,” with the following terms: Rivera
would not seek any right to be co-counsel; Rivera would testify in
the mitigation phase; and his mother, mother-in-law, sister-in-
law, and specified family friends would not testify on his behalf
in mitigation. (Id. at 10-15.) Rivera permitted testimony from
(1) Dr. Matthew Ciehan, a doctor with whom Rivera spoke regarding
his sex addiction two days after Wilson’s murder, (id. at 151);
(2) Pastor Steve Hartman, who consoled Rivera regarding his
emotional turmoil in December 1999, (ld. at 153); (3) Dr. Amy
Blanchard, who treated Rivera after his suicide attempt, (id. at
131); (4) Investigator Greg Newsome, who observed the scene of
Rivera’s suicide attempt, (aid. at 3490); and (5) Dr. Nathan Pino,
who testified Rivera cooperated in Dr. Pino’s research for a
journal article, (id. at 166). (See id. at 13-15.) The defense
also presented documentary evidence in-the form of correspondence
between Rivera and his children, photographs of his family, poems
Rivera wrote, and Rivera’s various awards and certificates. (Id.
at 17-19; see also docs. 30-12, pp. 36-55; 30-13, pp. 1- 55.) The
trial court approved this agreement. (Id. at 20.)

At penalty phase closing arguments, the state argued three
statutory aggravating circumstances were proven in regard to Marni
Glista’s murder, and therefore the death penalty was warranted.

(Doc. 30-7, pp. 5-7.) Indeed, the jury found the alleged statutory

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aggravating circumstances existed to impose the death penalty: (1)
Rivera murdered Marni Glista while engaging in the commission of
rape, another capitai felony; (2) Rivera murdered Marni Glista
while engaging in the commission of aggravated battery; and (3)
Marni Glista’s murder was outrageously or wantonly vile, horrible,
or inhumane because it involved torture, depravity of mind, or an

aggravated battery. (Doc. 29-9, pp. 28-29); see also Rivera v.

State, 647 S.E.2d 70, 80 (Ga. 2007) (holding jury’s finding of
“torture, depravity of mind, or an aggravated battery to the
victim,” was erroneous because finding should have been in
conjunctive to ensure unanimity of elements under § [17-10-
30] (6b) (7), but death sentence was still valid based on other
aggravating circumstances) (emphasis in original).) The jury
recommended a sentence of death, and the trial court sentenced
Rivera to death plus life imprisonment for each count of rape and
each count of aggravated sodomy, twenty years for each count of
aggravated assault, twenty years for burglary and five years for
possession of a knife during the commission of a crime, all to run
consecutively. (Doc. 29-10, pp. 29-31.) Rivera filed a motion
for new trial on February 19, 2004, which the trial court denied
on July 11, 2006. (Id. at 111.)

C. Rivera’s Direct Appeal

Rivera filed a notice of appeal in the Georgia Supreme Court

on July 25, 2006. (Doc. 29-1, pp. 9-10.) On appeal, Rivera

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challenged the admission of his recorded confession made from his
hospital bed on October 13th, and claimed he was forced into a
form of hybrid “self-representation,” among other claims. Rivera,
647 S.E.2d at 75-77. The Georgia Supreme Court unanimously
affirmed, holding (1) the trial evidence was sufficient to support
Rivera’s convictions and the trial court properly limited expert
testimony; (2) the trial court acted within its discretion in
admitting similar-transaction evidence; (3) the audiotaped
statements by Rivera were voluntary and thus properly admitted;
(4) the trial court properly limited the scope of Rivera’s cross-
examination of his ex-wife concerning their domestic life; (5) no
reversible error occurred by admitting similar transaction
evidence of a victim’s husband identifying a photograph of the
victim; (6) the trial court acted within its discretion in
dismissing a tardy juror; (7) the trial court did not “transform”
counsel into co-counsel by allowing Rivera to act as an involved
client, rejecting Rivera’s self-representation claim; (8) the
trial court’s jury instructions did not constitute
unconstitutional burden-shifting; (9) the prosecutor’s sentencing-
phase argument was narrowly tailored to and logically based on the
evidence; (10) the trial court did not err by denying Rivera an
opportunity to argue the effectiveness of the death penalty as a
general deterrent; (11) there was no error in the trial court’s

instruction to the jury regarding retiring for the evening; (12)

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the death sentence was not imposed under the influence of passion,
prejudice, or any other arbitrary factor; (13) the evidence was
sufficient to authorize the jury to find the statutory aggravating
circumstances to warrant a sentence of death; and (14) the death
sentence was not excessive or disproportionate. Id. at 74-80.

However, the Georgia Supreme Court found fault with the jury’s
wording in their return of the verdict concerning aggravating
circumstances, which made a disjunctive finding of “torture,
depravity of mind, or an aggravated battery to the victim.” Id.
at 79 (emphasis in the original). The Georgia Supreme Court held
“this finding should have been returned in the conjunctive to
ensure unanimity concerning the necessary elements of the § [17-
10-30] (b) (7) circumstances. [Cit.]” id. Nevertheless, the death
sentence was still valid based on other statutory aggravating
circumstances. id. The Georgia Supreme Court denied Rivera’s
motion for reconsideration on July 27, 2007. (Doc. 30-21.) Rivera
did not file a petition for writ of certiorari in the United States
Supreme Court.

D. State Habeas

In the fall of 2008, it came to light that Rivera’s October
12th statement had been recorded. Doc. 32-19, pp. 11-15. The
trial court had suppressed officer testimony describing this first
statement of five total from the hospital because Rivera was drowsy

from the effects of his suicide attempt and the medication used to

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treat him. The investigator’s testimony in the suppression hearing
and the state’s representation to the court was that the interview
had not been taped. (Docs. 29-14, p. 183; 32-1, pp. 165-90.)
Additionally, according to Rivera, the content differed from the
investigator’s description of the interview during the suppression
hearing. The recording was found in an apartment recently vacated
by one of the investigators, Richard Roundtree. (See doc. 142, p.
241; compare doc. 32-1, pp. 165-90, with doc. 29-13, pp. 189-90.)
The discovery of this recording and the investigator’s testimony
formed the foundation for Brady and Napue claims asserted in the
state habeas corpus petition.

Rivera’s state habeas corpus petition was filed in the
Superior Court of Butts County, Georgia on November 7, 2008. (Doc.
30-25.) That court’s operative scheduling order required Rivera
to furnish to the Respondent any affidavits he sought to introduce
at the evidentiary hearing by December 4, 2009. (Doc. 30-32, pp.
1-2.) Rivera did not file any affidavits prior to the close of
discovery. After conferring with the parties, the court set an
evidentiary hearing for May 24-26, 2010. (Doc. 31-14, p. 26.)
Two days later, Rivera’s counsel informed the court that a defense
expert, Dr. David Lisak, could not attend the hearing in May due
to a scheduling conflict. They informally sought to schedule the
hearing either in July or August. (Id. at 28, 46.) The Court

declined the continuance but entered an order reopening discovery

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for the limited purpose of deposing Dr. Lisak. (Id. at 30.) rt
then denied Rivera’s formal motion on the matter. (Doc. 31-14,
pp. 30-35, 49.) The court cited the fact that the previously
scheduled time had been agreed upon by the parties. Rivera
appealed, seeking review of the trial court’s “refusal to allow
Dr. Lisak to testify live before the court,” but the Georgia
Supreme Court granted Respondent’s motion to dismiss the appeal
and declined to stay the habeas proceedings. (Docs. 31-17; 31-
24.) The state habeas evidentiary hearing occurred as scheduled
on May 24-25, 2010. (See docs. 31-28 through Docs. 36-17.) Dr.
Lisak did not testify. However, testimony was elicited from a
victim of sexual abuse as a child by monks at a school. (Doc. 31-
28, pp. 81-85.) One of the school’s priests allegedly abused boys

at the school’s Puerto Rican counterpart, the school Rivera

attended while he lived there. A former coworker of Rivera’s
testified, as did Drs. Wu and Weker. (Docs. 31-29, pp. 5-47; id.
at 74-172.)

After the hearing, the state habeas court adopted
Respondent’s proposed order and denied relief. (Doc. 37-16.) The
court held the following claims were res judicata: (1) that portion
of Claim Two, wherein Rivera argued the prosecution made improper
and prejudicial remarks in both phases of trial; (2) that portion
of Claim Four wherein Rivera alleged the trial court erred in

admitting similar transaction evidence; (3) that portion of Claim

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Four wherein Rivera alleged the trial court erred in admitting
similar transaction evidence; (4) that portion of Claim Four,
wherein Rivera alleged the trial court erred by improperly limiting
argument, cross examination, and direct examination of witnesses;
(5) that portion of Claim Four wherein Rivera alleged the trial
court improperly excluded admissible expert testimony; (6) that
portion of Claim Four wherein Rivera alleged the trial court forced
him to self-represent or engage in hybrid representation during
portions of the trial; (7) that portion of Claim Four wherein
Rivera alleged the trial court issued erroneous jury instructions
that prejudiced Rivera during the guilt phase; (8) that portion of
Claim Six wherein Rivera alleged his death sentence was imposed
arbitrarily and capriciously, and pursuant to a pattern and
practice of discrimination in the administration and imposition of
the death penalty in Georgia; (9) that portion of Claim Six wherein
Rivera argued his death sentence was disproportionate. (See doc.
37-16, pp. 3-4.)

The state habeas court held the following claims were
procedurally defaulted: (1) those portions of Claim Two wherein
Rivera alleged prosecutorial or other state actor misconduct in
that state agents: (a) improperly interacted with jurors, (b)
failed to disclose unspecified information favorable to the
defense, (c) discouraged Rivera from seeking advice of counsel and

using coercive tactics, (d) failed to disclose the predicate

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evidence for Rivera’s suppression claim, (e) failed to ensure a
complete transcript was filed with the Superior Court after
Rivera’s conviction; and (f) mandated conditions of confinement
that interfered with Rivera’s relationship with trial counsel and
deprived Rivera of his right to consult with consular officials
from Spain; (2) Claim Three, wherein Rivera alleged juror
misconduct, (3) that portion of Claim Four wherein Rivera alleged
trial court error, including claims the trial court failed to
transmit a complete transcript to the Georgia Supreme Court and
failed to maintain an impartial judicial demeanor; (4) that portion
of Claim Six, wherein Rivera alleged the proportionality review
performed by the Georgia Supreme Court is constitutionally infirm
in general and as applied; (5) that portion of Claim Six, wherein
Rivera alleged execution by lethal injection was unconstitutional;
(6) Claim I(C) (3) of Rivera’s post-hearing brief where he alleged
the State failed to secure, and the trial court failed to enforce,
his right to speak with Spanish consular officials in violation of
the Vienna Convention; (7) Rivera’s Brady claim and associated
Napue claim, wherein he argued the failure to disclose a recording
of the October 12th interview, combined with the investigator’s
false testimony regarding same, resulted in an unconstitutional
conviction; (8) Rivera’s claim he was denied his right to appeal
because the Georgia Supreme Court did not review the entire

transcript of his trial proceedings; (9) Rivera’s claim that,

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because the trial transcript omitted a colloguy between Rivera and
the trial court, the Georgia Supreme Court did not properly resolve
his Faretta claim, wherein he argued he was forced into a pseudo
sel1£-representation; (10) Rivera’s argument that missing portions
of the transcript, including the State’s penalty phase opening
statement, denied him a fair direct appeal of his claim regarding
the prosecution’s closing argument; and (11) Rivera’s argument he
was entitled to a new proportionality review as a result of the
Georgia Supreme Court not having 115 pages of the trial transcript,
including testimony from his sister. (Doc. 37-17, pp. 4-19.)

The state habeas court found Rivera’s ineffective assistance
claims were reviewable on the merits. Those claims included
arguments trial counsel were ineffective in both the guilt and
sentencing phase because (1) they failed to conduct a thorough
investigation; (2) they failed to seek a motion for change of
venue; (3) they failed to challenge the admissibility of Rivera’s
statements;4 (4) they failed to ensure the jury was sequestered
during trial; (5) they failed to ensure Rivera was properly
medicated while awaiting trial in jail; (6) they failed to seek a
plea deal; and (7) they failed to investigate Rivera’s mental
health. (Doc. 37-16, pp. 20-82.) Finding no deficient performance

or prejudice, the state habeas court denied Rivera’s ineffective

4 But, “to the extent [Rivera alleged] the trial court erred in admitting certain
statements, that claim [was] barred from review under the doctrine of res
judicata.” (Doc. 37-16, p. 10.)

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assistance claims. (Id. ) The state habeas court also reviewed
Rivera’s arguments regarding his “Motion to Allow Dr. David Lisak
to Testify Before this Court,” by construing it as a motion for
reconsideration and denying it. (Id. at 82-84.) Finally, the
state habeas court held that portions of Rivera’s Claim Four and
Claim Five regarding trial court error relevant to sentence phase
jury instructions were reviewable on the merits but denied them.
(Id. at 85.)

Rivera’s application for a certificate of probable cause
(CPC) to appeal was granted, and the Georgia Supreme Court remanded
the case to the state habeas court with instructions to conduct a
hearing on Rivera’s motions to dismiss his counsel, proceed pro
se, dismiss his habeas petition, and waive future appeals. (Docs.
37-24; 38-5 p. 1.) The habeas court was further instructed to
conduct an inquiry into Rivera’s mental competence if necessary
and to enter a new final order containing the findings and
conclusions supporting the ruling of the habeas court. (Id.) At
the first remand hearing, the parties agreed to have Rivera
evaluated to assess his competency because he continued to seek to
dismiss counsel and his state habeas petition. (Doc. 38-9, pp.
17-38.) After receiving numerous evaluations conducted by experts
hired on his behalf, Rivera withdrew his motion to waive his
appeals and to proceed pro se. (Doc. 38-16, p. 11.) Rivera’s

counsel argued the issue of competency was moot due to the

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withdrawal, but the state habeas court made findings on the record
concerning Rivera’s competency in compliance with the Georgia
Supreme Court’s remand order. (Doc. 38-20.) Specifically, the
state habeas court found that there was “no bona fide doubt” as to
Rivera’s competence. (Doc. 38-20, p. 4.)

Rivera filed an application to expand the Georgia Supreme
Court’s prior grant of CPC, arguing the state habeas court
improperly ruled on the moot issue of Rivera’s competency, given
Rivera had withdrawn the problematic requests to withdraw his
petition. (Doc. 38-22, p. 7.) That application also reasserted
the previously advanced claims of ineffective assistance of
counsel, prosecutorial misconduct, violations of due process, and
abuse of discretion. (Compare doc. 37-21 and 38-22.) This time,
the Georgia Supreme Court touched on the merits of Rivera’s
application by disagreeing with a portion of the state habeas
court’s order regarding the prosecutorial misconduct claim. (Doc.
38-26.)

Specifically, the Georgia Supreme Court found the habeas
court erred in applying the wrong materiality standard in
considering the alleged prejudice caused by alleged Napue

violations. Id. In support, the court cited Napue v. Illinois.,

360 U.S. 264, 269, (1959), which held the knowing use of false
testimony by a prosecutor in a criminal case violates the Due

Process Clause. However, the Georgia Supreme Court agreed the

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claim was procedurally defaulted. The Court also gave no
consideration to Dr. Bushan S. Agharkar’s affidavit, attached to
Rivera’s second Application for CPC to appeal, because it was not
in the record, and it therefore denied Respondent’s motion to

strike that affidavit. (Id.; see also doc. 38-22, pp. 207-15.)

The Georgia Supreme Court did not address any other ground asserted
by Rivera. Rivera did not file a petition for writ of certiorari
in the United States Supreme Court but immediately brought the
instant petition.

D. Federal Habeas Proceeding

Rivera filed his original petition on September 9, 2013,
asserting the following six claims:

1. Petitioner was deprived of his right to the effective
assistance of counsel at trial and on appeal in
violation of his rights under the Fifth, Sixth,
Eighth, and Fourteenth Amendments to the United States
Constitution, Strickland v. Washington, 466 U.S. 668
(1984) and related precedent.

2. Misconduct by the prosecution team and other state
agents deprived Petitioner of his constitutional
rights to due process, a fair trial, and a reliable
and proportionate sentence, in violation of the Fifth,
Sixth, Eighth and Fourteenth Amendments.

3. Juror misconduct violated Petitioner’s rights under
the Fifth, Sixth, Eighth, and Fourteenth Amendments
to the United States Constitution.

4. The trial court’s improper rulings and other errors
deprived petitioner of a fair trial and reliable
sentencing, in violation of the Fifth, Sixth, Eighth,
and Fourteenth Amendments.

5. Petitioner was denied due process by the instructions
given to the jury at both phases of his capital trial,
in violation of the Fifth, Sixth, Eighth, and
Fourteenth Amendments.

6. The death penalty in Georgia is imposed arbitrarily

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and capriciously and amounts to cruel and unusual
punishment, in violation of the Fifth, Sixth, Eighth,
and Fourteenth Amendments.

Rivera filed his First Amended Petition on October 20, 2014,
(doc. 41), asserting additional claims of cumulative error and
that execution by lethal injection constitutes cruel and unusual
punishment. (See generally, doc. 41.) Rivera requested an
evidentiary hearing on February 2, 2015, arguing the state court
adjudicatory process was fundamentally flawed by the habeas
court’s preclusion of “highly relevant” testimony from a “critical
fact and expert witness,” Dr. Lisak. (Doc. 57, p. 21.) That
Motion was denied pending the merits review of § 2254 (d)
requirements. (Doc. 66, pp. 24-25.) Then, on August 9, 2016,
Rivera filed a Motion to Amend/Correct and attached his Second
Amended Petition. (Doc. 71-1.) On December 6, 2017, the Court
reviewed both Rivera’s First and Second Amended Petition. (Doc.
96.) The Court denied three of the claims concerning execution by
lethal injection and actual innocence, and part of Claim Two
seeking to excuse procedural default by citing habeas and appellate

counsel’s ineffectiveness. (See generally doc. 96; see also id.

at 15-24 (explaining that “in very limited circumstances” which do
not apply here, ineffective assistance of counsel at the state
habeas level may excuse procedurally defaulted ineffective
assistance of trial counsel claims).)

The Court’s ruling denying Rivera’s Motion to Amend rendered

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Rivera’s Second Amended Petition defunct as no new claim asserted
therein survived. (Id.) Accordingly, Rivera’s Amended Petition,
(doc. 41), is operative. After denying Rivera’s Motion for
Reconsideration, (doc. 98), of its Order dismissing those claims,
the Court ordered Rivera to file his brief on procedural defauit,
exhaustion, and the merits of the First Amended Petition’s
remaining claims, (doc. 107). Rivera filed the brief on October
17, 2019, (doc. 142), addressing viability of the remaining grounds
for relief. Although Rivera initially brought other claims in his
Petition and Amended Petitions, (docs. 1; 41, 71-1), which were
initially contested by Respondent, (doc. 42 at 13, 21-24), Rivera’s
original Claim Three, parts of Claim Four, and Claim Five, which
alleged juror misconduct, various trial court errors, and
instructional errors, were not comprehensively briefed. (See
generally docs. 142, 145, 150.) Respondent’s brief countered the
arguments asserted by Rivera in his brief without regard for, or
in response to, the seemingly abandoned claims, contending that,
pursuant to 28 U.S.C. § 2254, the state habeas court’s decision is
entitied to deference, and other claims were procedurally
defaulted. (Doc. 145, pp. 41-250.)

Because Petitioner failed to brief Claim Three, parts of Claim
Four, and Claim Five, they are abandoned and waived because Rivera
was specifically ordered to brief his remaining claims. (Doc,

107, pp. 15-16.). Such claims are not discussed below except to

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the extent they are relevant to Rivera’s cumulative impact claim.
The following are thus the sole remaining claims:>*
Claim One: Ineffective Assistance of Trial Counsel

a. Trial counsel conducted an inadequate
investigation into Rivera’s mental health and
misused the experts upon which they relied
regarding his mental health and then presented
an incoherent defense;

b. Trial counsel failed to “fully litigate” a motion
for change of venue;

c. Trial counsel failed to request jury
sequestration;

d. Trial counsel failed to object to the trial
court’s excessive involvement in the parties’
presentation of the evidence;

e. Trial counsel failed to object to the
prosecutor’s improper arguments at both phases
of the trial;

f. Trial counsel failed to ensure that Rivera
received proper medication for bipolar disorder;
and

g. Trial counsel failed to properly move for
suppression of Rivera’s custodial statements.

Claim Two: Prosecutorial and Other State Agent
Misconduct

a. Investigators hid the audio recording of the
October 12, 2000 interrogation; and

b. Investigators committed perjury when they
testified the October 12th statement was not
recorded in any fashion, as well as when they
testified Rivera was not “substantially
medicated or similarly incapacitated” during the
interview, leading to the trial court error in
Claim Four regarding the subsequent statements
which Rivera asserts should have been suppressed
as “fruit of the poisonous tree.”

Claim Four, in part: Trial Court Error

° As explained below, portions of these claims are not properly before the Court
because they were not alleged in the Amended Petition in compliance with the
Rules governing § 2254 cases. By stating that these claims “survive” the Court
by no means holds they are properly preserved.

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a. The trial court improperly admitted Rivera’s
confessions because Rivera’s initial statement
on October 12, 2000 was involuntary and illegal,
and subsequent statements should have been
Suppressed as “fruit of the poisonous tree,”

b. Rivera’s self-representation claim;

c. The trial court failed to ensure a complete
transcript of the proceedings was transmitted to
the Georgia Supreme Court resulting in direct
appeal error.

Claim Six: Cumulative Error

a. The court overlooked cumulative error, in that
even if none of the many errors specifically
addressed by Rivera individually prejudiced hin,
“the cumulative impact of the many errors
rendered Mr. Rivera’s death sentence unreliable
and requires the grant of a new sentencing
hearing.”

(See doc. 142.)

Rivera also briefed the claims arising from his Second Amended
Petition, which included more counts of trial counsel
ineffectiveness. Though the Court previously rejected those
claims, (doc. 96, pp. 15-24), Rivera again seeks to excuse
procedural default by arguing he was denied effective assistance
of post-conviction counsel, who failed to argue trial counsel
error. His new arguments are addressed herein.

II. Standards of Review

As is often the case when considering a state prisoner’s

habeas petition, the applicable standard of review is of critical

importance. Williams v. Alabama, 791 F.3d 1267, 1272 (1lith Cir.

2015). The Antiterrorism and Effective Death Penalty Act

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(“AEDPA”), which governs Rivera’s petition, provides “[a] general
framework of substantial deference [for] our review of every issue

that the state courts have decided” on the merits. Diaz v. Sec’y

for the Dep’t of Corr., 402 F.3d 1136, 1141 (11th Cir. 2005).

Under that Act, a federal court shall not grant habeas relief on
any claim “adjudicated on the merits” in state court unless the
state court’s decision denying relief was either “contrary to, or
involved an unreasonable application of, clearly established
[fJ}ederal law, as determined by the Supreme Court of the United
States.” 28 U.S.C. § 2254(d) (1). The phrase “clearly established
federal law” refers only “to the holdings, as opposed to the dicta,
of [the Supreme] Court’s decisions as of the time of the relevant

state-court decision.” Yarborough v. Alvarado, 541 U.S. 652, 660-

61 (2004) (quoting Williams v. Taylor, 529 U.S. 362, 412 (2000)).

The decision of a state court is “contrary to” clearly
established federal law when the state court “applied a rule in
contradiction to governing Supreme Court case law” or “arrived at
a result divergent from Supreme Court precedent despite materially

indistinguishable facts.” Dill v. Allen, 488 F.3d 1344, 1353 (11th

Cir. 2007). And a state court’s application of federal law is
unreasonable “only if no ‘fairminded jurist’ could agree with the

state court’s determination or conclusion.” Holsey v. Warden, Ga.

Diagnostic Prison, 694 F.3d 1230, 1257 (llth Cir. 2012) (quoting

Harrington v. Richter, 562 U.S. 86, 101 (2011)); see also

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Harrington, 562 U.S. at 101 (“[A]n unreasonable application of
federal law is different from an incorrect application of federal
law.”). Here, “the key word is ‘unreasonable,’ which is more than

simply incorrect.” Sealey v. Warden, Ga. Diagnostic Prison, 954

F.3d 1338, 1354 (llth Cir. 2020). To meet this standard, “a
prisoner must show far more than that the state court’s decision

was merely wrong or even clear error.” Pye v. Warden, Georgia

Diagnostic Prison, 50 F.4th 1025, 1034 (llth Cir. 2022) (quoting

Shinn v. Kayer, 592 U.S. 111, 118 (2020)). Furthermore, review of

legal claims under § 2254(d)(1) is “limited to the record that was

before the state court.” Shoop v. Twyford, 596 U.S. 811, 819

(2022) (quoting Cullen v. Pinholster, 563 U.S. 170, 181 (2011).

Under § 2254 (d) (2), courts also must defer to a state court’s
determination of the facts unless the state-court decision “was
based on an unreasonable determination of the facts in light of
the evidence presented in the state court proceeding.” 28 U.S.C.
$ 2254 (d) (2). Section 2254(d) (2) works much like § 2254(d) (1) in
that it requires federal courts to give state courts “substantial

deference.” Brumfield v. Cain, 576 U.S. 305, 314 (2015). “We may

not characterize . . . state-court factual determinations as
unreasonable ‘merely because we would have reached a different
conclusion in the first instance.’” Id. at 313-14 (quoting Wood
v. Allen, 558 U.S. 290, 301 (2010)) (alteration adopted). District

courts presume that the state court’s factual determinations are

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correct, absent clear and convincing evidence to the contrary.
Pye, 50 F.4th at 1035; 28 U.S.C. § 2254 (e) (1). Review of factual
determinations under § 2254(d)(2) is expressly limited to “the
evidence presented in the State court proceeding.” Shoop, 596 U.S.
at 819.

In sum, AEDPA sets “a difficult to meet and highly deferential
standard for evaluating state-court rulings, which demands that
state-court decisions be given the benefit of the doubt.”
Pinholster, 563 U.S. at 181 (internal quotation marks and citations
omitted). Additionally, “when a state court on direct review has
determined that the alleged constitutional error was harmless,” a
habeas petition cannot be successful unless it satisfies both AEDPA

and Brecht v. Abrahamson, 507 U.S. 619, 637 (1993). Mansfield v.

sec’y, Dep’t of Corr., 679 F.3d 1301, 1307 (llth Cir. 2012); see

also Brown v. Davenport, 596 U.S. 118, 122 (2022) (“When a state

court has ruled on the merits of a state prisoner’s claim, a
federal court cannot grant relief without first applying both the
test this Court outlined in Brecht and the one Congress prescribed
in AEDPA.”).

A critical prerequisite for any state petitioner seeking
federal habeas relief is the requirement that he first properly
raise the federal constitutional claim in the state courts. see

28 U.S.C. § 2254 (b). “The exhaustion requirement springs from

principles of comity, which protect the state court’s role in the

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enforcement of federal law and prevent disruption of state court

proceedings.” Ward v. Hall, 592 F.3d 1144, 1156 (citing Rose v.

Lundy, 455 U.S. 509, 518 (1982). The statute provides that:

(bo) (1) An application for a writ of habeas corpus on
behalf of a person in custody pursuant to the judgment
of a State court shall not be granted unless it appears
that—

(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (i) there is an absence of available State
corrective process; or

(ii) circumstances exist that render such process
ineffective to protect the rights of the applicant.

(2) An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure of the
applicant to exhaust the remedies available in the
courts of the State.
(3) A State shall not be deemed to have waived the
exhaustion requirement or be estopped from reliance upon
the requirement unless the State, through counsel,
expressly waives the requirement.
28 U.S.C. § 2254(b). To exhaust state remedies, a petitioner must
fairly present every issue raised in his federal petition to the

state’s highest court, either on direct appeal or on collateral

review. Ward, 592 F.3d at 1156 (citing Castille v. Peoples, 489

U.S. 346, 351 (1989).
“The teeth of the exhaustion requirement comes from its

handmaiden, the procedural default doctrine.” Smith v. Jones, 256

F.3d 1135, 1138 (11th Cir. 2001). A claim is procedurally
defaulted if the petitioner failed to exhaust his state remedies,

and the court to which he would have to present his claims in order

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to satisfy the exhaustion requirement would find the claims

procedurally barred. Snowden v. Singletary, 135 F.3d 732, 736

(lith Cir. 1998). The doctrine of procedural default also dictates
that “[a] state court’s rejection of a petitioner’s constitutional
claim on state procedural grounds will generally preclude any

subsequent federal habeas review of that claim.” Judd v. Haley,

250 F.3d 1308, 1313 (llth Cir. 2001). However, a state court’s
rejection of a federal constitutional claim on procedural grounds
may only preclude federal review if the state procedural ruling
rests upon “adequate and independent” state grounds. Marek v.
Singletary, 62 F.3d 1295, 1301 (11th Cir. 1995). This is because
“[i]t is well established that federal courts will not review
questions of federal law presented in a habeas petition when the
state court’s decision rests upon a state-law ground that is
independent of the federal question and adequate to support the
judgment.” Id. (quotation marks omitted). In these cases, federal

courts are not confined to the state-court record. see, €.9.,

Madison v. Comm’r, Ala. Dep’t of Corr., 761 F.3d 1240, 1249-50 &

n. 9 (11th Cir. 2014).

Even if the state court never had opportunity to review the
claim and it is thereby procedurally defaulted at federal habeas,
a petitioner may obtain federal review of that claim if he can
show both “cause” for the default and actual “prejudice” resulting

from the default. See Murray v. Carrier, 477 U.S. 478, 485 (1986);

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Wainwright v. Sykes, 433 U.S. 72, 84-85 (1977). To show cause,

the petitioner must demonstrate “some objective factor external to
the defense” that impeded his effort to raise the claim properly

in state court. Murray v. Carrier, 477 U.S. 478, 488, (1986).

Once cause is established, the petitioner also must show actual
prejudice from the alleged constitutional violation. See Sykes,
433 U.S. at 84. To show prejudice, a petitioner must demonstrate
that “the errors at trial actually and substantially disadvantaged
his defense so that he was denied fundamental fairness.” McCoy v.

Newsome, 953 F.2d 1252, 1261 (llth Cir. 1992). A federal court

may also grant a habeas petition on a procedurally defaulted claim,
without a showing of cause or prejudice, to correct a fundamental
miscarriage of justice. Murray, 477 U.S. at 495-96. A
“fundamental miscarriage of justice” occurs in an extraordinary
case, where a constitutional violation has resulted in the
conviction of someone who is actually innocent. Id.
III. Rivera’s Generalized Deference Arguments

Most of Rivera’s claims were last evaluated by Georgia’s state
habeas court. In the state habeas court’s order, some of Rivera’s
claims were rejected on the merits, some were procedurally barred
or defaulted, and some were considered res judicata because they

had last been ruled on the merits by the Georgia Supreme Court.

(See generally, doc. 37-16.) Given the various bases, the standard

of review, and which Court’s opinion must be reviewed for deference

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purposes, must be applied claim by claim. See Wilson v. Sellers,
584 U.S. 122 (2018) (holding that the last state court decision

that provides relevant rationale is where the federal court should

“train its attention.”); see also Ylst v. Nunnemaker, 501 U.S.

797, 803-05 (1991). Specifically, Claim One, Rivera’s ineffective
assistance claims, were decided on the merits by the state habeas
court and therefore deference is attributed to that court on those
claims.

Next, the state habeas court reviewed Rivera’s “subsequent
statements” claim, asserted in Claim 2(a), (b) and Claim 4(a), which
was presented on a different theory of relief from the one raised
on direct appeal. (Compare Rivera, 647 S.E.2d 75 (considering
admissibility of custodial statements made by Rivera on October

13, 2000, based on argument Rivera was incapacitated at time) with

doc. 37-16, pp. 10-13 (considering subsequent statement claim on
bases of nondisclosure of evidence.) However, because the state
habeas court implemented a state procedural bar which precluded
its review of those “subsequent statement” claims, deference is
not in issue as to those claims. Rather, the Court, as explained
below, must examine whether the state habeas court’s procedural
bar limits federal review as to Claims 2(a),(b), and Claim 4(a).

Cone v. Bell, 556 U.S. 449, 452 (2009); Ake v. Oklahoma, 470 U.S.

68, 75 (1985). Additionally, the Georgia Supreme Court separately

provided a summary opinion regarding one subsequent statement

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claim, Rivera’s Napue claim, after Rivera sought his second CPC,
(see doc. 38-26), and thus it is referenced below in the Court’s
analysis.

Next, Rivera has repeatedly asserted that, although he did
not waive his right to trial counsel, the trial court abused its
discretion by “sua sponte forcing upon him, without making any
inquiry as to whether he was competent to control his defense, a
form of hybrid representation in which he represented himself as

co-counsel.” See, ¢.g., Rivera, 647 S.E.2d 77. When Rivera

brought his “self-representation” claim at the state habeas phase,
the state habeas court held it was barred from reviewing it by res
judicata because the Georgia Supreme Court found it meritless, and
the claim was procedurally defaulted. (See doc. 37-16, pp. 14-
17.) Therefore, as to this claim, asserted herein as Claim 4(b),
there are two relevant state court opinions: the Georgia Supreme
Court and the state habeas court.

Rivera asserts none of these prior determinations are
entitled to deference — and that de novo review is required on all
his claims — for several reasons. (See, e.g., doc. 142, pp. 36-
38 (arguing Georgia Supreme Court’s opinion not entitled to

deference); see also id. at 31-36 (arguing AEDPA deference does

not apply to state habeas court).) First, Rivera takes issue with
the state habeas court’s verbatim adoption of Respondent’ s

proposed order. (Doc. 142, pp. 30-36.) Though Rivera recognizes

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Eleventh Circuit precedent “suggests” deference is required even
in such a circumstance, he submits the adoption was “hasty,”

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written “unilaterally,” and he simply disagrees with a verbatim
adoption in the death penalty context. (Id. at 36.) Second,
Rivera argues deference should not be accorded to the Georgia
Supreme Court as to Claim 4(b) because the record was incomplete.
The Court reviews the deference owed to the Georgia Supreme Court
on this claim in section VI, infra.

Third, Rivera argues the state habeas court’s adjudication of
Rivera’s ineffective assistance of counsel claims is not entitled
to deference because the state habeas court refused to accommodate
the scheduling conflict of a critical fact and expert witness, Dr.
David Lisak. (Id. at 39-40.) According to Rivera, the refusal
constitutes an abuse of discretion, and thus, at minimum, the Court
should not defer to the state habeas court’s adjudication of that
claim. (Id.) In that vein, Rivera renews his reguest for an
evidentiary hearing before this Court, considering the state
habeas court error. (Id. at 40.) He makes several other arguments
regarding the deference owed to the state habeas court’s decision
on his ineffective assistance claims, and those more
particularized attacks are discussed in the section pertaining to
these respective claims. However, before it reaches the specific

claims, the Court dispels his first and third generalized attacks

against the deference owed to the state habeas court’s

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adjudication.

A. AEDPA Deference to State Habeas Court: Verbatim Adoption

As to his first assertion deference is not owed to the state
habeas court’s decision, (doc. 37-6), that decision is operative
notwithstanding it was adopted verbatim from the Respondent’s
proposed order submission. See Anderson v. Bessemer City, 470
U.S. 564, 572 (1985) (“[E]ven when the trial judge adopts proposed

findings verbatim, the findings are those of the court and may be

reversed only if clearly erroneous.”) (citing United States v.

Marine Bancorporation, 418 U.S. 602, 615 n. 13 (1974); see also

Jones v. GDCP Warden, 753 F.3d 1171, 1182 (11th Cir. 2014) (‘“[We]

can discern no basis for saying that a state court’s fuller
explanation of its reasons—albeit reasons drafted for the court by
the State-would not be entitled to AEDPA deference.”) (citing Rhode
v. Hall, 582 F.3d 1273, 1281 (11th Cir. 2009); see also In re:
Colony Sguare Coc., 819 F.2d 272, 276 (llth Cir. 1987) (no due
process violation unless opponent can demonstrate process was
fundamentally unfair and opponent had no opportunity to present
arguments). The state habeas court opinion was the “last related
state-court decision” as to almost all of the claims asserted
herein. Thus, Rivera’s argument this Court should not afford

deference to the state habeas court because its opinion was drafted

by the Respondent and then adopted verbatim, fails.

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B. Motion for Evidentiary Hearing and AEDPA Deference to State

Habeas Court: Dr. Lisak

Rivera’s third argument against affording AEDPA deference to
the state habeas court determinations is the state habeas court
did not accommodate Dr. David Lisak’s live testimony. (Doc. 142,
p. 40.) Rivera sought live testimony of Dr. Lisak in support of
his claim defense counsel failed to fully investigate Rivera’s
mental health background and uncover evidence of childhood sexual
abuse. (Id.) Tethered to this argument, Rivera asserts the state
habeas court incorrectly assumed Dr. Lisak could be subpoenaed and
improperly blamed Rivera’s habeas counsel for their failure to do
so. (Doc. 150, p. 31.) According to Rivera, this denial and
misunderstanding of the subpoena law was an abuse of discretion so
egregious it renders the state habeas court’s decision
unreasonable and a violation of due process. (Id. at 35-36.) He
seeks another bite at the apple in the form of an evidentiary
hearing in federal court. so Dr. Lisak may be heard.

Rivera appears to assert two reasons for such a hearing:
first, he appears to argue Dr. Lisaks’ testimony will show the
denial of continuance itself was unreasonable and therefore
deference is not owed, and second, he seeks to rehash the merits
oF a substantive claim. Because the state court’s docket
management decisions do not implicate federal law, deference under

§ 2254 is unaffected by the denial of continuance. See 28 U.S.C.

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§ 2254 (d)(1) (mandating petition “shall not be granted

unless the adjudication of the claim... resulted in a decision
that was contrary to, or involved an unreasonable application of,
clearly established Federal law.”) (emphasis added). Therefore,
Rivera’s deference argument fails. Similarly, an evidentiary
hearing to supplement the record and rehash his substantive claim
is inappropriate.

i. Deference to State Habeas Court is not Lessened on Docket
Management Argument

Rivera provides no support for the argument the state court
impermissibly managed its docket. Moreover, he does not support
his claim the federal habeas court may ever strip the state court
of deference based upon its refusing to accommodate a witness’s

scheduling conflict. See Davis v. Thomas, 471 S.E.2d 202, 205

(1996) (“We recognize that the [state] habeas court has broad
discretion in controlling its calendar . . . we admonish counsel
who undertake representation in these matters that the trial court
is vested with wide discretion in managing its court calendar.”);

see also Sealey, 954 F.3d at 1366 (citing Morris v. Slappy, 461

U.S. 1, 11-12 (1983)). Thus this Court must defer to the state
habeas court’s adjudication on this state law issue because “it is
not the province of a federal habeas court to reexamine state-

court determinations on state-law questions.” Estelle v. McGuire,

S02 U.S. 62, 67-68 (1991); see also Morris, 461 at 11 (*“[B]road

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discretion must be granted trial courts on matters of continuances;
only an unreasoning and arbitrary insistence upon expeditiousness
in the face of a justifiable request for delay violates the right
to the assistance of counsel.” (citations and quotation marks
omitted)).

This Court is bound by the state court’s interpretation of
its own law. Jones, 753 F.3d at 1191. According to that law, the
denial of a motion for a continuance in a civil case is a
discretionary ruling which should not be reversed on appeal in the

absence of a clear abuse by the trial court. McCorquodale v.

Stynchcombe, 236 S.E.2d 486, 487 (Ga. 1977) (even where case's

complexity was greatly increased by denied access to psychiatric
examination into insanity of appellant, no abuse of discretion);

see also Loyd v. State, 705 S.E.2d 616 (Ga. 2011) (concluding in

death penalty case trial court had not abused its discretion in
denying defendant’s motion for continuance where counsel allegedly
“had insufficient time to prepare for trial”). By finding no
error, the Georgia Supreme Court effectively affirmed the state
habeas court’s decision to deny a continuance.

This Court must accept the Georgia Supreme Court’s approval
of the state habeas court’s decision on the legality of its denial
of continuance. Its holding on state law grounds is irrelevant to
AEDPA deference standards because it did not apply federal law to

deny the continuance. Moreover, Dr. Lisak’s testimony is relevant

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to Rivera’s ineffective assistance claims, which the state habeas
court adjudicated on the merits. Thus, under AEDPA, the Court’s
review of that claim is limited to the record before the state
habeas court, and an evidentiary hearing for the purpose of
presenting evidence to show the state court’s decision on the
merits was objectively unreasonable under 28 U.S.C.A. § 2254
(d} (1) is not appropriate. Pinholster, 563 U.S. at 185.

ii. Rivera’s Motion for Evidentiary Hearing is Denied

As to Rivera’s second reason for seeking a hearing on Dr.
Lisak, i.e., to testify as to the merits of his claims, Rivera is
barred from obtaining an evidentiary hearing if he did not
diligently attempt to develop the factual basis of his claim. “For
State courts to have their rightful opportunity to adjudicate
federal rights, the prisoner must be diligent in developing the

record and presenting, if possible, all claims of constitutional

error.” Williams v. Taylor, 529 U.S. 420, 437 (2000); 28 U.S.C.A.
§ 2254 (e) (2).

As to diligence, Rivera argues that “clearly,” his “repeated
efforts to obtain an opportunity to present Dr. Lisak’s testimony
satisfies the diligence requirement.” (Doc. 57, p. 16.) However,
Rivera’s repeated but belated efforts do not obviously establish
diligence. The state habeas court consulted Rivera’s counsel
before scheduling the evidentiary hearing, and the court

accommodated the parties’ requests when scheduling. (Id., p. 35.)

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Two days later, Rivera’s habeas counsel reported that, although
they already committed to the availability, Dr. Lisak was not
available on the day of the evidentiary hearing. (Id., p. 37.)
As noted previously, the state habeas court did not move the date,
but instead gave Rivera the opportunity, by reopening discovery,
to depose Dr. Lisak in lieu of his live testimony. (Doc. 31-14,
p. 30.) Five days later, Rivera filed a “Motion to Allow Dr. David
Lisak to Testify Before this Court,” on March 30, 2010 (doc. 31-
14, p. 32). That Motion was also denied on April 16, 2010, (id.
at 49-50).

Respondent had already deposed Dr. Lisak on January 28, 2010,

(see doc. 31-30, pp. 22-90), but Rivera did not depose Dr. Lisak

then, or indeed during the expanded time frame either. (Doc. 37-
8, p. 151.) As to the prior opportunity to question Dr. Lisak
during Respondent’s deposition of him, “[b]ecause Petitioner

anticipated that Dr. Lisak would be a critical fact and expert
witness at a later evidentiary hearing, [habeas] counsel did not
elicit expansive testimony on cross-examination of Dr. Lisak at
the deposition.” (Id.) Consequently, according to Rivera, the
testimony he needed to elicit from Dr. Lisak “in order to support
his claims” was not elicited as of January 28, 2010. (Id. at 151.)
Thus, habeas counsel was on notice they needed to “develop the

record” on January 28, 2010, four months before they ran out of

time. Williams v. Taylor, 529 U.S. at 437.

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Nevertheless, Rivera also did not obtain and timely serve Dr.
Lisak’s affidavit. (Docs. 37-8, pp. 160-176; 37-12.) The state
habeas court’s reopened discovery period ran at least from March
25, 2010 until April 30, 2010. (Doc. 31-14, p. 30.) At the state
habeas hearing, the court openly questioned why Rivera did not
seek or obtain an affidavit from Dr. Lisak during the re-opened
discovery period. (Doc. 31-29, pp. 213-14.) Habeas counsel
explained they “were counting on having him in court,” (doc. 31-
29, pp. 214-15), even though the Court had already denied
continuance of the hearing prior to the close of the extended
discovery. (Doc. 31-14, pp. 49-50 (Order denying Motion to Allow
Dr. David Lisak to Testify Before [State Habeas] Court, dated April
16, 2010); doc. 31-14, p. 30 (Order reopening discovery until April
30, 2010) .)

After the hearing, the state habeas court entered a scheduling
order requiring Rivera to file his post-hearing brief 60 days after
“receipt of the evidentiary hearing record.” (Doc. 36-19.) The
court also ordered the parties to file proposed orders 30 days
after Rivera filed his reply. (Id.) After receiving extensions
of time to file, (docs. 37-5; 37-6), Rivera’s counsel belatedly
filed their post-hearing brief. (See doc. 37-7 (Respondent’s
Motion to Compel filing of Petitioner’s Post-Hearing Brief, dated
10/7/10 and noting the brief was due 9/29/10).) In his untimely

post-hearing brief, Rivera attached a 1l?-page affidavit of Dr.

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Lisak, which he emphasized “[was] not a substitute for Dr. Lisak’s
live testimony.” (Doc. 37-8, pp. 155, 159-76.) The affidavit was
excluded as untimely, (doc. 37-12); it had not been served “at
least ten days in advance of the date set for” the hearing pursuant
to 0O.C.G.A. § 9-14-48(c), and, as the state habeas court had
previously suggested, should have been completed already. (Id.;
see also doc. 31-29, pp. 213-14). Then, on Rivera’s request, the
court extended the deadline to file proposed orders until March
28, 2011. (Doc. 37-20, p. 1.) However, Rivera did not file his

proposed order until around two weeks after the extended deadline,

on April 13, 2011. (Doc. 37-17, p. 96; see also doc. 37-20, p.
2.) Meanwhile, the state habeas court adopted Respondent’s
proposed order and denied relief. (Doc. 37-16.) Simultaneous to

belatedly filing the proposed order, Rivera objected to the
adoption of Respondent’s proposed order by the state habeas court,
(doc. 37-18), and the next day he appealed. (Doc. 37-19.)

As the state habeas court noted, “Petitioner had numerous
vehicles with which to present Dr. Lisak’s testimony” to the court,
(doc. 37-16, p. 84), and it “never denied Petitioner the
opportunity to present the testimony of Dr. Lisak, but only stated
that it would not reschedule the evidentiary hearing dates, which
all involved parties agreed upon, or keep the record open solely
for the convenience of a paid expert.” (Id.) Thus, given that

Rivera admittedly knew early on he intended to rely on Dr. Lisak,

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the inadequacy in the record appears to be the result of faltering

diligence. See Shinn v. Ramirez, 596 U.S. 366, 382 (2022) (holding

under AEDPA, state postconviction counsel’s ineffective assistance
in developing state-court record is attributed to prisoner);

Holland v. Jackson, 542 U.S. 649, 653 (2004) (attorney negligence

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is chargeable to the client and precludes relief unless the
conditions of § 2254(e) (2) are satisfied.”}; see also Ward v. Hall,
992 F.3d 1144, 1160 (llth Cir. 2010) (affirming district court’s
holding movant was not diligent when he “simply chose not to pursue
the affidavits [then] that [he] now seeks to present,” while
simultaneously failing to argue material was unavailable before
state habeas court hearing.).

As such, to obtain an evidentiary hearing, Rivera is subject
to § 2254(e) (2) (A) and (B)’s more exacting standard. However,
Rivera cannot establish subsection (B)’s requirement that “the
facts underlying the claim would be sufficient to establish by
clear and convincing evidence that, “but for constitutional error,
no reasonable factfinder would have found the applicant guilty of
the underlying offense” by virtue of an evidentiary hearing. 28
U.S.C.A. § 2254 (e) (2) (B). The state habeas court had before it

the testimony of trial counsel who explained their strategic

reasons for not using Dr. Lisak at trial. Dr. Lisak’s expert
report and deposition testimony were also considered. (Doc. 37-
16, pp. 35-86.) The state habeas court determined those materials

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were “entirely consistent” with the testimony Rivera anticipated
would be elicited from Dr. Lisak. (Id. ) The state habeas court
also determined the testimony was not “material” to the ineffective
assistance of counsel claim. (Id. ) Therefore, the state habeas
court reasonably determined the record before it contained

sufficient information regarding the claim in question and the

Georgia Supreme Court affirmed. Cf. United States v. Valladares,

5944 F.3d 2257, 1262 (1ilith Cir. 2008) (to prevail on claim denial

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of continuance was so arbitrary as to violate due process “a
defendant must show that the denial of the motion for continuance
was an abuse of discretion which resulted in specific substantial
prejudice” by “‘identify[ing] relevant, noncumulative evidence

that would have been presented if [her] request for a continuance

had been granted’”) (quoting United States v. Verderame, 51 F.3d

249.). Accordingly, it cannot be said Dr. Lisak’s testimony would
constitute “clear and convincing evidence” that but for trial
counsel’s failure to employ Dr. Lisak, “no reasonable factfinder
would have found” Rivera guilty. 28 U.S.C.A. § 2254 (e) (2) (B).
Finally, though the two issues are historically and
continually intertwined in this case, “§ 2254(e)(2) (A) and (B)
exceptions do not apply to issues relating to the sentencing phase
of the trial.” Ward, 592 F.3d at 1161. The record is clear that
Rivera’s trial attorneys sought a guilty but mentally ill verdict

which, even if rejected, “would have carried some mitigating force

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over into the sentencing phase so that the jury would have been

primed to be merciful at sentencing.” (Doc. 31-29, pop. 225;
see also doc. 32-15, p. 61 (Hawk Depo.) (“The only reason for the
guilt/innocence phase and not pleading guilty was just to make
[the jury] get it all out, let them get angry, give them a chance
to get over it, hit them with some mitigation stuff, and then see
if they want to, you know, spare.”).) Indeed, even at the state
habeas stage it appears Dr. Lisak’s testimony was thought to be
vital to proving Rivera’s trial attorneys improperly relied upon
Dr. Sachy’s suggestion Rivera was incapable of recouperation.
(Doc. 31-29, p. 226 (State habeas counsel referencing Dr. Sachy’s
opinion that Rivera was a “Frankenstein monster born from the
womb.”).) Therefore, to the extent Dr. Lisak’s testimony is sought
to shore up Rivera’s attempts at sentence mitigation, his argument
fails on this basis alone. See In re Jones, 137 F.3d 1271, 1274
(lith Cir. 1998) (per curiam) (“As [we have] noted, and the statute
itself specifies, this exception applies only to claims going to
the question of whether or not the applicant is ‘guilty of the
underlying offense’—not to claims related to sentence.”).

As to the extent it is offered for any other reason, Rivera
has not met his burden under § 2254(e) (2). Federal courts sitting
in habeas are not an alternative forum for trying facts and issues
which a prisoner made insufficient effort to pursue in state

proceedings. Williams v. Taylor, 529 U.S. at 437. Thus, Rivera’s

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Renewed Motion for Evidentiary Hearing is DENIED.
Iv. Ground One: Rivera’s Ineffective Assistance Claims

A. AEDPA Requires Deference to State Court on its Application

of Strickland Standard.

To obtain relief on his claims of ineffective assistance of

counsel, a petitioner must usually establish two elements.
Strickland v. Washington, 466 U.S. 668, 687 (1984). First, he

must prove that “his counsel’s performance was deficient, which
means that it ‘fell below an objective standard of reasonableness’
and was ‘outside the wide range of professionally competent

assistance.’” Johnson v. Sec’y, Dep’t of Corr., 643 F.3d 907, 928

(lith Cir. 2011) (quoting Strickland, 466 U.S. at 688, 690). When
considering whether counsel’s performance was deficient, the Court
“review[s] counsel’s actions in a ‘highly deferential’ manner” and
applies “a strong presumption . . . of reasonable professional

assistance.” Id. (quoting Strickland, 466 U.S. at 689). Second,

a petitioner must establish prejudice, which means that “but for
his counsel’s deficient performance, there is a reasonable
probability that the result of the proceeding would have been
different.” Id. (quoting Strickland, 466 U.S. at 694).

As is required here, establishing that a state court’s
application of Strickland was unreasonable under § 2254 (d) is all

the more difficult. Harrington, 562 U.S. 86. When § 2254 (d)

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applies, the question is not whether counsel’s actions were
reasonable. Id. at 105. The pivotal question is whether there is
“any reasonable argument that counsel satisfied Strickland’s
deferential standard.” Id. A state court must be granted a
deference and latitude that are not in operation when the case
involves review under the Strickland standard itself. Id. And
moreover, for purposes of § 2254 (d) (1), ‘an unreasonable
application of federal law is different from an incorrect
application of federal law.” Williams v. Taylor, 529 U.S. at 410.
Here, the state court’s determination that Rivera’s ineffective
assistance claim lacks merit precludes federal habeas relief so
long as “fairminded jurists could disagree” on the correctness of
the state court’s decision. Id. (citing Yarborough, 541 U.S. at
664).

B. State Habeas Court’s Findings Regarding Mental Health

Investigation and Trial Presentation Constituted a

Reasonable Determination of the Facts.

Rivera’s first ineffective assistance claim argues trial
counsels’ pretrial mental health investigation was deficient, as
was the mental health presentation during trial. (Doc. 142, pp.
142-165.) The state habeas court’s examination of this issue
filled sixty pages of its order. (Doc. 37-16, pp. 20-82.) Thirty

pages are dedicated to describing, in detail, the opinions of the

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doctors and other experts who were retained to assist the defense.
(Doc. 37-16, pp. 20-51.) The state habeas court held trial
counsel’s investigation was not deficient and Rivera failed to
show prejudice. (Id. at 67 (relying upon Strickland, 466 U.S.
668) .)

i. Experience of Trial Counsel

In determining whether trial counsel was deficient, the state
habeas court first considered trial counsel’s experience and
background. (Doc. 37-16, p. 22.) Peter Johnson and Jacque Hawk
represented Rivera throughout trial and sentencing. Johnson, who
was lead counsel, had worked as an assistant district attorney in
Augusta, Georgia for four years. (Doc. 31-28, p. 103; Doc. 32-
15, p. 103.) He then practiced law privately and primarily focused
on criminal defense. (Doc. 31-28, pp. 102-103; 32-15, pp. 103-
104; 35-5, p. 7.) He was counsel on more than twelve murder trials

before Rivera, and he had represented a number of capital

defendants whose cases resulted in a plea. (Doc. 31-28, p. 104.)
Johnson handled five death penalty trials prior to Rivera. (Docs.
37-16, p. 22; 31-28, p. 104; 32-15, p. 104; 35-5, p. 6.) Hawk,

who served as co-counsel, had handled approximately fifteen non-
capital murder cases and six or seven death penalty cases. (Docs.
32-15, p. 47-48; 37-16, p. 22.) The two received support from the

Multi-County Public Defender’s Office and attended death penalty

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seminars that were presented by the Georgia Indigent Defense
Council. (Docs. 37-16, p. 22; 31-28, p. 107; 32-15, p. 107.)
ii. Trial Counsel’s Initial Interviews of Defendant

The state habeas court reviewed the events leading trial

counsel to pursue their chosen mental health defense. (Doc. 37-
16, pp. 24-67.) Rivera initially sought to plead guilty. (Docs.
37-16, p. 24; 31-28, pp. 121-22.) He eventually agreed to the

presentation of evidence in support of a guilty but mentally ill
verdict. Trial counsel conducted several interviews with Rivera
where they learned about his social and family history and
information regarding his sex addiction, (docs. 37-16, p. 26; 33-
14, pp. 50-51), and they questioned Rivera’s family about his
upbringing. (Docs. 37-16, p. 27; 31-28, pp. 126-127; 32-15, pp.
72, 127-28; 33-14, pp. 52-53.). They also spoke with Rivera’s
wife, but she and Rivera refused to allow their children to have
any involvement. (Doc. 37-16, p. 28; 32-15, p. 72.) Hawk
testified during habeas proceedings that Rivera’s mood changed in
a noticeably cyclic way; he sometimes became inexplicably angry
and difficult, but on other days he was amenable. (Doc. 32-15, p.
55-56, 111-12.) Counsel recognized a need for psychological
testing to pursue the guilty but mentally ill verdict, but, as
non-medical professionals, they did not claim to recognize
Rivera’s symptoms as being that of a bipolar person. (Doc. 37-

16, p. 33.) They sought out the assistance of the following mental

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health experts: Dr. David Lisak, Mr. Geral Blanchard, Dr. Thomas
Sachy, Dr. Marc Einhorn, and Dr. Joseph Wu.
a. Dr. David Lisak

The state habeas court first reviewed trial counsels’
decision not to use Dr. Lisak. (Doc. 37-16, pp. 35-41.) Shortly
after his appointment, Johnson contacted Dr. Lisak, a clinical
psychologist who specialized in sexual violence and the long-term
impact of child-abuse on men. (See doc. 31-30, pp. 27-28; 33-19,
pp. 134-35.) Dr. Lisak interviewed Rivera and his family members
between January 18 and January 21, 2001, spending around fifteen
hours interviewing Rivera specifically. (Docs. 33-19, p. 174; 34-
7, p. 49.) Dr. Lisak drafted a detailed memorandum noting two
initial findings. First, his memorandum reflected his concerns
that Rivera exhibited “classic symptoms of childhood sexual

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abuse,” but also noted that Rivera had no memory of such sexual
abuse. (Doc. 33-19, p. 175.) He elaborated that “a large
proportion of male victims of such abuse in fact do lose their
memories of the abuse” and thus, “Rivera’s lack of memories would
not be unusual.” (Id. ) Second, the memorandum noted Rivera’s
behavior which was “characterized by profound cognitive
distortions and lack of empathy, and that Rivera’s
“objectification of women, in the service of gratifying his sexual

impulses, is stunning in its depth and scope.” (Id.) Dr. Lisak

observed that Rivera’s motive for killing was pragmatic, to escape

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detection, rather than to fulfil erotic fantasies. (Id. )

Regarding Dr. Lisak’s hypothesis of sexual abuse, Rivera’s
mother and sister reported to Dr. Lisak that Rivera’s father was
psychologically abusive towards his wife and children except for
Rivera. (Doc. 32-15, p. 172.) The family reported that Rivera’s
father struggled with substance abuse and gambling, which impacted
the finances of the family, who would have otherwise done well
given his father’s profession as a doctor. (Id. ) Though he
hypothesized that if Rivera was abused it likely occurred at one
of the private religious schools he attended, Dr. Lisak “uncovered
no other evidence of such abuse.” (Doc. 33-19, p. 174.) His
letter to Johnson concluded, “[u]nfortunately, my interviews with
Mr. Rivera and his family yielded very little of value for the
purpose of mitigation.” (Id.)

As to Rivera’s behavior, like the other experts who came after
him, Dr. Lisak found that Rivera’s paraphilic tendencies began
around the age of ten, and that they involved “voyeuristic

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behavior,” and “compulsive use of pornography” which “gravitated
into a form of fetishism.” (Doc. 33-19, p. 176.) He noted the

pornography film series which provided inspiration to Rivera and

“ultimately provided the core for the routine that he would use to

lure young women to be raped, and in some cases murdered.” (Id.,
p. 178.) According to Dr. Lisak, “Rivera found this simulated
psychological control to be extremely sexually arousing.” (Id.)

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Dr. Lisak discussed how Rivera encountered brothels in Mexicali
after crashing his vehicle while high on methamphetamines, and how
he hired a sex worker in New Orleans who was raped by someone else
while Rivera waited for her to buy drugs. (Id. ) The encounter
further proved to Rivera “that it would be very easy to rape
prostitutes.” (Id. ) Dr. Lisak reported that soon after the
incident, Rivera arrived in Washington D.C., where he began raping
sex workers and that “it wasn’t long . . . before he became ‘immune’

to the rapes.” (Id.) Rivera reportedly “lost all feelings [he]

had for the women,” and was soon raping them one to two times each

week, (Id.) Though he was caught at least twice by the police,
he was never charged. (Id. at 179.) It was during this time that
Rivera created a “rape kit,” and he began to notice his own

increasing need for control, and how unlikely being caught would
be. (Id.) Even though he referenced the women as his “prey,”
according to Dr. Lisak, Rivera claimed that at least some of them
enjoyed it. (Id. at 181-82.)

Dr. Lisak’s report notably found that Rivera described the
murders he later committed as the opposite of losing control. He
stated he went into “wrestling mode” where he would be “cool and

calm so that he could ‘take control.’”® (Id.) Rivera became very

S$ Rivera was a competitive wrestler, a sport which he took up after being bullied

as a young person. He described the “enormous satisfaction he felt when he
finally was able to turn the tables and physically overpower the peers who had
for years tormented him.” (Doc. 33-19 at 176.) The report noted that he

“remains proud” of his apparently superior wrestling skills which he found

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“practiced at compartmentalizing his life,” and “adopted the
killing of his victims as a conscious choice to solve his problem”
(which was that he could not afford sex workers because of his

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financial problems). Murder provided him with “a source of
potential victims he could prey upon under [the] more restrictive
conditions” of living in smaller communities where he would not be
protected by anonymity. (Id. at 182.) Dr. Lisak’s last comment
in the report is that “although Mr. Rivera described himself as
extremely distraught after the first killing, in 1999, his
subsequent pattern suggests that he was getting used to the killing
and that, had he not been caught, the killings would have continued
and likely accelerated.” (Id.)

Johnson later testified that because no evidence of abuse was
uncovered, he decided not to use Dr. Lisak as a testifying expert.
(Dec. 37-16, p. 39; see also doc. 31-28, p. 143.) The state habeas
court found Johnson made a “reasonable, strategic decision to not
further utilize Dr. Lisak.” (Doc. 37-16, p. 39.) The state habeas
court also accepted Johnson’s testimony regarding what Johnson
perceived to be Dr. Lisak’s reluctance to assist. According to
Johnson, Dr. Lisak made clear that, given his expert opinion of

Rivera, Johnson would not want Dr. Lisak “in the state of Georgia

when [Rivera’s] case comes to trial” as he diagnosed Rivera as a

“useful” in overpowering his female victims. (Id.)

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“classic psychopath with no redeeming values.” (Doc. 37-16, p.
39; see also doc. 31-28, pp. 143-44; doc. 33-19, p. 193.) The
record also shows trial counsel informed the trial court that Dr.
Lisak was “not a good fit for this case” because “he did not accept
the idea that [] Rivera’s very apparent sexual addiction could be
seen as mitigating evidence.” (Doc. 35-1, pp. 110-11.) Though
Dr. Lisak’s report is consistent with Johnson’s conclusion, Rivera
now claims Dr. Lisak told Johnson he “strongly suspected” Rivera
was sexually abused and suggested they explore the abuse issue
further. (Doc. 31-30, p. 39; see also 32-15, p. 208). Rivera
contends Johnson’s failure to do so, or to rely upon Dr. Lisak at
all, constitutes ineffective assistance of counsel. (Doc. 142, p.
159-163).
b, Geral Blanchard

Indeed, trial counsel declined Dr. Lisak’s expertise and
sought assistance from Geral Blanchard instead. (Doc. 31-28, p.
145.) Blanchard was not a Ph.D. and instead practiced as a
licensed counselor in Wyoming. Rivera’s sister located him while
researching sex addiction, (doc. 31-28, p. 128), and he was hired
to consider Rivera’s sex addiction as a mitigating factor.
According to Johnson, Blanchard “was describing Ray Rivera and his
sexual addiction without having met the man” and “we are just so
compatible with him in terms of our theory of mitigation.” (Doc.

34-1, p. 75.) Defense counsel found Blanchard’s “biopsychosocial

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evaluation” and diagnoses of Rivera meaningful yet risky. (See
doc. 33-19 at 186 (Johnson describing Blanchard’s evaluation as
more of a “white knuckle” report than Dr. Lisak’s).) The report
summarized that Rivera met the criteria of many mental health
disorders, including “Antisocial Personality Disorder
(Psychopathy),” “Paraphilic Disorder,” and “Sexual Sadism.” (Doc.
34-1, p. 91.) Blanchard noted Rivera’s vindictive and hostile
nature as a “Malevolent Antisocial” and a “Sexual Sadist.” (Id.,
p. 93.) It reflected that Rivera’s “crimes involved bondage,
degradation, terrorism, torture, and murder by stabbing and
strangulation.” (Id. at 83.) Unlike Dr. Lisak, Blanchard
described Rivera’s assaults as “highly ritualistic.” (Id. at 90.)
He claimed the “rapes and murders constitute sexual sadism and
serial murder.” (Id.) He noted Rivera “described an extraordinary
and insatiable urge to rape and kill that cyclically overtakes
him, much like an addiction,” and he claimed Rivera’s “sexual
fantasies . . . are still very much alive and consume his thoughts
in jail.” (Id.)

Blanchard’s report also warned prison personnel would need
protection from Rivera because his compulsion to act on his
fantasies would be equally strong in prison as outside. (Doc. 34-
1, p. 96.) Blanchard eventually altered his report to “indicate

[Rivera’s] adjustment in a prison setting could be enhanced by

drug therapy.” (Id. at 33.) Though Rivera is not explicit, he

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complains that “some version” of this report was eventually

disseminated to the prosecution. (Doc. 142, pp. 122-23 (citing
34-1, p. 35).) Despite reservations about Blanchard’s approach,
Johnson sought Blanchard’s help instead of Dr. Lisak. (Doc. 34-
1, pp. 10-11.) Johnson believed Blanchard’s ™“‘psychobiosocial’

[sic] report” reflected that “all the horrific disorders” found by
Blanchard were “really mitigating in the sense of diminished
responsibility.” (Doc. 33-19, pp. 193-94.)

ec. Dr. Thomas Sachy

Next, the state habeas court reviewed trial counsels’
decision to engage Dr. Sachy. Soon after Blanchard’s analysis was
performed, Dr. Thomas Sachy, M.D., a neuropsychiatrist, contacted
Johnson to offer his services. (Doc. 33-19, p. 192.) He urged
Johnson to consider whether Rivera was competent to stand trial,
especially given Rivera’s desire to plead guilty. (Id. )

Dr. Sachy requested reports and medical records and claimed
that he, an M.D., could offer a more substantial perspective than
Blanchard. (Doc. 33-19, p. 193.) He claimed that Rivera’s
behavior was “100% due to his brain and it’s [sic] inate [sic]
neurological quirks,” and also noted that “[ojne day, this will be
accepted in court.” (Doc. 142 at 130 (citing doc. 33-19, p. 193).)
Rivera argues that the latter comment should have made Dr. Sachy’s
faulty premise obvious, and that Johnson knew Dr. Sachy’s theories

were “junk science.” (Id.) He claims that Johnson was ineffective

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because Dr. Sachy’s theory spoke only to psychopathy, a diagnosis
which would not support a guilty but mentally ill conviction under
Georgia law. (Id.)

Following Dr. Sachy’s directives and with the assistance of
the trial court’s funding authorizations, the defense directed an
array of tests on Rivera. (Doc. 34-1, pp. 141-52.) Dr. Sachy
theorized psychopathy could be indicated in brain imaging, and he
hypothesized Rivera’s deviant criminal behavior was the result of
abnormal brain functioning, described by Rivera as a “hardwired
defect.” (See Doc. 34-1, p. 64; see also doc. 142, p. 131.)
Johnson accepted the premise despite his own concerns and the
concerns of other doctors. (See doc. 36-4, p. 49 (Johnson speaking
at a pretrial hearing held on September 5, 2003) (“[Als I pointed
out to Mr. Craig earlier, we are doing something here that I don’t
think has been attempted in the State of Georgia.”); see also doc.
31-29, p. 22 (Dr. Wu testifying that “I expressed this to the
attorney, that I was kind of baffled and alarmed by what seemed to
be an almost exclusive focus on psychopathic or antisocial
personality disorder as the basis for the PET scan abnormality and
the lack of . . . collateral family histories or other kinds of
tests to determine whether or not there were other causes for the
frontal lobe defect, such as mood disorder, brain injury.”); and
doc. 34-1, p. 151 (trial counsel file memo referencing Dr. Wu's

“puzzlement.”) .)

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Following the completion of testing, Dr. Sachy prepared a
report of his findings. (Docs. 34-1, pp. 63-65; 33-19, pp. 231-
38.) In his final report, Dr. Sachy stated the PET scans performed
on Rivera, both while he was on medication and off medication,
showed Rivera’s brain function was abnormal. (Doc. 34-1, p. 64.)
Specifically, Dr. Sachy opined the scans revealed hypo frontality
which was consistent with the brain profiles of other violent
offenders. (Id.) Dr. Sachy explained frontal lobe dysfunction
can be the “root cause for the predilection to commit criminal
acts or acts of violence,” and he opined Rivera’s psychopathy was
largely due to his frontal lobe dysfunction. (Id.) However, Dr.
Sachy’s report clearly indicates his opinion was that Rivera was

criminally responsible for his actions because he was capable of

distinguishing between right and wrong, and further testing was

necessary “for the purposes of mitigation.” (Id.; see also doc.
33-19, pp. 236-37.)

Nevertheless, Johnson testified, he “always believed,
especially in trial work, that a picture is word that thousand
words,” and that is why he believed Dr. Sachy’s theory would be
helpful. (Doc. 31-28, pp. 157-58.) Dr. Sachy stated to trial
counsel he could show the jury Rivera was “damaged for various

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reasons,” and Johnson believed they “did show, that [Rivera] was
laboring under a handicap, a disability, a disease.” (Id.) Again,

though it did not make a finding the decision to rely upon Dr.

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Sachy, specifically, was reasonable, the state habeas court
ultimately held trial counsels’ mental health investigation and
presentation was not deficient. (Doc. 37-16, p. 51.)
d. Dr. Marc Finhorn

The state habeas court next reviewed trial counsel’s
utilization of Dr. Einhorn, who “administered a battery of
neuropsychological tests and was present during the PET scans.”
(Doc. 37-16, p. 48.) The state habeas court noted “Dr. Einhorn
reported that Rivera’s results were “pathological and indicated
severe, chronic, psychological maladjustment.” (Docs. 37-16, p.
48; 34-1, p. 141; see also 33-19, p. 5.) According to the state
habeas court, Dr. Einhorn also noted Rivera expressed remorse and
“did not attempt to excuse his behavior.” (Id.) The results of
Dr. BKinhorn’s tests showed Rivera knew his “behaviors were criminal
acts and that he was able to scheme and get away with the behavior
for a time.” (Doc. 33-19, p. 6.) Rivera reported he “found his
offenses highly pleasurable as he anticipated the acts.” (Id. )
Dr. Einhorn directed the continuous performance test administered
immediately before Rivera’s PET scan. (Doc. 34-1, p. 142.) He
and Dr. Sachy sought to comply with the testing protocol required
to compare Rivera’s brain function to other individuals’ brains
for the purpose of explaining Rivera’s brain activity as it related
to Dr. Raine’s study. (Docs. 30-2, pp. 32-33; 89-90, 107, 145-

46.)

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e. Dr. Joseph Wu and Dr. Nathan Pino

Dr. Joseph Wu was also retained to review PET scans performed
on Rivera. (Doc. 35-1, p. 142.) Dr. Wu stated Rivera’s PET scans
showed hypo frontality, which is a state of decreased cerebral
blood flow in the prefrontal cortex of the brain. (Doc. 34-1, p.
168.) Dr. Wu explained the abnormal frontal lobe functioning
observed in Rivera’s brain would result in impaired executive
functioning. (Id. at 168- 70.) Dr. Wu never met Rivera, though.
(Doc. 31-29, po. 54.)

Though counsel relied upon Dr. Nathan Pino, a sociologist who
conducted research on Rivera, his testimony was not entered as
evidence of Rivera’s mental illness. (Docs. 31-28, p. 163; 33-
19, pp. 92-129.) Dr. Pino’s trial testimony during the sentencing
phase attributed value to Rivera’s continued life; counsel sought
to show the jury that Rivera could be a “valuable learning tool”
who could “contribute to the field of sociology.” (Doc. 31-28,
p. 163.)

iii. State Habeas Court’s Treatment of Experts Was
Reasonable.

Dr. Jonathan Weker and Dr. Wu were later retained as experts
for Rivera’s state collateral appeal. At the state habeas court
evidentiary hearing, Dr. Weker opined Rivera’s “bipolar disorder
is linked with his reckless behavior and hypersexual behavior.”

(Doc. 37-16, p. 68.) The state habeas court reviewed and compared

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Dr. Weker’s habeas testimony with Blanchard’s trial testimony his
“clinical judgment was that, amongst other things, we were dealing
with a bipolar disorder here, which is the type of depression that
has its origins in your biochemistry, particularly your brain
chemistry.” (Id.) The state habeas court then reviewed Dr.
Sachy’s testimony regarding what Dr. Sachy described as a
““menstrual cycle’ of sorts” that Rivera suffered, which “impacted
his moods.” (Id. ) The state habeas court found “[a]ll of the
experiences which Dr. Weker testified about during the evidentiary
hearing were the same as those described by [Rivera] during his
testimony,” and thus decided to give little weight to his
evidentiary hearing testimony because it was merely cumulative of
Similar evidence offered at trial.

The state habeas court recounted that “Dr. Wu also testified
at the evidentiary hearing that he opined that Rivera suffers from
bipolar disorder.” (Doc. 37-16, p. 69.) The court also noted
that, prior to trial, Dr. Wu had read and interpreted Rivera’s PET
scans and discussed his impressions at that time. (Id.) Dr. Wu

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acknowledged during his state habeas testimony no other
documentation is necessary in order to describe the pattern of a
PET scan,” (id.), and therefore, the state habeas court rejected
Rivera’s argument Dr. Wu did not have ample information from trial

counsel before trial.

The state habeas court also rejected Dr. Wu’s latently

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expressed concerns over what he perceived to be an over-reliance
on the anti-social diagnosis. As the state habeas explained, Dr.
Wu’s admitted assumption that Dr. Sachy focused only on anti-
social personality disorder was based solely on his brief
conversation with Dr. Sachy, and Dr. Wu had no actual knowledge of
what took place during trial strategy meetings. (Id.) The state
habeas court found additional information provided by Dr. Wu during
state habeas proceedings was largely cumulative, and “a jury would
likely question the credibility of Dr. Wu’s habeas testimony as he
made psychological findings without ever having met with
[Rivera].” (Id.)

Ultimately, the state habeas court gave little weight to both
Dr. Weker and Dr. Wu’s state habeas court testimony, finding none
of the testimony established ineffective assistance.
Consequently, the state habeas court found, trial counsel was
reasonable in relying on the “evaluation, diagnosis, and testimony
of all the mental health experts as none of them informed trial
counsel that his opinion was incomplete or that he needed more
information.” (Doc. 37-16, p. 70.)

iv. Factual Discrepancy Was Not Unreasonable Determination
of Facts.

The only identification of a factual error asserted in
Rivera’s brief is argued in a footnote to his point of contention

regarding Dr. Weker’s and Dr. Wu’s testimony, (doc. 142, pp. 137-

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138, n.73). Rivera asserts the state habeas court mistakenly noted
Dr. Sachy reported Rivera’s bipolar behavior, even though it was
actually Blanchard who described Rivera as bipolar. (Id. (“Dr.
Sachy did not discuss bipolar disorder or cycles at all ....%”).)
Even conceding this factual error, Rivera does not meet his burden
under § 2254(d) (2). Pye, 50 F.4th at 1035. “Depending on the
importance of the factual error to the state court’s ultimate
‘decision,’ that decision might still be reasonable . . . so long
as the decision, taken as a whole, doesn’t constitute an

‘unreasonable determination of the facts’ and isn’t ‘based on’ any

such determination.” Id. (quoting Hayes v. Sec’y, Fla. Dep’t of

Corr., 10 F.4th 1203, 1224-25 (lith Cir. 2021) (citations

omitted)); see also Miller-El v. Cockrell, 537 U.S. 322, 341 (2003)

(noting that subsections (e)(1) and (d)(2) are “independent
requirements”). Rivera’s argument does not explicitly establish
the post-conviction diagnosis of bipolar disorder would not be
cumulative of Blanchard’s diagnosis of bipolar disorder and
others’ diagnoses of other mental illness. Therefore, this factual
error does not render the state habeas court decision unreasonable.

C. The State Habeas Court’s Application of Strickland is

Entitled to AEDPA Deference.

Before arguing the merits of Claims l(a) through 1(g), Rivera
argues the state habeas court’s holding was unreasonable, and thus

not entitled to deference, because it: (1) did not consider trial

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counsel’s mental health presentation was more aggravating than
mitigating; (2) “discounted much” of Rivera’s state habeas
evidence “to irrelevance;” (3) “ignored the fact that the chosen”
mental health defense did not meet the definition of guilty but
mentally ill; (4) “misconstrued the prejudice standard to require
proof that ‘the outcome of the proceedings would have been
different, but for counsel’s errors’” and should have used the
“one juror” standard; (5) unreasonably refused to move the state
habeas hearing to accommodate Dr. Lisak, excluded the admission of
Dr. Lisak’s affidavit, and unreasonably credited trial counsel’s
testimony over Dr. Lisak’s; and (6) unreasonably found trial
counsel’s investigation was not deficient based upon the allegedly
“unsupported ground that ‘habeas counsel, years later with greater
resources, were still unable to uncover anything more than trial
counsel discovered.’” (Doc. 142, pp. 135-142 (quoting Doc. 37-
16, pp. 21, 41).) The Court rejects all six arguments for the
reasons expressed below and thus reaffirms the rightful
application of AEDPA deference to the ineffective assistance
claims asserted in Ground One. See 28 U.S.C. § 2254(d) (1);
Harrington, 562 U.S. at 104 (reversing Court of Appeals for failing
to attribute AEDPA deference to state court’s Strickland

analysis).

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i. The State Habeas Court Did Not “Completely Ignore”
Rivera’s Habeas Claim that the Defense Presented a
“Highly Aggravating” Defense.

As to Rivera’s first point, though he argues the mental health
presentation offered was aggravating, he does not support his own
conclusion the decision to choose Dr. Sachy was worse than any
other possible avenue. Rivera has not shown there was evidence
before the habeas court suggesting Rivera was abused, rendering
Dr. Lisak’s report virtually unhelpful now and during the pretrial
investigation. Precedent is replete with holdings that “{[ajn
attorney does not render ineffective assistance by failing to

discover and develop childhood abuse that his client does not

mention to him.” Williams v. Head, 185 F.3d 1223, 1237 (11th Cir.

1999); see also Stewart v. Sec’y, Dep’t of Corrs., 476 F.3d 1193,

1210-11 (Lith Cir. 2007) (“The Constitution imposes no burden on
counsel to scour a defendant’s background for potential abuse given
the defendant’s contrary representations or failure to mention the
abuse.”) The Court thus gives due deference to the state habeas
court’s determination trial counsel’s mental health investigation
and trial presentation was neither deficient nor prejudicial.

ii. The State Habeas Court Properly Considered Medical
Expert Evidence.

Rivera complains the state habeas court decided to give little
weight to Dr. Wu’s opinion that Rivera does not have an anti-

social disorder. (Id.) He is also disgruntled the state habeas

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court similarly found Dr. Jonathan Weker’s testimony to be “largely
cumulative of that presented.” (Doc. 37-16, p. 68.) But Rivera
does not argue why the testimony of Dr. Wu, who never met with
Rivera, deserves more weight, and he does not explain why Dr.
Weker’s testimony is not “largely cumulative.” In other words, he
does not explain why the post-conviction evidence should take
priority, and therefore why the legal determination to discredit
it is faulty.

The state habeas court’s restrained consideration of Dr.
Weker and Dr. Wu’s evidence was reasonable. The state habeas court
already considered the conclusions Rivera intends to present
currently via Dr. Weker and Dr. Wu: that Rivera was mentally ill
and therefore his attorneys were ineffective for not proving it.
The state habeas court found it notable that, at trial, Dr. Sachy
testified Rivera met the definition of guilty but mentally ill—
not only because he had anti-social tendencies which he believed
could be physiologically explained—but because he met the criteria
for obsessive compulsive disorder and paraphilic disorder as well.
(Doc. 37-16, p. 54.) Thus, it properly found that Dr. Weker’s
testimony was “largely cumulative” of expert testimony presented
during the trial. (Id. at 68.) The state habeas court also noted
that the habeas expert testimony recounting Rivera’s experiences
were the same as those described by Rivera himself during his

testimony in the guilt phase of the trial, and thus were also

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"largely cumulative” of what had already been recounted to the
jury. (Id.) Therefore, it found, Rivera failed to point to non-
cumulative evidence which the trial attorneys should have found or
to demonstrate there is a reasonable probability that, had Dr.
Weker or Dr. Wu’s opinions been introduced at trial, there would
be a different outcome. such a finding mandated a denial of
relief.

These findings and conclusions are supported by the evidence,
consistent with the law, and thus entitled to the full deference

afforded by AEDPA. see Holsey v. Warden, Georgia Diagnostic

Prison, 694 F.3d 1230, 1260-61 (llth Cir. 2012) (collecting cases
and noting, “the United States Supreme Court, this Court, and other
circuit courts of appeals generally hold that evidence presented
in postconviction proceedings is ‘cumulative’ or ‘largely
cumulative’ to or ‘duplicative’ of that presented at trial when it
tells a more detailed version of the same story told at trial or
provides more or better examples or amplifies the themes presented
to the jury.”).

iii. The State Habeas Court Did Not “Ignore” Rivera’s Habeas
Argument That the Chosen Defense was “Wholly
Incompatible” with Governing Law.

Rivera next argues the state habeas court unreasonably

“ignored the fact” trial counsel’s chosen mental health defense

“was wholly incompatible with the law governing the guilty but

mentally ill verdict (as well as science and reality) given that

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the statutory definition of ‘guilty but mentally ill’ was precluded
by the primary diagnosis of sociopathy given by Drs. Sachy and
Einhorn, and the only support for the defense came from a ‘licensed
counselor [i.e., Blanchard]/ who was not competent to diagnose Mr.
Rivera’s severe mental illness.” (Doc. 142, p. 138.) The Georgia
statute provides the following definition for “mentally ill:”

“Mentally ill” means having a disorder of thought or

mood which significantly impairs judgment, behavior,

capacity to recognize reality, or ability to cope with

the ordinary demands of life. However, the term “mental

illness” shall not include a mental state manifested

only by repeated unlawful or antisocial conduct.

O.C.G.A. § 17-7-131 (a) (3).

Dr. Sachy testified that, given the composition of Rivera’s
brain, he was “at the top of the aberrancy when it comes to the
stuff that his frontal lobes should be doing in behavior that is
violent, and impulsively violent, and you know, psychopathic.”
(Doc. 30-2, p. 78.) And Dr. Einhorn later explained that there
are “many” anti-social personality disorders and that “the next
level of severity” from anti-social personality disorder is
psychopathy or sociopathy, which he described as being “the same
thing.” (Doc. 30-2, p. 149.) He testified that Rivera met the
criteria to be considered a “level higher to psychopathic sexual
sadist.” (Id. ) When asked on cross-examination, he agreed that

the terms “anti-social personality disorder” and “psychopathy”

were used interchangeably, but he said it was incorrect to do so.

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(Id. at 160). He stated, “a psychopath will always be anti-social,
but an anti-social will not always be a psychopath necessarily.”
(Id.) Thus, some of the testimony suggested that Rivera fell under
the ambit of the “mentally ill” statute’s exception because the
experts, in effect, described his mental state as one which was
“manifested . . . by repeated unlawful or antisocial conduct.”
O.C.G.A. § 17-7-131 (a) (3).

However, Dr. Sachy also concluded that Rivera met the criteria
for “two other psychiatric disorders” that contributed to his
behavior: “obsessive-compulsive disorder” and “paraphilic
disorder.” (Doc. 30-2, pp. 81-82.) Additionally, Blanchard, the
so-called “licensed counselor,” testified that results of testing
conducted on Rivera indicated, among other things, “concerns in
the area of schizoid behavior, meaning someone who is not
interested or desiring social contact,” that there were
“elevations on different measures of depression, including bipolar
disorder,” that “there was indication of an elevation on post-
traumatic stress,” and that there “was also elevation on, near
elevation on anti-social scale.” (Doc. 30-3, pp. 17-18.) On the
other hand, Dr. Lisak’s report did not provide any diagnoses, but
in an email to Dr. Sachy, Johnson stated that, “[p]rivately, Lisak
told me that Rey is a ‘classic psychopath.’” (Doc. 33-19, p. 193.)

Rivera argues his psychopathy diagnosis, which as explained

by Dr. Einhorn, “will always be anti-social,” precluded the guilty

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but mentally ill defense given the exception contained in the
statute regarding “antisocial conduct.” (Doc. 142, p. 138.)
However, Georgia law is not explicit concerning whether such a
diagnosis precludes a jury finding he was mentally ill. See Worthy
v. State, 324 S.E.2d 431, 436 (Ga. 1985) (“While this definition,
particularly the latter part, is not a model of specificity, the
area is certainly one in which a precise definition would be
difficult. Moreover, we are dealing here with a possible finding
by the jury, not the definition of a crime.”) (emphasis added).
Furthermore, the statute clearly mandates that the mental state
must be “manifested only by repeated unlawful or antisocial
conduct.” 0.C.G.A. § 17-7-131 (a)(3) (emphasis added). As the
state habeas court noted, Dr. Sachy and others claimed Rivera was
mentally ill in ways unrelated to antisocial diagnoses. Thus, the
state habeas court did not “ignore” this point. It also rightly
found that, “[t]Jhere was no denying the antisocial nature” of
Rivera’s history.” (Doc. 37-16, p. 67.)

Additionally, as concluded by the Court in response to his
first averment of error above, there was no other or better defense
available, given Rivera’s admissions regarding his own behavior,
and Johnson's characterization of Dr. Lisak’s opinion, which was
that Rivera was a “classic psychopath.” (Doc. 33-19, p. 193.)
Therefore, the state habeas court’s determination was not an

unreasonable determination of fact or application of law on these

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grounds. See, e.g., Heidler v. Warden, GDCP, 2023 WL 4927253, at

*39 (lith Cir. Aug. 2, 2023) (“Heidler contends that trial counsel
‘failed to reasonably . . . present . . . evidence’ that he
‘suffered from depression and/or psychoses,’ instead painting
HeictersHiedler’s issues as being “limited to personality
disorders marked by antisocial conduct.’ But that's just not
true.”).

iv. The State habeas Court Did not Apply the Wrong Prejudice
Standard in the Guilt Phase.

Rivera next argues the state habeas court improperly relied

on Smith v. Francis, 325 S.E.2d 362 (Ga. 1985) for its definition

of what constitutes prejudice, requiring Rivera to offer “proof
that the outcome of the proceedings would have been different, but
for counsel’s errors.” (Doc. 142, p. 138.) He argues Strickland
“expressly rejected an outcome determinative test,” and thus, the
state habeas court, in reliance on Smith, applied the wrong
Strickland prejudice standard. (See id. at 138-139 (citing
Strickland, 466 U.S. at 694).)

Relying on Smith, the state habeas court explained “[t]he
prejudice prong requires that a petitioner establish that the
outcome of the proceedings would have been different, but for
counsel’s errors.” (Doc. 37-16, p. 21 (citing Smith, 253 Ga. at

783).) The cited portion of Smith specifically states:

the defendant must show that there is a reasonable
probability (i.e., a probability sufficient to undermine

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confidence in the outcome) that, but for counsel’s
unprofessional errors, the result of the proceeding
would have been different. Regarding death penalties,
the question is whether there is a reasonable
probability that, absent the errors, the sentencer would
have concluded that the balance of aggravating and
mitigating circumstances did not warrant death.
Smith, 325 S.E.2d at 363 (internal citations omitted). The state
habeas court next noted Strickland prejudice occurs when a
petitioner demonstrates “there is a reasonable probability (i.e.,
@ probability sufficient to undermine the confidence in the
outcome) that, but for counsel’s unprofessional errors, the result

cf the proceeding would have been different.” (Doc. 37-16, p. 21

citing Smith, supra; Strickland, supra at 694; Head v. Carr, 544

S.E.2d 409, 413 (Ga. 2001); and Hall v. Terrell, 679 S.E.2d 17, 20

(Ga. 2009). It next articulated the Georgia Supreme Court’s
holding that “in order to establish that trial counsel’s
performance was so defective as to require a new trial,” Rivera
must show “absent counsel’s errors, the outcome of the trial would

have been different.” (Doc. 37-16, p. 21 (quoting Roberts v.

State, 439 S.E.2d 911, 912 (Ga. 1994). However, the state habeas

court later applied the Strickland standard by finding Rivera

failed to show prejudice because he “failed to show that any new
evidence of bipolar disorder so prejudiced him that there [was] a
reasonable likelihood that the outcome of [Rivera’s] guilt-
innocence phase would have been different.” (Id. at 67.)

An identical argument to Rivera’s argument that the state

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habeas court improperly required a heavier prejudice burden was

recently examined by the Eleventh Circuit. See Calhoun v. Warden,

Baldwin State Prison, 92 F.4th 1338, 1348 (llth Cir. 2024). There,

the Eleventh Circuit held the Georgia Supreme Court improperly
articulated the ineffective assistance prejudice standard as
“versions of the preponderance standard” when it found Calhoun’s
motion failed because “nothing presented . . . would have
established . . .,”% when it required a showing that “a reasonable
jury would have reached a different verdict,” and when it required
Calhoun to show counsel’s error “likely affected the outcome of
trial.” Id. at 1347. Accordingly, it found the Georgia Supreme
Court’s decision was contrary to clearly established federal law
and therefore held AEDPA deference was not due. Id. at 1348-49.
Even in revoking deference on this point, the Eleventh Circuit
made clear their treatment of this issue is “not to be misread to
mean that a state court decision isn’t entitied to AEDPA deference
unless the opinion quotes with precision, without shorthand
references, and with flawless consistency the proper federal
standard of reasonable probability of a different result.” Id. at

1348; see also Harrington, 562 U.S. at 112 (quoting Strickland,

466 U.S. at 697) (“The difference between the reasonable
probability standard ‘and a more-probable-than-not standard is
slight and matters ‘only in the rarest case.’”).

In the instant case, the state habeas court used terminology

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in its opinion which failed to include specific language, i.e., it
stated Rivera would be required to establish the outcome of the
proceedings “would have” been different. (See doc. 37-16, p. 21.)
However, this semantics-based attack on deference fails because
the state habeas court recited and applied the Strickland standard
elsewhere. (Doc. 37-16, p. 67 (resting prejudice holding on
conclusion Rivera “failed to show that any new evidence of bipolar
disorder so prejudiced him that there [was] a reasonable likelihood
that the outcome of [Rivera’s] guilt-innocence phase would have

been different”)); see also Calhoun, 92 F.4th at 1348 (citing

Holland v. Jackson, 542 U.S. 649, 654-55 (2004) (“The statement

[in the state court opinion] that respondent had ‘failed to carry
his burden of proving that the outcome of the trial would probably
have been different but for those errors’ . . . is permissible
shorthand when the complete Strickland standard is elsewhere
recited.”) (emphasis in original).) Furthermore, by applying the
Strickland standards, the state habeas court never required
“proof” or an inappropriate “outcome determinative” test, or even
a “preponderance” test, but rather applied the proper standard,
which, as quoted by the state habeas court, mandates “a reasonable
probability” the result of the proceeding would have been
different. (Doc. 37-16, p. 21.) Thus, Rivera’s attack on deference
owed to the state habeas court fails on this point because he has

not shown the state habeas court’s holding he was not prejudiced

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by his counsel’s alleged deficient performance was based on an
unreasonable application of clearly established federal law. To
restate, Rivera has not shown the evidence on the prejudice
question is so one-sided in his favor that the answer is, as the
Supreme Court has phrased it, and as was explained above “beyond
any possibility for fairminded disagreement.” Harrington, 562
U.S. at 103.

Vv. The State Habeas Court Did Not Apply the Wrong Prejudice
Standard to the Penalty Phase.

Rivera next complains the state habeas court, also in reliance
upon Smith, determined prejudice during the penalty phase could be
shown only when, “absent the errors, the sentencer would have
concluded that the balance of aggravating and mitigating
circumstances did not warrant death.” (Doc. 142, p. 139 (citing
doc. 37-16, p.21 and guoting Smith, 253 at 783-84).) Rivera argues
the Supreme Court has “made clear in the years since Smith, in a
state such as Georgia, where the vote of a single juror in favor
of a sentence less than death requires imposition of a sentence
less than death, a petitioner need only show that there is a
reasonable probability that at least one juror would have voted
against the death penalty.” (See doc. 142, p. 139 (citing Wiggins
v. Smith, 539 U.S. 510, 537 (2003) (“Had the jury been able to
place petitioner’s excruciating life history on the mitigating

side of the scale, there is a reasonable probability that at least

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one juror would have struck a different balance.”)).

“When a defendant challenges a death sentence . . . the
question is whether there is a reasonable probability that, absent
the errors, the sentencer . . . would have concluded that the
balance of aggravating and mitigating circumstances did not
warrant death.” Strickland, 466 U.S. at 695. “The likelihood of
a different result must be substantial, not just conceivable.”
Harrington, 562 U.S. at 112. Thus, while Rivera need establish
only “a reasonable probability that at least one juror would have
struck a different balance” between life and death, Wiggins, 539
U.S. at 337, a “reasonable probability,” as used here, “is a
probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694 (emphasis added); see also Jenkins v.

Commr., Alabama Dept. of Corrections, 963 F.3d 1248, 1270 (1ith

Cir. 2020). In measuring that probability, courts “evaluate the
totality of the available mitigation evidence — both that adduced
at trial, and the evidence adduced in the habeas proceeding in

reweighing it against the evidence in aggravation.” Williams v.

Taylor, 529 U.S. at 397-98; see also Wiggins, 539 U.S. at 534 (“In

assessing prejudice, we reweigh the evidence in aggravation
against the totality of available mitigating evidence.")

In this case, not only is much of the evidence in aggravation
undisputed, but also the depravity of the crime itself is evident.

In addition, the jury heard the gruesome details of several rapes

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and murders from Petitioner’s own mouth. The Court cannot hold
that the mostly cumulative habeas evidence in favor of mitigation
outweighs the trial court evidence in aggravation. It is simply
not likely the jury would have concluded death was not the
appropriate punishment if it had heard the proposed evidence.
Thus, even if Rivera showed deficient performance, he “cannot [and
did not] prove that ‘absent the errors, the sentencer . . . would
have concluded that the balance of aggravating and mitigating
circumstances did not warrant death.’” Sealey, 954 F.3d at 1357
(citing Johnson, 643 F.3d at 935. Thus, in light of the Court’s
deferential standard of review, the determination Rivera failed to
establish prejudice was not contrary to, or an unreasonable
application of, Strickland.

vi. The State Habeas Court Properly Managed its Docket
Regarding Dr. Lisak.

Rivera’s next attack on deference is the state habeas court,
"in addition to wrongfully preventing Rivera from presenting the
testimony of Dr. Lisak or from proffering an affidavit,
unquestioningly endorsed trial counsel’s representations about
their decision not to use Dr. Lisak’s recollection of his
interactions with trial counsel.” (Doc. 142, p. 140.) First, the
Court rejected the argument concerning continuation of the habeas
hearing in section III(B) (i), supra. Second, the state habeas

court properly considered available evidence before it, including,

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as noted above, correspondence from Dr. Lisak himself, Dr. Lisak’s
deposition, and Johnson’s own observations about Dr. Lisak, when
it reasonably concluded trial counsel was not ineffective.

vii. The State Habeas Court’s Reasoning Regarding Comparative
Resources Does Not Render its Decision Unreasonable.

Rivera next argues the state habeas court found the attorneys
not deficient based upon the allegedly “unsupported ground that
‘habeas counsel, years later with greater resources, were still
unable to uncover anything more than trial counsel discovered.’”
(Doc. 142, pp. 141-142 (quoting Doc. 37-16, p. 41).) Rivera claims
this conclusion is indefensible considering the state habeas court
“rapidly moved Mr. Rivera’s case through state habeas proceedings”
without providing Rivera with a five-month extension of the
discovery period but gave a three-month one instead. (Doc. 142,
p. 141.)

it is unclear what the state habeas court intended when it
noted habeas counsel had “greater resources” than the trial
counsel. But the state habeas court’s ultimate conclusion is
unaffected by the distinction. Moreover, this argument does not
strike at the heart of the reasonableness of the state habeas
court’s determination Hawk and Johnson were effective. It simply
constitutes a frustration with state procedural decisions which
limited the habeas counsel’s ability to do extensive investigation

in Puerto Rico, an investigation which, even if fruitful would not

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have resulted in a finding trial counsel was ineffective. (Doc.
142, p. 141 (additionally complaining of state habeas court's
denial of a “five-month extension of the discovery period, in part
to permit ‘a necessary and substantial investigation in Puerto
Rico. . ..,'").) A defense attorney “preparing for the sentencing
phase of a capital trial,” is not required “to scour the globe on
the off chance something will turn up.” Rompilla v. Beard, 545
U.S. 374, 380-83 (2005). Rather, “reasonably diligent counsel may
draw a line when they have good reason to think that further
investigation would be a waste.” Id. at 383.

Rivera’s complaint he did not receive enough time-a five-
month extension of discovery—to investigate the theory of abuse
denied by Rivera and requiring extensive travel—falls short
because there is no new substantial evidence, thus no prejudice,
and thus no reason to consider trial counsel’s performance

ineffective. See Burt v. Titlow, 571 U.S. 12, 17 (2013) (quoting

Strickland, 466 U.S. at 669) (“It should go without saying that
the absence of evidence cannot overcome the ‘strong presumption
that counsel’s conduct fell within the wide range of reasonable
professional assistance.’”). “[T]o be effective a lawyer is not
required to ‘pursue every path until it bears fruit or until all
hope withers.’” Williams v. Head, 185 F.3d at 1237 (quoting Foster
v. Dugger, 823 F.2d 402, 405 (llth Cir. 1987)). Therefore, trial

counsels’ decision to limit the investigation is “accorded a strong

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presumption of reasonableness.” Millis v. Singletary, 63 F.3d 999,

1021 (11th Cir. 1995) (internal quotation marks omitted). The
state habeas court’s entitlement to deference is not diminished on
the basis it assumed the state habeas counsel had more resources
than trial counsel. Even if state habeas counsel had been given
more time and resources, it would not have resulted in a finding
of ineffective assistance as Rivera continues to deny he was
abused.

D. Trial Counsel’s Mental Health Investigation and

Presentation Did Not Constitute Ineffective Assistance.

Rivera has made three arguments on the deficient performance
Strickland prong regarding the investigation and presentation of
the mental health defense. (Doc. 142, p. 135.) First he argues
trial counsel presented an “incoherent defense that depicted Mr.
Rivera as a sexually sadistic monster beyond redemption,” (id. at
147); second, that trial counsel performed deficiently in failing
to investigate and present evidence that Rivera suffered from
untreated bipolar disorder, (id. at 156-59), and, third, that trial
counsel performed deficiently in “dumping” Dr. Lisak “simply
because he stressed the necessity of conducting a thorough
investigation” of Rivera’s childhood and background, (id. at 159-
63). Further, Rivera argues the second Strickland prong, that he

was prejudiced by the “incoherent” defense and trial counsel’s

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failure to investigate and present evidence of Rivera’s “severe
mental illness and childhood sexual abuse.” (Id. at 163-65.) In
Support of his prejudice argument, he claims that “[b]y contrast,
the extensive and compelling evidence submitted in the state habeas
proceedings provided a mitigating rubric through which to
understand that Mr. Rivera’s horrific actions were the product of
the synergy between his untreated (and/or improperly treated)
psychiatric disorders and the continuing effects of his
traumatized and discordant childhood, including sexual abuse he
suffered as a young boy and a teenager, and the warping impact of
his father’s virulent misogyny.” (Id. at 164.)

i. Trial Counsel’s Performance was Not Deficient.

“Judicial scrutiny of counsel’s performance must be highly
deferential.” Strickland, 466 U.S. at 689. Additionally, AEDPA,
by its terms, requires the federal court to apply deference to
state-court decisions. Consequently, federal review of the state
habeas court’s resolution of the deficient-performance prong of

Strickland requires “double deference.” Humphreys v. Warden,

Georgia Diagnostic Prison, 2024 WL 2945070, at *26 (llth Cir. June

11, 2024) (citing Pinholster, 563 U.S. at 202, Thus, at federal
habeas review, “the question [becomes] whether there is any

reasonable argument that counsel satisfied Strickland’s

deferential standard.” Premo v. Moore, 562 U.S. 115, 123 (2011)

(citation and internal quotation marks omitted).

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Rivera’s most resounding complaint is that his attorneys were
swayed from further investigations of abuse by a physician who, at
best, misinterpreted data, and at worst, was corrupt. (See doc.
142, p. 115 (describing Dr. Sachy as a “slick talking charlatan of

a psychiatrist”); see also id., n.37 (recounting indictment and

arrest of Dr. Sachy in 2018 on charges related to controlled
substance distribution, money laundering, and conspiracy, and
assessing Dr. Sachy’s own propensity for psychopathy) .) Rivera
claims trial counsel failed to investigate and develop Rivera’s
thought and mood disorders and abusive childhood, preferring Dr.
Sachy’s “questionable” defense which rested on a theory which was
logically inapposite to mitigation over Dr. Lisak’s theory. (Doc.
142, pp. 142-63.) Though Rivera seeks to bootstrap this contention
into an argument that the state habeas court’s determination was
unreasonable, the issues are discrete. As noted, at this stage,
the Court reviews the state habeas court’s decision regarding the
mental health investigation merely to determine if it applied

Strickland unreasonably. See Harrington, 562 U.S. at 86. If it

did not, the Court attributes AEDPA deference as required by 28
U.S.C. § 2254 (d) (1). The Court has already determined Rivera’s
arguments that the state habeas court applied the law unreasonably
are meritless. Thus, in attributing deference to the state habeas
court’s holdings on these discreet allegations, it applies

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deference to the state habeas court. However, even in considering

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the claim’s merits, the Court finds trial counsel’s performance
was not deficient when investigating and presenting the mental
health defense.
a. Trial Counsel did not Perform Deficiently in
Committing to an “Incoherent” Defense or Failing to
Investigate and Present Bipolar Disorder.

Rivera’s first argument is “trial counsel performed
deficiently in committing themselves to an incoherent defense that
depicted Mr. Rivera as a sexually sadistic monster beyond
redemption.” (Doc. 142, p. 147.) The state habeas court found
trial counsels’ mental health defense, including its consideration
of Rivera’s bipolar disorder was not ineffective. On the first
Strickland prong, the state habeas court found that “trial counsel
investigated and presented a reasonable theory for the guilt phase
of trial” because they presented experts and Rivera himself to
make the argument that his “background had a profound impact on
[him] to the point where, while he was aware that the crimes were
wrong, he was unable to control his actions as a result of
biological forces.” (Doc. 37-16, p. 67.) The state habeas court
also held that trial counsel’s strategic choice to rely on those
experts and testimony to suggest Rivera’s actions were the result
of heredity outside of his control was a reasonable strategic
choice. (Id. ) It noted the defense included a “valid case for a

guilty but mentally ill verdict based on Rivera’s bipolar disorder”

and “[t]here was no denying the antisocial nature” of Rivera’s

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history. (Id.) In summation, it found that by “attempt[ing] to
embrace the history in effect to explain the behavior,” trial
counsel’s mental health investigation and defense was based on
strategy and based on the evidence, and therefore not deficient.
(Id. )

Rivera asserts counsel’s strategy was “incoherent” by
comparing this case to three out-of-circuit cases which involved

“dubious” experts. (See doc. 142, pp. 147-56.) In the first one,

Stevens v. McBride, 489 F.3d 883 (7th Cir. 2007), the expert was

asked not to write a report but wrote one anyway. Id. at 888.
The report contained “numerous statements that were extremely
detrimental” to the defense, including several admissions. Id.

The expert also “subscribed to an unusual psychological theory

known as the ‘myth of mental illness,’” which was highly irregular.

Id. Nevertheless, trial counsel enlisted the expert, who’s
testimony Rivera describes as “disastrous.” (Doc. 142, p. 148.)
Rivera argues that, “[llike the trial expert in Stevens, Mr.

Rivera’s experts—most especially Sachy—advocated theories that any
meaningful scrutiny would have revealed were scientifically
dubious at best and internally inconsistent.” (Id. at 152.) He
claims, “these theories were advanced in language and diagnoses
that were inherently damaging to Mr. Rivera’s case and, indeed,
more aggravating than anything the prosecutor could have presented

or argued.” {Id.)

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The next case Rivera relies upon is Skaggs v. Parker, 235

F.3d 261 (6th Cir. 2000). There, the expert, whose testimony was
“rambling, confusing, and at times, incoherent to the point of
being comical,” id. at 264, turned out to be no expert at all; he
lied about his credentials and had no training. Even still, the
Sixth Circuit held “counsel’s failure to conduct a full-blown
investigation into [the expert’s] academic history, or to verify
his credentials any further than had been done, did not fall below

an objective standard of reasonableness under Strickland.” Id. at

268. But counsel’s decision to recall the expert at retrial of
the penalty phase, despite “having had the advantage of witnessing
[the expert’s] previous bizarre performance and, more importantly,
counsel’s complete failure to present other mitigating evidence on
Skaggs’s behalf, fell below an objective standard of
reasonableness.” Id. at 270. Rivera draws a comparison between
the Skaggs expert’s poor courtroom performance and that of Dr.

Sachy. Rivera then relies on Richey v. Bradshaw, 498 F.3d 344

(6th Cir. 2007) for the proposition that “the mere hiring of an
expert is meaningless if counsel does not consult with that expert
to make an informed decision about whether a particular defense is
viable.” Id. at 362.

None of these cases are analogous. Stevens involved:

an emotionally disturbed young man who had been abused

and raped as a child, was sentenced to death in Indiana
state court for the molestation and brutal murder of 10-

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year-old Zachary Snider. At Stevens’s trial, the only
evidence presented by the defense concerning his mental
state at the time of the killing was the testimony of a
psychologist who believes that mental illness is a myth.
Stevens, 489 F.3d at 886. Unlike Stevens, Dr. Sachy’s diagnosis
was not invalidated by his own disbelief in its existence.
Instead, the value of his analysis was diminished after another
expert disagreed with his interpretation of highly complex PET

scan data.

Next, Skaggs involved a fraudulent expert who failed, but he

was rehired despite this failure “primarily because counsel waited
until the eleventh hour to prepare for the penalty phase and to
line up a psychiatric expert to testify on Skaggs’s behalf,” and
could not be replaced. Skaggs, 235 F.3d at 270. The Sixth Circuit
held “[t]he case before us is not one of a mere disagreement
between experts, or a case in which the expert for the petitioner
did not testify as favorably as the petitioner had hoped—both
circumstances in which the granting of a habeas petition would be
inappropriate.” Id. at 272. Instead, the jury never heard
“marginally competent” evidence of Skaggs’ “borderline mental
retardation,” id. at 273, evidence which represents an entirely
different type of mental incapacity from Rivera’s bipolar
disorder. Compare 0O.C.G.A. § 17-7-131 (a) (2) (intellectual
disability) with 0O.C.G.A. § 17-7-131 (a) (3) (mental illness).

Indeed, Rivera’s case represents the exact case contemplated by

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the Sixth Circuit here~a “mere disagreement between experts, ora
case in which the expert . . . did not testify as favorably as the
petitioner had hoped—both circumstances in which the granting of
a habeas petition would be inappropriate.” Skaggs, 235 F.3d at
272.

Additionally, Rivera’s reliance on Richey to argue trial
counsel failed to confirm that Dr. Sachy made an informed decision
about whether the defense was viable is completely unsupported.
Instead, Rivera provides merely his own opinion trial counsel
“failed to subject the experts’ theory to rational scrutiny that
would have shown that [the defense] not only was aggravating, but
also internally inconsistent and fatally flawed from an analytical
perspective.” (Doc. 142, p. 155.) Instead of pointing to facts in
the record to support this point, he cites the unrelated case of

Buck v. Davis, 580 U.S. 100 (2017), where counsel was “ineffective

in presenting expert testimony that defendant was more likely to
be a future danger due to his race,” and he claims trial counsel
failed by ascribing to Dr. Sachy’s theory, “despite substantial
grounds to support meaningful investigation of Mr. Rivera’s
bipolar disorder and history of childhood abuses.” (Doc. 142, p.
155.) As explained in the next section IV (D) (1) (6b), the argument
counsel failed to investigate the bipolar disorder diagnosis
fails. Additionally, Rivera has always denied childhood abuse.

In applying deference to the state habeas court’s decision,

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the Court agrees trial counsel’s reliance on Dr. Sachy and his
theory was not deficient performance. Trial counsel’s
investigation into Rivera’s mental health was comprehensive, and
the theory presented by Dr. Sachy was not incoherent. In analogous
cases, the Eleventh Circuit has found similar mental health

investigations sufficient. see, €.g., Gissendaner v. Seaboldt,

735 F.3d 1311, 1331 (11th Cir. 2013) (“The state habeas court’s
finding of no deficient performance was also reasonable with
respect to trial counsel’s mental health investigation, which
included obtaining [the petitioner’s] mental health records and

consulting with [an expert].”); Raheem v. GDCP Warden, 995 F.3d

895, 919 (11th Cir. 2021) (finding trial counsel “conducted an
extensive [and adequate] investigation into [the petitioner’s]
mental health before trial” where trial counsel “consulted with
four different mental health experts,” “spoke with [one of the
experts] often,” and “me[t] with [the petitioner's] family”).
Rivera’s failure to show trial counsel’s reliance upon Dr. Sachy
was unreasonable mandates the Court find counsel was not

ineffective. See Chandler v. United States, 218 F.3d 1305, 1318

(Lith Cir. 2000) (“[C]ounsel’s reliance on particular lines of
defense to the exclusion of others—whether or not he investigated
those other defenses—is a matter of strategy and is not ineffective
unless the petitioner can prove the chosen course, in itself, was

unreasonable.”).

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o. Trial Counsel Was Not Deficient by Failing to
Investigate and Present Evidence Rivera Suffered from
Untreated Bipolar Disorder.

Rivera next argues that “even though the definition of
‘mental illness’ under 0.C.G.A. § 17-7-131(a) (3) precludes ‘a
mental state manifested only by repeated unlawful or antisocial
conduct,’ and, accordingly, the primary diagnosis advanced at
trial of antisocial personality disorder could not, by definition,
satisfy the statute, counsel nonetheless moved forward with Dr.
Sachy’s plan to prove that Mr. Rivera was hardwired, as a
sociopath, to commit his crimes.” (Doc. 142, p. 156.) This
argument repeats the logic behind Rivera’s argument that the state
habeas court’s decision was unreasonable, dispelled in section
IV(C) (iii), supra. Specifically, the Georgia statute mandates
that mental states manifested only by repeated antisocial conduct,
such as that conduct which many experts testified occurred in
Rivera’s case, are not considered “mentally ill” mental states.
O.C.G.A. § 17-7~131 (a) (3). As applied to the performance prong
of Strickland, however, Rivera directs the Court to consider the
mitigating effect of a bipolar diagnosis as compared to that of
psychopathic. However, at least three doctors conducted tests and
analyses on Rivera and only the licensed counselor noted his
bipolar disorder. Therefore, trial counsel, by not presenting
further evidence of Rivera’s bipolar disorder, could not have been

deficient in failing to pursue it. Furthermore, trial counsel did

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not fail to present the evidence that was available to them
regarding Rivera’s bipolar disorder. (See, e.g., Doc. 30-3, pp.
17-18.)

c. Trial Counsel was not Deficient in “Dumping” Dr. Lisak
Because He Stressed Investigation.

Rivera next argues trial counsel performed deficiently in
“dumping” Dr. Lisak as an expert “simply because he stressed the
necessity of conducting a thorough investigation of Mr. Rivera’s
childhood and background.” (Doc. 142, p. 159.) On this clain,
the state habeas court found Rivera’s arguments regarding the
choice to “dump” Dr. Lisak and “refusing” to undertake an
investigation into childhood sexual abuse failed. (Doc. 37-16, p.
4i.) As to performance, the habeas court found trial counsel “did
investigate this theory” and therefore was not deficient. (Id. at
40.) Furthermore, it found Rivera’s habeas evidence consisted of
nothing more than speculation, noting that no further evidence had
been uncovered. (Id.) Therefore, trial counsel was not deficient
in failing to uncover evidence or relying on the doctor who
suggested the evidence might exist, because the evidence does not
appear to exist. (Id. )

The Court agrees with and gives deference to the state habeas
court on this claim as well. Rivera claims “f[h]lad counsel

undertaken the type of investigation suggested by Dr. Lisak

-, they would have unearthed evidence supporting not only a

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mitigating defense of bipolar disorder, but sufficient
corroboration of childhood sexual abuse that an expert such as Dr.
Lisak could have testified to the pernicious effects such abuse
has on male development in general and Mr. Rivera in particular.”
(Doc. 142, p. 161.) This assertion is merely speculative
considering no evidence exists that Rivera was abused as a child.

Moreover, as noted, Dr. Lisak did not suggest Rivera was
bipolar in his report, and while he suspected Rivera may have
suffered abuse as a child, Rivera denied such abuse occurred.
Thus, trial counsel’s supposed “failure to engage in any meaningful
investigation of Mr. Rivera’s childhood abuse” (id. at 163) after
hearing from Dr. Lisak is a misnomer. This case is not, as Rivera
asserts, one where counsel failed to conduct further
investigations in the face of clear signs of mitigation. See

Newland v. Hall, 527 F.3d 1162, 1202 (lith Cir. 2008) (noting

“because information about childhood abuse supplied by a defendant
is extremely important in determining reasonable performance,
‘when a petitioner . . . does not mention a history of physical
abuse, a lawyer is not ineffective for failing to discover or to
offer evidence of abuse as mitigation’” (alterations in original)

(additional internal quotation marks omitted)); Puiatti v. Sec’y,

Fla. Dep’t of Corr., 732 F.3d 1255, 1281 (llth Cir. 2013) (same).

Trial counsel did not perform deficiently in failing to investigate

evidence which did not exist. Nor did they perform deficiently in

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failing to investigate a disorder which they did consider and then
presented to the jury.

ii. Rivera was not Prejudiced by Deficient Performance of
Trial Counsel.

The state habeas court found that, even if there were any
deficiencies in the presentation of the mental health evidence,
Rivera could not show prejudice, the second Strickland prong. (See
id. at 67-68 (holding Rivera failed to show “any new evidence of
bipolar disorder so prejudiced him that there is a reasonable
likelihood that the outcome of petitioner’s guilt innocence phase
would have been different”) .) It found the habeas evidence was
cumulative of that which was already presented at trial, and Rivera
continued to adamantly deny being sexually abused. Therefore,
Rivera could not have been prejudiced by his trial counsel’s
failure to obtain this evidence because it would not have been
meaningful. (Id. at 67-71.) It neld, Rivera “failed to prove
prejudice as he has not provided any evidence to suggest a
reasonable likelihood that the outcome would have been different
with the ‘new’ evidence he presented in habeas, as there is not
any new evidence of abuse.” (Id. at 41.) The Court wholly agrees
with the state habeas court’s determination of this issue.

Precedent, including Strickland itself “places a demanding
burden on a convicted defendant to show that he was prejudiced by

his counsel’s deficient performance.” Pye, 50 F.4th at 1041.

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Rivera did not meet this burden at state habeas, and, because the
state habeas court reasonably applied Strickland, the Court defers
to the state habeas court’s holding on that claim. But even on a
direct review examination, Rivera cannot show he was prejudiced by
his counsel’s failure to investigate or pursue potentially
mitigating mental health avenues which were nonexistent, such as
supposed childhood abuse, or which were pursued, such as bipolar
disorder.

Even if trial counsel had presented evidence from a medical
doctor unequivocally indicating Rivera was bipolar, the jury would
have additionally heard evidence that Rivera manifested antisocial
tendencies as well. Rivera’s recorded confessions were properly
admitted and they included Rivera’s own descriptions of his
obviously manipulative and antisocial tendencies, (see, e.g., doc.
29-30, p. 176 (recording of Rivera describing strategy for pursuing
girls who drove older vehicles as it suggested she would be without
common sense and therefore, more “forthcoming.”).) Chrisilee
Barton described to the jury being brutally attacked, sodomized,
and raped, and she identified Rivera as her attacker. (Doc. 29-
28, pp. 107-38.) The jury heard doctors describe how long Marni

Glista suffered, and Rivera admitted killing her on the stand.

(Docs. 29-28, pp. 17-24; 30-3, p. 155.) Family members and a
friend testified as to their suspicions of Rivera. (Doc. 29-29,
pp. 36-57; id. at 25.) Rivera gave in-court admissions of

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committing other heinous crimes all the while simultaneously self-
aggrandizing and pitying himself. (See doc. 30-3, p. 132 (“I had
no intention of being arrested. . . . My intention would be to be

dead. But I screwed that up, like everything else.”); see also id.

at 132-33 (“Because after all, without my confessions, nobody would
have known about Tabatha and Mellissa. Nobody would have known
about Tiffany and Marni.”). These are merely a few of the
multitudes of examples of the evidence showing Rivera manifested
antisocial tendencies, as well as being overwhelming evidence
against him, generally. In other words, the jury heard more than
enough aggravating evidence to convict Rivera without Dr. Sachy’s
testimony. Thus, Rivera’s three arguments that counsel performed
deficiently in the trial phase by relying upon Dr. Sachy and not
Dr. Lisak and by not emphasizing Rivera’s bipolar disorder,
choosing instead to pursue the PET scan defense, fail, and Rivera
has not shown he was prejudiced by any supposed deficiency.

iii. Trial Counsel was not Ineffective During Penalty
Phase.

Rivera argues trial counsel’s performance in the sentencing
phase was deficient in the same ways it failed in the guilt phase.
As to trial counsel’s effectiveness during the sentencing phase,
the state habeas court found that trial counsel’s attempt to create
sympathy for Rivera while highlighting the good things he had done

and attempting to show that he was remorseful was a reasonable

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strategy. (Doc. 37-16, p. 72.) It noted the limitations placed
upon trial counsel by Rivera, and that, despite this, they
presented multiple witnesses. (Id. at 73.) It also noted trial
counsel informed the trial court they disagreed with Rivera’s
decision to testify during the sentencing phase of the trial, but
the trial court allowed Rivera to testify because “the law afforded
Petitioner the right to control his case.” (Id. at 75.) The state
habeas court then acknowledged trial counsel’s sentencing phase
closing arguments, where trial counsel argued to the jury they
should spare Rivera’s life. (Id. at 79.) The state habeas court
relied on the admonition that “[t]he fact that [Petitioner] and
his present counsel now disagree with the difficult decisions
regarding trial tactics and strategy made by trial counsel does
not require a finding that [Petitioner] received representation
amounting to ineffective assistance of counsel.” (Doc. 37-16, p.
71 (quoting Stewart v. State, 440 S.E.2d 452, 455-56 (Ga. 1994).
Presently, Rivera argues, given. trial counsel’s “descriptions
of [Rivera] as a psychopathic killer,” . . . “[t]hat the jury
nonetheless deliberated over sentence for over eight hours is
astonishing.” (Doc. 142, p. 164.) However, that the jury
deliberated for so long is a testament to the difficulty of their
decision, given the complicated scientific evidence before them.
Moreover, the sanctity of their choice should not be questioned on

the unsupported grounds provided by Rivera herein, such as the

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elusive child abuse or Rivera’s bipolar disorder (which was
presented). During sentencing, trial counsel sought to show Rivera
was human, and he had children (doc. 30-6, p. 21) and redeemable
qualities, such as his intelligence and acumen for poetry (doc.
30-6, p. 208). His sister’s testimony attempted to garner sympathy
for Rivera’s childhood. She testified about their father and his
pornographic magazines, how he once became incapacitated due to
“pills,” his big ego, his penchant for humiliating people “with
his mind,” and his gambling addiction. (Doc. 30-6, pp. 49-52.)
She said he was verbally abusive but overall, she said her
childhood was “normal.” (Id. at 49-53.) She testified as to
Rivera’s relationship with his children, which she described as
“very, very sweet, more than sweet.” (Id. at 56.)

In an apparent attempt to dispel concerns from the guilt
phase, and against trial counsel’s advice, Rivera testified in a
rambling soliloquy about how everyone involved was attempting to
manipulate the jury, not just him. (Doc. 30-6, p. 123.) (“My
lawyers have been trying to manipulate the trial throughout
the whole trial.”); id. (“And I have, also. Everybody has.”) He
asked the jury to give him the death penalty, opined about the
state’s expert witness’s expertise, and claimed that he still
fantasized about hurting people. (Id. at 125-30.) He warned “if
[he] got life without the possibility [] and five, ten years down

the road my slickness—all of a sudden I change[] my mind, and I

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start thinking well, hold on a second, I think, I think I’m tired
of being in prison, I think I’m going to get myself some slick
lawyer and try to get it changed and get an appeal.” (Id. at 128-
29.) Then, Rivera’s emergency doctor testified as to his attempt
to commit suicide, (id. at 133-36), as well as the investigator
who found him just after he did so, (id. at 137-47.) Whether or
not the jury believed him and the witnesses regarding Rivera’s
inner conflict, this portion of testimony was obviously intended
to indicate Rivera was contrite and alarmed by his own impulses,
that he was not an oblivious monster.

The next witnesses testified Rivera tried to seek help just
after he murdered Tiffany Wilson. Matthew Ciechan, M.D. testified
that on December 6, 1999, Rivera sought his assistance with sex
addiction, but he also noted Rivera never followed up on his
treatment. (Id. at 147-50.) On cross-examination, he was asked
whether Rivera admitted he “raped, sodomized, and murdered Tiffany
Wilson in Aiken County” two days prior to his appointment with Dr.
Ciechan, and Dr. Ciechan responded he did not. (Id. at 151.)
Similarly, Steve Hartman, a pastor, testified Rivera sought his
assistance in the same month. (Id. at 152-59.) Rivera was
concerned with whether he would be forgiven for sexual addiction.
(Id. at 156.) Pastor Hartman noted Rivera had to make a phone
call during their conversation, and Rivera abruptly went from being

distraught to “casual and normal,” even “joking.” (Id. at 158.)

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When Pastor Hartman followed up a few weeks later, Rivera responded
he was doing well. (Id. ) Finally, Dr. Pino’s testimony that
Rivera willingly participated in an anonymous research study on
homicides conveyed Rivera wished to offer more understanding to
society as a whole and he sought no fame from his deeds. (Id. at
164-65.)

The Court agrees with the state habeas court; trial counsel
did not perform deficiently in the sentencing phase. Trial counsel
did what they could with what Rivera allowed them to present, and
it was impactful, as indicated by the eight-hour jury deliberation.
Moreover, Rivera did not show he was prejudiced by trial counsel’s
supposed deficiency in the sentencing phase. As noted above, when
assessing prejudice in the capital sentence context, “the question
is whether there is a reasonable probability that, absent the
errors, the sentencer—including an appellate court, to the extent
it independently reweighs evidence—would have concluded that the
“balance of aggravating and mitigating circumstances did not
warrant death.” Strickland, 466 U.S. at 695. In determining
whether there is a reasonable probability of a different result,
a court must “consider ‘the totality of the available mitigation
evidence-both that adduced at trial, and the evidence adduced in
the habeas proceeding’—and ‘reweig[h] it against the evidence in

aggravation.’” Porter v. McCollum, 558 U.S. 30, 41 (2009) (quoting

Williams v. Taylor, 529 U.S. at 397-98).

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The state habeas court properly followed this law when it
found “with no evidence to support his allegations of sexual abuse,
besides mere conjecture and speculation, and additional mental
health opinions, mostly consistent with those presented at trial,
it is not reasonably likely that the jury would have returned a
different verdict as to [the] sentence had Petitioner presented
the weak evidence that he presented in the habeas hearing.” (See
doc. 37-16, p. 81 (acknowledging “[a] verdict ‘with overwhelming
record support’ is less likely to have been affected by errors
than one ‘only weakly supported’ by the record.”) (quoting
Strickland, 466 U.S. at 696)). And, while prejudice can indeed be
proven if “there is a reasonable probability that at least one

juror would have struck a different balance,” see Wiggins v. Smith,

539 U.S. 510, 537 (2003), the state habeas court reasonably
concluded that no juror would have been swayed by Dr. Lisak’s weak
testimony.

Rivera simply cannot show “no fairminded jurist” would have
done as the state habeas court did in denying his claim. See

Raulerson, 928 F.3d at 995-96 (quotation omitted); see also Morrow

v. Warden, 886 F.3d 1138, 1152 (llth Cir. 2018) (holding state
court “reasonably concluded” petitioner's “new evidence would not
have shifted ‘the balance of aggravating and mitigating
circumstances’”) (citation omitted). In addition, “because the

Strickland standard is a general standard, a state court has even

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more latitude to reasonably determine a defendant has not satisfied
that standard.” Knowles v. Mirzayance, 556 U.S. 111, 123 (2009);
see also Renico, 559 U.S. at 776, (“Because AEDPA authorizes
federal courts to grant relief only when state courts act
unreasonably, it follows that ‘[t]he more general the rule’ at
issue—and thus the greater the potential for reasoned disagreement
among fair-minded judges—‘the more leeway [state] courts have in
reaching outcomes in case-by-case determinations.’” (quoting
Yarborough, 541 U.S. at 664)). Therefore, in giving the state
habeas court its due latitude, the Court must defer to its
decision.

After considering the evidence presented throughout the
record, this Court finds Rivera was not prejudiced in the
sentencing phase. The jury sentenced Rivera to death based on
finding him guilty of brutally murdering, sodomizing, raping, and
assaulting Marni Glista, as well as committing heinous crimes
against three other women. (Doc. 29-1, pp- 11-19.) The scant
habeas evidence that Rivera might have been in the proximity of
abusers while in school (doc. 31-28, pp. 81-85) and the cumulative
evidence that he is bipolar, when weighed against Rivera’s own
denial of abuse, confessions and detailed descriptions of crimes,
the testimony of a surviving victim and family members, and
aggravating similar transaction evidence, simply do not create a

“substantial” likelihood of a different result. Harrington, 562

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U.S. at 112 (“The likelihood of a different result must be
substantial, not just conceivable.”). Rivera’s Claim l(a), that
trial counsel conducted an inadequate investigation into Rivera’s
mental health and misused the experts upon which they relied
regarding his mental health and then presented an incoherent
defense fails and so is DENIED.

E. Respondent Did Not Waive the Exhaustion Defense to Claims

1((b), (c), (e), or (g) by Merely Listing Claims in Its

Answer as Properly Before The Court

Rivera asserts other various ineffective counsel claims in
Claim One, and some of them were not exhausted. Respondent’s
operative and most recent Answer, (doc. 42), contains a section
entitied “Claims Properly Before this Court for Review,” with the
subtitle “Allegations of this Petition that are Reviewable Under
§ 2254(d),” under which many of Rivera’s ineffective counsel
assertions are listed. (See doc. 42, p. 19 (“aa) trial counsel
failed to fully litigate a motion for change of venue and failed
to protect Petitioner’s right to be tried in an impartial forum.”);

see also id. (“bb) trial counsel failed to demand and/or improperly

waived Petitioner’s right to demand that the jurors be sequestered
and sheltered from press coverage of the trial”); id. at 18; (“q)
“trial counsel failed adequately to litigate the suppression of

Petitioner’s pretrial statements to police;”); (“w) trial counsel

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failed to make adequate or timely objections to the prosecutor

-“); and (“x) trial counsel failed to object to improper and
prejudicial mischaracterizations of evidence.”).)? Upon this
Court’s Order to brief “procedural default, exhaustion and the
merits of the claims before the Court,” (doc. 107), the parties
briefed their assertions and defenses. In his responsive brief,
Respondent argued certain ineffective counsel claims were not
exhausted, including many listed under the section of its Answer
entitled “properly before the court.” (See doc. 145, pp. 208-15,
226-28.) Rivera replied that Respondent waived the exhaustion
argument in his Answers by placing them within a section purporting
to list claims properly before the Court. (See doc. 150, pp. 51-
52.)

The Court directed further briefing as to the claim trial
counsel failed to object to inappropriate comments by the
prosecutor. (Doc. 157.) The Court noted (1) Respondent only
asserted failure to exhaust and did not argue the merits of this
claims; and (2) Rivera did not fully brief whether the Court should
excuse the alleged failure to exhaust but instead relied only upon
their waiver argument. (Id. at 1-2.) Briefing ensued as to that

single claim, and Rivera re-asserted his argument that, by

including the claim in a section purporting to list claims as

7 The above is similarly stated in the corresponding section of Respondent's
Answer to the Original Writ. (Doc. 28 at 19.)

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properly before this Court for review, Respondent expressly waived
the exhaustion defense as to all Rivera’s ineffective assistance
claims. (Doc. 158, pp. 5-6.) Respondent argued the general
claims asserted in Rivera’s state habeas petition and re-alleged
in the federal petition are distinct from those asserted in the
briefing, and therefore, it never waived exhaustion as to the claim
presently at issue. (See doc. 159, 5-6.) Before the Court reaches
the issue of whether Rivera has exhausted these claims and whether
the Respondent waived its argument that Rivera failed to exhaust
these claims, a discussion of waiver in the § 2254 context is
necessary.

Rivera’s initial argument that Respondent waived the
exhaustion defense primarily relies on an Eleventh Circuit opinion
incorporating law which predates AEDPA. (Doc. 150, p. 52 (citing

King v. Chase, 384 F. App’x 972, 974 (llth Cir. 2010) (unpublished)

(“[T]he state either may waive exhaustion expressly, or impliedly
by failing to raise the issue or arguing that exhaustion would be

futile.”) (relying on Thompson v. Wainwright, 714 F.2d 1495, 1503-

04 (llth Cir. 1983)).) Prior to AEDPA’s enactment, the Eleventh
Circuit indeed held “the State may waive exhaustion either
expressly or impliedly,” but even then, a failure to initially

assert waiver appeared to be redeemable on appeal. Atkins v. Att’t

Gen. of State of Ala., 932 F.2d 1430, 1431 (llth Cir. 1991); see

also id. (explaining such waiver occurs “[w]lhen the State has not

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raised lack of exhaustion in the district court or on appeal”)
(emphasis added) (citations omitted).

Where AEDPA applies, though, states will not be deemed to
have waived the exhaustion requirement unless they indicate their

intention to waive the requirement expressly. See Kelley v. Sec’y

for Dep’t of Corr., 377 F.3d 1317, 1351 n. 33 (11th Cir. 2004)
(emphasis added) (citing 28 U.S.C. § 2254 (b)(3) (“A State shall
not be deemed to have waived the exhaustion requirement or be
estopped from reliance upon the requirement unless the State,
through counsel, expressly waives the requirement.”)). A
respondent properly waives its argument via its Response when it
does so in compliance with Rule 5 of the Rules Governing Section
2254 Cases in the United States District Courts. Rules Governing
Section 2254, Rule 5. In his supplemental reply brief, Rivera
claims Respondent “could not have steered this Court towards the
merits of these allegations much more explicitly,” but it certainly
did not state a waiver in terms compliant with Rule 5. (Doc. 160,
p. 8.)

In § 2254 cases, “[{t]he state’s waiver of exhaustion is, in
essence, a statement that the federal court’s entertainment of the
petitioner’s unexhausted claim will not offend any state interest,
or disserve the interests of comity and federalism, and that, as
a matter of justice, the claim should be heard and disposed of

forthwith and on the merits without further state court

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litigation.” Esslinger v. Davis, 44 F.3d 1515, 1525 (11th Cir.

1995). The Supreme Court has treated the forfeiture of affirmative
defenses such as this in § 2254 cases differently than other civil
cases because the habeas “exhaustion doctrine ... is founded on
concerns broader than those of the parties; in particular, the
doctrine fosters respectful, harmonious relations between the

state and federal judiciaries.” Wood v. Milyard, 566 U.S. 463,

A771 (2012). See, €.g., Granberry v. Greer, 481 U.S. 129, 133-34

(1987) (holding courts have discretion to consider nonexhaustion
argument inadvertently overlooked by State in district court and
instructing lower courts to consider “whether the interests of
comity and federalism will be better served by addressing the
merits forthwith or by requiring a series of additional state and
district court proceedings before reviewing the merits of the

petitioner’s claim.”); Day v. McDonough, 547 U.S. 198, 201-205

(2006) (holding “district courts are permitted, but not obliged,
to consider, sua sponte, the timeliness of a state prisoner’s
habeas petition” because AEDPA’s statute of limitations, like the
exhaustion doctrine, “implicate[s] values beyond the concerns of
the parties.”); see also Esslinger, 44 F.3d at 1524 (“But this is
a habeas corpus case, and in these cases circumstances may counsel
that the district court raise sua sponte a procedural bar to relief
that the state has ‘waived.’”).

The Supreme Court has clarified it would be “an abuse of

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discretion” for a court “to override a State’s deliberate waiver
of a limitations defense.” Day, 547 U.S., at 202 (emphasis added).

Further explanation through Wood v. Milyard elaborates. 566 U.S.

463, 466 (2012). There, the state “deliberately steered the
District Court away from the question and towards the merits of
Wood’s petition,” knowing it had an “arguable” statute of
limitations defense. Id. at 474. Yet it chose, “in no uncertain
terms, to refrain from interposing a timeliness ‘challenge’ to
Wood’s petition.” Id. In that case, the State twice informed the
district court that it “will not challenge, but [was] not
conceding” the timeliness of Wood’s petition. Id. The Supreme
Court found the Court of Appeals abused its discretion by sua
sponte considering the timeliness issue where there was a
“deliberate decision to proceed straightaway to the merits.” Id.
at 473. In other words, unless the waiver is deliberate, the Court
may sua sponte consider a procedural defense or even a belatedly

asserted defense. Kontrick v. Ryan, 540 U.S. 443, 458, n.13,

(2004) (quoting United States v. Olano, 507 U.S. 725, 733 (1993))

(“Waiver is the ‘intentional relinguishment or abandonment of a
known right.’”%)

Here, there is no indication the “state was aware of the
exhaustion arguments and communicated to the court its intention

not to pursue them.” Vazquez v. Sec’y, Fla. Dep’t of Corr., 827

F.3d 964, 967 (llth Cir. 2016). Instead, the state merely failed

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to place them in their proper delineated category as claims not
subject to merits review. A twice-made statement that a party
“will not challenge” (as in Wood), or a concession that claims
were “fairly presented to the state court and are exhausted” (as
in Vazquez), are hardly similar to listing a claim within a
subheading entitled “Claims Properly Before This Court for Review”
without explicit statement as to the status of exhaustion. But

see, Esslinger, 44 F.3d at 1520 (where Respondent claimed

“Petitioner has exhausted his State remedies for purposes of
federal habeas review and he has not procedurally defaulted on any
of his claims,” exhaustion defense was waived). Therefore,
Respondent here did not deliberately steer the Court toward the
merits of Rivera’s miscellaneous ineffective assistance claims in
the manner required to waive the exhaustion defense.

Respondent’s additional argument is that some of Rivera’s
claims are inherently different than the ones he brought in state
court and also different from those which he pleaded in. the Amended
Petition. In an instance much like the one before this Court, the

Eleventh Circuit in Kelley v. Sec’y for Dept. of Corrections, 377

F.3d 1317 (llth Cir. 2004) held that, where the petitioner's
federal habeas petition “assumed a strikingly different hue” from
the theories for relief asserted in his state petition, the claims
were unexhausted. Id. at 1348. There, Kelley’s state claims were

considered “broad” and concerned a generalized claim that counsel

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was ineffective for “failure to develop defense theories.” Id. at
1344-48 (“This ineffective assistance claim was not merely a
clarified rendition of an exhausted claim, but a new claim
altogether.”). Kelley’s federal petition expended almost
seventeen pages arguing a single point arguably within the confines
of that generalized claim, but the specifics of which went
unaddressed by the Florida courts. The Eleventh Circuit refused
to “recharacterize” the claim at the late hour because it would
“fundamentally alter the legal claim[s] already considered by the
state courts” such that [it] could not consider the restated claim

as exhausted. Id. at 1350 (citing Vasquez v. Hillery, 474 U.S.

254, 260 (1986). It further held “concerns for comity, judicial
efficiency, and fairness to the respondent preclude us from finding
that the ineffective assistance claim . . . was properly
exhausted.” Id. Contemporaneously, the Court rejected the
petitioner’s argument that the state waived the requirement of
exhaustion. Id.

Similarly, in this case, there are several instances where
Rivera has, through briefing, implicitly amended his own Petition
by broadening his claim to the extent it is either wholly new from
the claims presented to the Georgia courts or is simply violative
of the Rules Governing § 2254 cases, pleading standards, and the

applicable statutes. Accordingly, Respondent’s additional

argument that the claims are unexhausted not merely because they

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were not raised previously, but because they are new or
impermissibly broadened claims altogether, is convincing. (See
doc. 159, pp. 5-6.) Thus, acknowledging the federal court’s
interests in comity and federalism, the Court finds Respondent did
not waive the exhaustion defense, both because it has not done so
deliberately, and because Rivera has impermissibly attempted to
bring new claims in certain instances, as specified below.8
Kelley, 377 F.3d 1317. Rivera’s requested hearing on the issue is
unnecessary and therefore overruled. (See doc. 150, pp. 56-60.)

F. Rivera’s Miscellaneous Ineffective Assistance Claims Fail.

Upon this backdrop, and accepting Respondent’s exhaustion
defense, the Court addresses each of Rivera’s remaining
miscellaneous ineffective counsel claims in turn.

af Petitioner Failed to Exhaust Claims 1(b) and (c), and
They Were Properly and Reasonably Decided by the State
Habeas Court.

Rivera contends in Claim 1(b) that trial counsel was
ineffective in failing to fully litigate the change of venue
motion, and in 1(c) he claims their failure to pursue jury

sequestration was similarly ineffective. (Doc. 142, p. 165.)

Respondent argues Rivera failed to appeal these claims from the

8 In so holding, the Court is mindful of the factors discussed in Thompson v.
Wainright, which guide courts on whether to accept waivers. 714 F.2d at 1509
(holding district court in its discretion may either accept or reject an
exhaustion waiver as to one or more issues). That the Court may decline to
accept a waiver at all strengthens Respondent’s position, but the Thompson
factors are not in issue because there has been no express waiver in the first
place.

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state habeas court to the Georgia Supreme Court, and they are thus
unexhausted. In the alternate, Respondent asserts that, even
assuming the arguments were exhausted, the claims were properly
and reasonably decided by the state habeas court. (Doc. 145 p.,
211-215.) Rivera retorts that Respondent waived its procedural
default arguments in its answers to Rivera’s original and amended
petitions, and that he did exhaust. (See Doc. 150, p. 51 (citing
docs. 1, pp. 8-19; 28, pp. 15-20; 41, pp. 8-19, 42, pp. 16-21).)
In his Application to Expand the Georgia Supreme Court’s Prior
Grant of CPC to Appeal, Rivera included what Respondent references

as a “catch-all” footnote claiming to incorporate all his claims

raised in the state habeas court. (See doc. 38-22, p. 1, n.1.)
Tt was also present in Rivera’s original CPC Application. (Doc.
37-21, p. 4, n.1l.) The footnote contained in the Application to

Expand attempts to incorporate by reference Rivera’s state habeas
arguments into his expanded CPC appeal to the Georgia Supreme
Court, as well as his prior CPC arguments into the latter CPC
expansion. Respondent asserts that, pursuant to Georgia Supreme
Court Rule 22, titled “Briefs: Argument and Authority,”
allegations of error which are not supported by argument or
citation of authority are deemed abandoned, and therefore, the
footnote did not preserve the argument for exhaustion purposes.
(Doc. 145, pp. 42-46.)

First, the Court notes that:

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“the exhaustion doctrine requires a habeas applicant to
do more than scatter some makeshift needles in the

haystack of the state court record. The ground relied
upon must be presented face-up and squarely; the federal
question must be plainly defined. Oblique references

which hint that a theory may be lurking in the woodwork
will not turn the trick.”

Kelley, 377 F.3d at 1345 (quoting Martens v. Shannon, 836 F.2d

715, %717 (1st Cir. 1988; see also McNair v. Campbell, 416 F.3d

1291, 1302 (llth Cir. 2005) (“In order to be exhausted, a federal
claim must be fairly presented to the state courts.”). Thus, such
a catch-all footnote fails to properly present and clearly define
a claim for exhaustion purposes.

Second, Rivera’s arguments which rely upon Whatley v. Terry,

(see doc. 150, p. 54), for the premise that Rule 22 has no bearing
on “how CPC applications must be written” is inapposite. 668 S.E.
2d 6514, 664 (Ga. 2008). There, the Georgia Supreme Court
addressed claims not included in a CPC application, but which were
theoretically preserved in a footnote. Id. One of those preserved
claims was later fully briefed to the CPC appellate court, however,
and the CPC court addressed it, finding it meritless. Id. at 660-
61. All other claims emanating from the footnote were held to be
abandoned. Id. at 664. Rivera cites no instance where the claims
he seeks to put before the federal court were pursued in the same
manner, but he asserts the footnote alone constitutes exhaustion,
given the Whatley Court’s CPC review of the matters originally

asserted ina similar footnote which were later briefed. The fact

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that Rivera did not brief some of his claims at any stage of the
CPC process distinguishes this case from Whatley for exhaustion
purposes, notwithstanding the Whatley Court’s supposed passive
treatment of Rule 22 in the CPC context. This claim is unexhausted
and thus it is not properly before the Court. Pope v. Rich, 358
F.3d 852, 853 (llth Cir. 2004) (holding Georgia prisoner who did
not apply for certificate of probable cause to appeal failed to
exhaust state court remedies as required by § 2254(b)(1)); see

also O’Sullivan v. Boerckel, 526 U.S. 838, 845 (1999) (‘State

prisoners must give the state courts one full opportunity to
resolve any constitutional issues by invoking one complete round
of the State’s established appellate review process.”).
Respondent also prevails on the merits. See § 2254 (b) (2)
(“An application for a writ of habeas corpus may be denied on the
merits, notwithstanding the failure of the applicant to exhaust
the remedies available in the courts of the State.”); see also

Snowden v. Singletary, 135 F.3d 732, 736 (11th Cir. 1998) (holding

“when it is obvious that the unexhausted claims would be
procedurally barred in state court due to a state-law procedural
default, we can forego the needless “judicial ping-pong” and just
treat those claims now barred by state law as no basis for federal
habeas relief.”). Rivera asserts trial counsel was incompetent
because they “apparently labored under the misapprehension that

the only way to qualify for a change of venue was through evidence

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adduced about the jury pool during voir dire.” (Doc. 142, p. 267.)
He then asserts trial counsel was incompetent for failing to
request jury sequestration because jury sequestration is “the
default position in Georgia” in death penalty cases. (Id. at 178.)
He claims he was prejudiced by this incompetence, noting the “flood
of media coverage” which “deprived him of his right to an impartial
fact-finder.” (Id. at 171-77.)

However, because the court applies AEDPA deference, examining
this question on a direct Strickland test is improper. Instead,
the Court must determine whether the state habeas court’s
determination that trial counsel’s failure to pursue change of
venue and sequestration was effective assistance constituted a
reasonable application of law. Harrington, 562 U.S. at 105. The
question remains the same as the prior claim: whether there is any
“reasonable argument that counsel satisfied Strickland’s
deferential standard.” Id.

The state habeas court’s examination of these claims was
straightforward. (See doc. 37-16, pp. 28, 30.) It noted trial
counsel testified that, after conducting extensive research, they
determined they could not meet the legal threshold for a change of

venue, and thus there was no basis for the motion. (Id.; see also

doc. 29-4, pp. 41-47 & cont’d 29-5, pp. 1-6 (Motion for Change of
Venue filed 12/5/2000).) It then found, as to prejudice, “there

was no reasonable probability that a change of venue would have

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been granted ultimately resulting in a different outcome.” (Id. )
Likewise, as to the sequestration issue, the state habeas court
held, “counsel were not ineffective in failing to ensure that the
jury was sequestered during Petitioner’s capital trial.” (Doc.
37-16, p. 30.) Because it was Rivera’s decision not to sequester
the jury, the state habeas court found the trial court properly
abided by Georgia law, which allows even a death penalty defendant
to consent to a jury dispersing, foregoing sequestration. (Id.

(citing 0.C.G.A. § 15-12-142(a), Lamar v. State, 598 S.E.2d 488,

155-56 (Ga. 2004), and (Jones v. State, 256 S.E.2d 907, 911 (Ga.

1979)).) It also found Rivera failed to establish the jJury’s
decision in either phase of the trial was impacted by the exposure
to allegedly “pervasive pretrial publicity,” and that, “therefore,
Petitioner has failed to establish any deficiency on the part of
trial counsel or any prejudice for not having the jury
sequestered.” (Id. )

The state habeas court’s holding that trial counsel made a
strategic decision not to pursue the change of venue motion which
they believed to be meritless, based on their professional
judgement, constitutes a “reasonable argument that counsel

satisfied Strickland’s deferential standard.” Harrington, 562

U.S. at 105; see also Baldwin v. Johnson, 152 F.3d 1304, 1313 (11th

Cir. 1998) (where counsel made tactical decision not to pursue

change of venue, no deficient performance) (citing Strickland, 466

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U.S. at 681 (“[S]trategic choices must be respected . .. if they
are based on professional judgment.”)). Their professional
judgment is no less deserving of Strickland deference even
considering Rivera’s disagreement as to the best approach to
obtaining a change of venue. Moreover, as Respondent has noted,
Rivera failed to demonstrate he suffered any prejudice. Therefore,
the state habeas court’s finding of no prejudice was a reasonable
application of clearly established law which was determinative of
this Strickland claim. The Court defers to this reasonable
application of law and a reasonable interpretation of facts under
AEDPA and denies relief to him on that portion of Claim l(b) which
argued trial counsel was ineffective for failing to pursue a change
of venue motion.

Next, as the state habeas court pointed out, sequestration
can be waived by even a capital defendant. (Doc. 37-16, p. 30.)
During the discussion of sequestration, Rivera focused his
concerns on one juror, claiming “she was going to have an anxiety
attack” if she was not excused. (Doc. 29-24, p. 300.) He declined
to require the jury to sequester. (Id. at 299.) Therefore, the
state habeas court’s determination that trial counsel was not
ineffective in failing to request sequestration was reasonable,
both in its interpretation of facts and application of law. The
Court denies relief to him on that portion of Claim One arguing

trial counsel was ineffective for failing to pursue sequestration.

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Claims 1(b) and (c) are, therefore, DENIED.

ii. Rivera Did Not Properly Plead Claim 1(d) in His
Petition, He Failed to Exhaust It, and it Fails on
the Merits.

In claim 1(d), Rivera argues trial counsel was ineffective in
failing to object to repeated biased statements made before the
jury by the trial court judge. (Doc. 142, p. 179-184.) Respondent
counters this claim is not exhausted, and Rivera again argues that
Respondent waived the exhaustion argument. (Doc. 150, p. 51.;
Doc. 145, p. 228.) As explained below, the claim fails because
Rivera failed to assert it properly in the federal petition, the
claim is unexhausted, and the claim fails on the merits.

In his Amended Petition, Rivera asserted this claim within a
footnote to the underlying substantive claim alleging trial court
error. (See doc. 41, p. 34, n.10.) The footnote states “[t]o the
extent that prior counsel failed adequately to litigate and/or
make timely objections with regard to. the above-described claims,
or to raise them adequately . . . counsel rendered prejudicially

deficient performance.” ° (Id.) Rivera did not include elsewhere

within the Amended Petition a substantive, separate claim of

? Such a cursory inclusion by footnote hinders proper briefing of issues and
fails to allow the Court to fully consider the merits of claims alleged. See
Torres v. Goddard, 2008 WL 1817994, at *1 (D. Ariz. Apr. 22, 2008) (striking
footnete and holding “[i]lf an allegation bears an essential or important
relationship to the claim for relief, it warrants inclusion in the body of the
pleading”)

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ineffective assistance of counsel based on trial counsels’ failure

to object to trial court impropriety. (See generally doc. 41.)

When filing a petition pursuant to § 2254, “[h]jabeas
petitioners must meet heightened pleading requirements.”

McFarland v. Scott, 512 U.S. 849, 856, (1994) (citing Rules

Governing Section 2254, Rule 2(c)). Accordingly, “generalized

allegations are insufficient in habeas cases.” Hittson v. GDCP

Warden, 759 F.3d 1210, 1265 (lith Cir. 2014). Instead, petitioners
are required to “specify all the grounds for relief available to
the petitioner” and “state the facts supporting each ground” in
their petition. Rules Governing Section 2254, Rule 2(c); see also
28 U.S.C. § 2254. Petitioners must assert their grounds for relief
by substantially following the form appended to the Rules Governing
Section 2254 cases or a form prescribed by a local district rule.
Rules Governing Section 2254, Rule 2(d). In other words, habeas
petitions must contain “‘fact pleading’ as opposed to ‘notice
pleading.’” Borden v. Allen, 646 F.3d 785, 810 (11th Cir. 2011);

see also Arrington v. Warden, GDCP, 2017 WL 4079405, at *1 (S.D.

Ga. Sept. 14, 2017) (quoting Hittson, 759 F.3d at 1265 (same);
Fed. R. Civ. Proc. 8(a) (authorizing factual pleadings under
§S§ 2254 and 2255). Finally, as is often repeated by this Court,
“those who seek habeas relief cannot simply laundry-list their
claims and hope that the court will develop . . . them on their

behalf.” Jeffcoat v. Brown, 2014 WL 1319369, at *8 (S.D. Ga. Mar.

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27, 2014) (citing Holmes v. United States, 876 F.2d 1545, 1553

(lith Cir. 1989)).

Here, Petitioner’s claims were insufficiently pled.
Specifically, Rivera’s speculative allegation (that trial counsel
was ineffective for failing to object to the trial court’s
involvement) in his Amended Petition was conditional and vague,
(i.e., “to the extent that trial counsel failed to object ...”),
and it was not laid out as a separate ground in compliance with
Rule Z2(c) but was instead buried within a footnote among a 59-page
petition. (Doc. 41, p. 27). Therefore, it does not state any
facts supporting the ground and barely “specifies” the ground for
relief he seeks at all. Accordingly, this claim is insufficient,
based on the heightened pleading requirements of 28 U.S.C. § 2254
Rule 2(c) and based on the Eleventh Circuit’s interpretation of
Rule 2(c) in Hittson. 759 F.3d at 1265.

In addition, Rivera’s argument, even as insufficiently
articulated in the petition, fails because it is unexhausted and
no state court opinion is available to which the Court might defer.

See Gaylor v. Harrelson, 962 F. Supp. 1498, 1499 (N.D. Ga. 1997)

(“When read in conjunction with the exhaustion requirement
contained in § 2254 (b) (1) and the waiver requirement contained in
§ 2254 (bo) (3), § 2254 (b) (2) creates a confusing statutory
framework within which courts must consider habeas petitions

containing nonexhausted claims.”). Rivera claims Respondent

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waived its exhaustion argument but Respondent did not list this
claim within the section of his Answer entitled “Claims Properly
Before This Court for Review.” (See doc. 42, pp. 15-24.)
Therefore, there is no argument Respondent expressly waived the
exhaustion requirement of this claim. 28 U.S.C. § 2254 (b) (3).
Yet the Court nonetheless considers the merits. See 28 U.S.C.
§ 2254(b) (2) (“An application for a writ of habeas corpus may be
denied on the merits, notwithstanding the failure of the applicant
to exhaust the remedies available in the courts of the State.”)
In his argument supporting his ineffective assistance claim,
except for his title sentence to the section pertaining to this
argument, (see doc. 142, p. 179), Rivera omits argument relevant
to ineffective assistance. (See id. at 179-85.) He relies on
facts supporting the underlying trial court error, asserting
several instances of trial court impropriety. He claims the trial
court: directed Rivera’s sister-in-law to testify as to hearsay,
undertook its own examination of witnesses, interrupted defense
counsel to insinuate the anticipation of a penalty phase,
improperly questioned experts indicating the court’s disdain for
the questions posed by defense counsel, chastised counsel for
failing to ask experts questions about issues it deemed important,
and asked follow-up questions which clearly indicated the judge’s
own “biased” opinion of Rivera. (Doc. 142, p. 179 (citing docs.

29-27, pp. 162, 163; 29-28, pp. 149, 151-52; 29-29, pp. 12-13, 20-

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21, 25-26, 28-29, 39, 44-45, 49, 50, 52-53, 56, 67, 83, 108; 29-
30, pp. 61, 64, 68, 80, 90, 135, 136; 30-3, p. 62, 71, 112).).

Rivera claims this behavior indicated the court was patently
“not neutral” and likewise asserts the error is “structural in
nature and inherently prejudicial.” (See doc. 142, p. 184.)
Whether the trial court’s intervention was “inherently
prejudicial” is not the issue of concern on this ineffective
assistance claim. Instead, the relevant ineffective assistance
question at federal habeas review is whether trial counsels’
failure to object to the allegedly improper intervention
constituted prejudicially deficient performance. It is perfectly
clear Rivera has failed to state even a colorable claim on that
front. See Granberry, 481 U.S. at 134-35 (holding that, when
deciding whether court may deny an unexhausted petition on merits,
pursuant to § 2254 (b) (2), test is whether it is “perfectly clear”
petitioner has failed to state “even a colorable” claim.)1°; 28
U.S.C. § 2254 (b) (2).

Petitioners must argue their claims. Fils v. City of

Aventura, 647 F.3d 1272, 1284 (11th Cir.2011) (“district courts
cannot concoct or resurrect arguments neither made nor advanced by
parties.”). Overlooking Rivera’s oversight in articulating this

claim is inappropriate, and for good reason. On Strickland’s

10 But see 28 U.S.C. § 2254 (b) (3), overruling Granberry to the extent that the
State no longer may be deemed to impliedly waive the exhaustion requirement.
Passage quoted remains binding as incorporated into § 2254 (b) (2).

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performance prong, “a court must indulge a strong presumption that
counsel’s conduct falls within the wide range of reasonable
professional assistance; that is, the defendant must overcome the
presumption that, under the circumstances, the challenged action
‘might be considered sound trial strategy.’” Strickland, 466 U.S.
at 689 (citing Michel v. Louisiana, 350 U.S. 91, 101 (1955); accord
Williams v. Head, 185 F.3d at 1227-28 (presuming counsel rendered
effective assistance). “Counsel's competence .. . is presumed,
and the [petitioner] must rebut this presumption by proving that
his attorney’s representation was unreasonable under prevailing
professional norms and that the challenged action was not sound

strategy.” Kimmelman v. Morrison, 477 U.S. 365 (1986) (emphasis

added) (citations omitted). Here, because Rivera has failed to
articulate his ineffective assistance claim, there is no direction
to the record provided from which the Court may assess the
propriety of counsel’s failure to object to the trial judge’s
statements. “An ambiguous or silent record is not sufficient to
disprove the strong and continuing presumption.” Chandler, 218
F.3d at 1314-15 n.15.

Furthermore, even if some attorneys may have pushed back on
the judge’s alleged behavior, hindsight is not permitted here.

See Strickland, 466 U.S. at 689. There are a multitude of reasons

why trial counsel might have withheld objections at every comment

and choosing not to object and fight the trial judge at every turn,

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as objecting risks jury umbrage and judicial impatience. Moreover,
because the record is incomplete or unclear about trial counsel’s
reasons for failing to object, the Court must presume trial counsel
exercised reasonable professional judgment in not making some
overarching objection which would have sought curation in a

holistic way. Williams v. Head, 185 F.3d at 1228. Trial counsel’s

decision not to object is not a choice no competent counsel would
have made but instead falls within “the wide range of
professionally competent assistance [passing] constitutional

muster.” Philmore v. McNeil, 575 F.3d 1251, 1260 (11th Cir. 2009);

Brewster v. Hetzel, 913 F.3d 1042, 1057 (llth Cir. 2019) (“The

failure to make every valid objection . . . will not necessarily
take counsel’s performance ‘outside the wide range of
professionally competent assistance,’ which is the scope of
permissible performance.”)

Similarly, the Court finds no reason to assume Rivera was
prejudiced by his counsel’s failure to object to the trial judge’s
comments. Rivera cannot and did not show any objection would have
been successful. Moreover, Rivera has directed the Court to no
instances when the trial judge’s comments and behavior led to
evidence, impressions of witnesses, or information regarding the
penalty phase being admitted where it would not have been
otherwise. Specifically, as to his claim the judge improperly

insinuated a penalty phase would ensue, given Rivera’s confessions

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and guilty-but-mentally-ill defense, a penalty phase portion was
assumed. Additionally, even conceding hearsay was elicited on the
trial judge’s insistence, or that the jury noticed any supposed
disdain for questions and strategy posed by defense counsel or
supposed bias against Rivera, considering the avalanche of
evidence against Rivera which had nothing to do with the trial
judge’s behavior, Rivera simply cannot show he was prejudiced by
his counsel’s failure to object to the trial judge.?!!

Therefore, the Court DENIES relief to him on Claim 1(d)
because it is insufficiently pled, unexhausted, and on the merits,
it lacks factual support.

iii. Claim 1(e) Is Not Exhausted, and to the Extent It Was
Properly Pleaded, It Fails on the Merits.

Next, in Claim l(e), Rivera argues trial counsel failed to
object to the prosecution’s improper comments, made both in the
guilt and sentencing phase of the trial. During the guilt phase,
the prosecutor suggested Rivera entered Marni Glista’s home
covertly and not after convincing her to pose for explicit photos,
citing untrue descriptions of evidence such as the location of
lingerie found at the scene. (Doc. 142 at 186-88 (citing doc. 30-

4, pp- 186-87) .) Rivera contends the prosecutor made a similar

1l To the extent Rivera sought to allege trial court error on the basis of the
trial judge’s “excessive involvement,” he has not shown error that had “a
substantial and injurious effect or influence in determining the jury’s
verdict.” Brecht, 507 U.S. 619 at 623 (quotation marks and citations omitted).
Thus that claim fails as well.

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argument regarding Tiffaney Wilson, baselessly telling the jury it
was unlikely Wiison would have wanted to pose for photos after
having so recently given birth. (Id. (citing doc. 30-4, p. 182).)
Rivera also claims the prosecution “simply made up” a story Rivera
was seen chasing Wilson near the Welcome Center where Wilson’s
baby was found. (Id. at 188 (citing doc. 30-4, p. 183).). Rivera
next alleges the prosecutor improperly enlisted the community’s
interest in seeing Rivera convicted and misstated the law as to
burdens of proof. (Id., p. 190 (citing 30-4, pp. 188 & 196).)
Regarding the choice of penalty, the prosecutor made other

allegedly inappropriate comments, telling jurors “[a]s you speak

for the people of this community . . . let your verdict say this,
this is a case for the ultimate punishment of death.” (Doc. 142,
p. 190-191 (citing Doc. 30-7, p. 8).) Rivera claims the prosecutor

also argued the jury was not responsible for the death penalty by
encouraging them to “not be distracted by some suggestion that the
responsibility for the punishment for this defendant’s crimes lies
entirely and solely on anyone other than the killer.” (Doc. 142,
p. 191.) The prosecutor compared their role to that of a soldier
storming Normandy during World War II, (doc. 30-7, pp. 11-12), he
warned Rivera would kill again, (id. at 13), and he suggested only
the jury could prevent future murders by sentencing Rivera to
death, (id. at 21). Rivera asserts trial counsel’s failure to

object to these statements constituted deficient performance. As

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to prejudice, Rivera claims “considering the length of time Mr.
Rivera’s jury deliberated, there is a reasonable likelihood that
Mr. Rivera would not have received the death penalty had counsel
objected to the prosecutor’s improper remarks and sought curative
action by the trial court.” (Doc. 142, p. 196.)

Respondent initially countered only that Rivera failed to
exhaust this claim, and Rivera again replied that Respondent waived
its failure to exhaust argument. After the Court ordered
additional briefing, Respondent focused on the non-exhaustion
argument but also argued the merits failed under de novo review.

Relevant to this claim, Rivera asserted the following grounds
in his amended state habeas petition:

* Counsel failed to make adequate or timely objections

to the prosecutor’s injection of prejudicial hearsay

into cross-examination questions and in closing

argument, including but not limited to testimony

procured in violation of the federal and Georgia
constitutions; and failed to object to improper and
prejudicial comments and mischaracterization of evidence

at closing argument at the guilt-innocence and

sentencing phases of trial;

7 Counsel failed to adequately object to the

prosecutor’s use of impermissible inferences during

closing argument and failed to adequately argue any
motion for a mistrial.
(Doc. 31-4, p. 8.) However, while Rivera briefed the underlying
prosecutorial misconduct claim in his state habeas post-hearing

brief, he did not include mention of the parallel ineffectiveness

claim in his post hearing brief. (See generally doc. 37-8.) It

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was not adjudicated on the merits or otherwise by the state habeas
court. (See generally doc. 37-16.) As well, excepting his “catch-
all” footnote discussed above, Rivera failed to fully brief this
claim on CPC appeal to the Georgia Supreme Court after the state
habeas court issued its opinion, as noted in Respondent’s brief.
(Doc. 159, p. 4; see also doc. 37-21.) In his amended federal
petition, Rivera mimicked the language from grounds he had asserted
in his state petition, (see doc. 41, pp. 14-15), but the brief
expounds on this claim immensely. (See, e.g., doc. 142, p. 186-
96.)

Respondent argues the allegations contained in both the state
and federal petitions are generalized and do not provide factual
foundation, whereas the claims, as articulated in the federal
habeas briefing, are so specific and detailed as to constitute
distinct new claims altogether. (Doc. 159, pp. 4-7.) As the
current articulation is brought for the first time in briefing,
Respondent argues they are not only unexhausted but improperly
asserted. (Id.) Rivera does not address the discrepancy from the
petition to the brief, but places blame on Respondent for the lack
of state court disposition because Respondent drafted the state
habeas court opinion. (Doc. 160, p. 5.) Rivera also counters
that, to the extent the Court finds a lack of exhaustion, his state
habeas counsel was ineffective in failing to properly exhaust this

claim and thus cause exists to excuse the failure to exhaust.

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(Doc. 158, pp. 11-16.)

Rivera bore the burden to articulate this claim, i.e., exhaust
it, and his efforts to blame Respondent for his own failure fall
flat, notwithstanding its omission from the adopted order. The
Court finds it most notable that Rivera did not brief this claim
at the state habeas court post hearing briefing stage, meaning
this claim, for all intents and purposes, likely appeared abandoned
when the state habeas court ruled. Because of its omission from
the briefing, the state habeas court never had the opportunity to
address it as articulated herein, but only reviewed its simplistic

articulation in the state petition. See Jones v. Campbell, 436

F.3d 1285, 1304 (11th Cir. 2006) (explaining petitioner does not
fairly present claim to state courts by mentioning briefly in
filings, “noted the allegations in his introductory and conclusory
portions of his state appellate brief” but “d[oes] not raise it as

ut

a discrete claim,” and where “there is absolutely no discussion by
any state court of the allegation.”). In other words, Respondent’s
drafting of the state habeas order did not impede Rivera’s ability
to exhaust this claim.

Likewise, its omission from the final order was not appealed.
Given the lack of state court discussion, and further, the lack of

appeal on that apparent neglect, the claim is unexhausted. see

O’ Sullivan v. Boerckel, 526 U.S. 838, 845 (1999) (holding § 2254 (c)

requires state prisoner to present claims to state’s highest court,

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even if review is discretionary); see also Pope, 358 F.3d at 854
(holding Boerckel mandates Georgia petitioner fails to exhaust
state remedies by failing to petition Georgia Supreme Court for
certificate of probable cause to appeal denial of state habeas
petition); Cf., Johnson v. Alabama, 256 F.3d 1156, 1170 (11th Cir.
2001) (citing Hart v. Estelle, 634 F.2d 987, 989 (5th Cir. 1981)
(exhaustion of state remedies requirement not satisfied where
petitioner “technically asserted the same constitutional
deficiency and the same facts” in federal proceeding, but did so
“in support of a different legal theory”)).

In addition, even if the Court were to allow Rivera to

constructively amend his allegations to vastly broaden the scope

of this claim, it fails.!% See Kelley, 377 F.3d 1317. Petitioner

must establish his counsels’ failure to object resulted in
prejudice. Strickland, 466 U.S. at 687. The record shows Rivera
made his frustration about the misrepresentation of evidence
known, and his complaint was effectively overruled by the court.
(Doc. 30-5, pp. 11-16.) The trial court advised Rivera he would

have his own turn to correct the factual details of his actions to

12 Respondent’s supplemental brief, (doc. 159), offers additional support for
this finding as to the specific claim. Respondent appears to concede it did
not dispute the exhaustion efforts in its Answer/Response in compliance with
Rule 5, but he is careful to explain the reasoning and to distinguish the claim
asserted from the one briefed. (See doc. 159, p. 4 (“Because these general
subclaims were raised in Rivera’s state habeas petition and denied by the state
habeas court, Respondent had no choice but to state the general subclaims were
before this Court on the merits in his answer.”) (citing doc. 42-18, p. 19).)
Even after being given notice, (doc. 157) Rivera has failed to direct the Court
to his exhaustion of the specific claim before the Court.

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the jury if he wished. (Id. at 14-15.) As to the penalty phase
statements, at sentencing, trial counsel objected to many of the
statements now claimed to be improper by Rivera. (Doc. 30-7, pp.
14-15.) Specifically, after asking to confer outside the presence
of the jury, Johnson argued the prosecutor did not have evidence
suggesting future danger, and it was improper to suggest “there
will be no conditions of incarceration that will guarantee the
safety of those individuals who have the responsibility of guarding
him.” (Id. at 15.) Johnson complained the prosecutor asked the
jury to “imagine a scenario that is not before them as evidence.”
(Id.) After some discussion, the judge held the prosecutor was
required to restrict his argument to future danger to young women,
given Rivera’s own testimony he would kill young women like his
victims again. (Id. at 16.) In particular, Rivera’s testimony
had been that:

My ultimate purpose is to ask the jury to impose the

penalty of death: so that I. never have the slightest

chance, the slightest chance of ever being free again,

because I couldn’t stop before and I still can’t stop.

I just still fantasize about, about hurting people. I

fantasize about, I fantasize about still hurting the

same girls that I killed. That’s how disturbing it is.

I have fantasies about still killing them, not killing

them, but still doing things to them. It doesn’t stop.
Rivera, 647 S.E. at 78.

Johnson found the limitation insufficient and requested a

mistrial, but Rivera vehemently disagreed and revoked the motion.

(Doc. 30-7, p. 19.) The court then reminded trial counsel of his

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duty to observe and comply with Rivera’s “wishes and his control
of the case,” and therefore denied the motion. (Id. at 19-20.)
Even still, trial counsel was adamant, arguing Rivera had been
“denied his right to a fundamentally fair trial,” an objection
which the court found to be merely a suggestion and not the
position Rivera wished to take, and again denied. (Id. at 20.)
Hawk requested a curative instruction which was denied. (Id. )
The jury re-entered the courtroom and was confronted with the
question from the prosecutor of “whose daughter will it be next
time?” (Id. at 21.)

Finally, though his ineffective assistance claim was not
squarely presented in the state court system, Rivera did appeal
the underlying claim that the prosecutor made improper arguments.
Rivera, 647 S.E. 2d at 79. The Georgia Supreme Court did not find
the prosecutor’s statements improper, and further, it found that
even if. they were, there would be no reversible error because there
was no reasonable probability that it changed the result of the
trial. Id. at 79. It specifically noted Rivera’s own testimony
that he would not be able to stop killing. Id.

Therefore, Rivera’s claim fails for several reasons. First,
he has not given the state courts a fair opportunity to review
this claim. To the extent it was properly pleaded here, it was
unexhausted, and any attempt to return to the state court to review

it would result in a procedural default. See McNair, 416 F.3d at

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1305 (“It is well established that when a petitioner has failed to
exhaust his claim by failing to fairly present it to the state
courts and the state court remedy is no longer available, the
failure also constitutes a procedural bar.”). Second, and as is
specifically addressed below in Section VII pertaining to
effectiveness of habeas counsel, considering the denial of the
direct appeal on the underlying prosecutorial misconduct claim,
his habeas counsel could not have been deficient in failing to
argue a baseless claim that trial counsel failed to object to the
prosecutor. Therefore, habeas counsel’s allegedly deficient
performance cannot constitute cause to excuse the default. Third,
the Georgia Supreme Court finding there was no impropriety in the
prosecutorial statements means that even if he could excuse the
default, Rivera simply cannot prove he was prejudicially harmed by
any failure to object to statements which were not improper in the
first place. Rivera, 647 S.E.2d at 78-79. Fourth, his allegation
that no objection was made and had an objection been made, things
would have been different, is incorrect because objections were

made. See Zakrzewski v. McDonough, 455 F.3d 1254, 1260 (11th Cir.

2006) (Where attorney was “responsive to the identified
prosecutorial comments and objected and moved for a mistrial in
response to other closing argument,” movant failed to show
deficient performance). Finally, as the Georgia Supreme Court

held, Petitioner has failed to establish a reasonable probability

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the outcome would have been different in the absence of the
allegedly improper statements by the prosecutor. For all of these
reasons, the Court DENIES relief to Rivera on Claim li(e).

iv. The Court Defers to the State Habeas Court on Claim
1(f).

Rivera next asserts his attorneys were on notice he likely
suffered from bipolar disorder and were aware that treatment with
an anti-depressant medication alone could exacerbate his illness
and impact nis trial. (Doc. 142, pp. 196-203.) Further, Rivera
argues the fact that he was incorrectly medicated for depression,
when he actually suffered from bipolar disorder, endangered his
life on two occasions when he was incarcerated at the Richmond
County Jail. Rivera also complains about the cessation of all
medication for diagnostic purposes, which he alleges caused
similar problems. (Id. at 198.) Rivera ties these issues into an
ineffective assistance claim, arguing the lack of proper
medication negatively affected his state of mind and demeanor in
the courtroom, causing him to behave in a manner which led to his
conviction and sentence. (Id. at 197.) Rivera claims that at
trial, the prosecution cited a jail fight as evidence of future
dangerousness, (id. (citing doc. 30-7, p. 16)), that he became
unpredictable when questioned in Court and even attempted to
sabotage his defense (id. (citing docs. 31-32, p. 129; 30-5, p.

86-92)); and that, because of his medication, he was incompetent

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to make decisions regarding his representation, (id. at 200 (citing
doc. 30-5, pp. 97-98)). As support for claiming his attorneys
were on notice of a need for bipolar medication, Rivera cites to
Geral Blanchard’s report which warned that “if indeed the diagnosis
of Bipolar Disorder is correct,” his “manic episodes of
hypersexuality” would be triggered by a medication regimen lacking
a mood stabilizer. (See doc. 32-10, p. 112.)

The state habeas court’s reasoning on this issue was Rivera
voluntarily stopped taking his medication even though he was warned
of the side effects and he voluntarily hoarded pills to commit
self-harm. (Doc. 37-16, p. 31.) It therefore found Rivera failed
to prove how his own voluntary actions were evidence of deficient
performance. (Doc. 37-16, pp. 31-32.) As also argued by
Respondent, the state habeas court next found Rivera was being
medicated for his diagnosed mental health disorder, which, at that
time, was depression, and thus his attorneys were not deficient in
failing to change the medication. (Doc. 37-16, pp. 30-31.) This
Court agrees and notes Rivera’s own assertion Blanchard was merely
a “‘licensed counselor’ who lacked the qualifications to diagnose
or to prescribe medication,” such that counsel was ineffective in
relying on him to “prove diagnoses he was not professionally
competent to make.” (Doc. 142, p. 143, n.76.) In other words,
Rivera on one hand argues reliance upon Blanchard was ineffective

but on the other hand insists failing to rely on him was

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ineffective. For these reasons, the Court holds the state habeas
court’s finding Rivera failed to show deficient performance to be
a reasonable interpretation of facts and application of law. See
28 U.S.C. § 2254 (d).

The state habeas court secondly found Rivera failed to
establish prejudice. According to the state habeas court record,
Rivera exhibited similar behavior during the trial, when he was
not treated for bipolarism, as he did in the state habeas hearing,
when he was medicated. For example, the primary issue on remand
from the grant of CPC was to conduct a hearing on Rivera’s motions
to dismiss his counsel, proceed pro se, dismiss his habeas
petition, and waive future appeals. (Doc. 38-5, p. 1.) Even
though significant effort was made to ensure his competence, he
eventually withdrew his motion to waive his appeals and to proceed
pro se, suggesting his continued ambivalence even on “proper”
medication. (Doc. 38-16.) Accordingly, it appears that, with or
without what Rivera currently considers “effective” assistance in
the form of ensuring proper medication, Rivera’s ambivalent
courthouse behavior is unchanged, and he thus cannot establish
prejudice on this argument.

As to the application of law regarding the prejudice issue,
the state habeas court found the precedent relied upon by Rivera,

Head v. Taylor, distinguishable. 538 S.E.2d 416 (Ga. 2000)

(overruled on other grounds). (Doc. 37-16, po. 32.) In Taylor,

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the attorney failed to ensure his paranoid schizophrenic client
was medicated at all, and this failure resulted in the client
becoming delusional and uncooperative. Taylor, 538 S.E.2d at 424-
25. Those facts are indeed distinguishable for this very reason.
There is nothing in the record suggesting Rivera’s attorneys
omitted consideration of Rivera’s medication completely.
Accordingly, the Court does not find the state habeas court’s
decision to be an unreasonable application of clearly established
law and by deferring to that decision, DENIES relief on Claim 1(f£).

Vv. The Court Defers to the State Habeas Court on Claim
l(g).

After extensive hearings, the trial Court admitted statements
by Rivera confessing to the crimes charged and similar
transactions. (See, e.g., Docs. 35-7; 35-8; 36-1; 36-2; 36-3.)
Rivera argues that had trial counsel properly briefed and argued
this claim to the trial court, his statements would have been
suppressed. (Doc. 142, p. 203-205.) Moreover, he argues trial
counsel’s duty to investigate and argue a motion to suppress is
heightened where the defendant’s statements are the “only”
evidence of guilt. (See id.) His argument challenging the
lawfulness of the admission of the custodial statements was
rejected on appeal to the Georgia Supreme Court. Rivera, 647

S.E.2d at 75. The state habeas court held the underlying claim

that the trial court erred in admitting the statements was barred

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from review by res judicata, (doc. 37-16, p. 3), and further found
trial counsel was not ineffective in their challenge of the
admissibility of Rivera’s statements. (Doc. 37-16, pp. 29-30.)
Given the Georgia Supreme Court’s decision on the underlying
claim, the state habeas court’s holding as to the relevant
ineffective assistance claim is not an unreasonable application of
law. First, Rivera’s contention that counsel was “aware of
numerous constitutional problems with how law enforcement
extracted inculpatory information from Rivera,” (doc. 142, pp.
203-204), such as records from Rivera’s hospitalization prior to
his October 12th confession, (id. at 204), does not alone establish
deficient performance. To be clear, Rivera’s attorneys made the
argument; the allegedly inculpatory information extracted on
October 12th was, in fact, suppressed on trial counsel’s
insistence. (See doc. 29-14, pp. 182-186.) As to the other
custodial statements, Rivera appears primarily to lament trial
counsel’s failure to file any brief to accompany the hearing or
formally file a motion for suppression. (Doc. 142, pp. 46-47,

204-205.) However, trial counsel repeatedly objected and even

requested a mistrial after the October 26th recording was played

to the jury. (Doc. 29-30, pp. 224-25, 255 (Johnson restating his
objection that October 14th statement “was - by that initial
conversation . . .”%).) Rivera cites no case holding that failing

to file a brief accompanying oral argument in Georgia criminal

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courts constitutes deficient performance. Therefore, the state
habeas court’s finding Rivera failed to show his attorneys
performed deficiently was reasonable.

As to prejudice, Rivera asserts that “because there is a
reasonable probability that the trial court would have excluded
the statements had counsel briefed and argued the issue, the State
would have been unable to pursue the death penalty,” but this claim
is unsupported. (Doc. 142, p. 205.) Again, though they did not
apparently brief the argument,!? trial counsel did not fail to
argue for suppression. Moreover, as the state habeas court found,
the Georgia Supreme Court held the trial court committed no error
in failing to suppress the later confessions. This holding
mandated the state habeas court finding Rivera could not show
prejudice as to his trial attorneys’ failure to object to those
statements being introduced because they were lawfully admitted.
(See doc. 37-16, p. 30 (relying upon Rivera, 647 S.E.2d at 75-
77).) #=The Court does not find the state habeas court’s rejection
of this ineffective assistance claim on this basis to be an
unreasonable application of clearly established law. Therefore,
the Court defers to the state habeas court’s ruling and denies

relief as to Claim l(g). Consequently, as all subclaims fail,

13 According to transcripts from the hearings on the admissibility of the October
20th statement, Johnson requested and was given twenty days to file a brief
regarding the admittance of similar transaction evidence, but it is unclear
whether it was filed as ordered. (See doc. 36-3, p. 78.)

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Rivera’s ineffective assistance claim, Claim One is DENIED.
Vv. Rivera’s Custodial Statements

Rivera’s next several grounds for relief (Claims 2(a), 2(b),
and Claim 4(a)) involve the same facts. (Doc. 41, p. 23; Doc.
142, pp. 205-206.) Rivera claims investigators extracted an
involuntary statement from him on October 12th while he was semi-
conscious and then exploited the evidence gained by that extraction
to obtain subsequent “fruit of the poisonous tree” evidence in the
form of additional inculpatory statements which were unlawfully
admitted at trial. (Doc. 142, p. 206.) Thereafter, investigators
falsely testified they had not recorded the October 12th statement
and about his ability to comprehend waiving his rights on October
12th. According to Rivera, the recording of the October 12th
conversation, found years later, proves the perjurious testimony
was prejudicial because it proved the October 12th statement was
obtained unlawfully, and therefore should have been disclosed.
(Id. at 239.) To summarize the issue, Rivera argues the recording
constitutes Brady material which could have proven his Miranda
rights were violated, which would have led to suppression of
subsequent statements, and he claims there was perjurious
testimony and therefore his trial was fundamentally flawed.

A. Procedural History of Custodial Statements Claim

The trial court suppressed testimony about Rivera’s October

12th statement because it was taken several hours after he

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attempted suicide and while he was heavily sedated. (Doc. 29-14,
pp. 182-86.) The recording of this statement was unknown to the
Court and defense counsel at that time. A recording of Rivera’s
inculpatory statements made the next day, on October 13th, was
presented at trial to establish Rivera’s guilt for the rape and
murder of Marni Glista, the crime for which he received the death
penalty. (Docs. 29-29, po. 148, 154, 175-85; doc. 35-8, p. 132;
see also doc. 29-9, pp. 28-29.) He also made recorded inculpatory
statements on October 14th, 20th, and 26th primarily concerning
other attacks. (Docs. 36-3, pp. 43-74 (hearing on admissibility
of October 20th statement); 29-30, pp. 167-225 (October 26, at
trial); 256-77 (October 14, in part at trial); but see doc. 29-
30, p. 251.) Some of the recordings were used at trial for the
purposes of establishing evidence of similar transactions.

i. The Testimony at Issue

Before trial, the trial court held hearings to determine
whether Rivera’s custodial statements were admissible, including
whether to admit the investigators’ testimony about the details of
the October 12th interview, as it was not known then that a
recording existed. (Doc. 29-13.) Detective Bunton testified that
when he first spoke with Rivera on October 12th, he did not appear
confused, and claimed that though he was “somewhat groggy,” he
knew where he was and why. (Doc. 29-13, pp. 189-90.) He testified

that, though the investigators did not ask Rivera to sign anything,

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they advised him of his Miranda rights by reading them to him.
(Doc. 29-13, pp. 190-91.) He said Rivera acknowledged he
understood his rights. (Id. )

After the judge expressed some confusion regarding the dates
of events, the prosecuting attorney clarified that “[t/his
conversation, the first one, was not memorialized on tape.” (Id.
at 194.) Bunton did not disagree or correct her. (Id. ) Bunton

testified Rivera asked whether Chrisilee Barton had died, and then

described, in detail, the attacks on Barton and Marni Glista. (Id.
at 195.) Bunton testified that, at some point, Rivera said Barton
“put up a fight, not like Marni.” (Id., p- 195.) Bunton said

Rivera then confessed to murdering “a female by the name of

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Tiffany,” as well as a “Melissa.” (Id. ) According to Bunton,
Rivera was not coerced, he was not given any hope of benefit, and
it was his impression Rivera spoke voluntarily. (Id. at 198.)
After approximately 30 minutes, Rivera claimed he was tired, and
the interview was concluded. (Id. at 199.) Later, notwithstanding
his prior testimony about “Tiffany” and “Melissa,” Bunton
specified that until October 13th, Barton and Glista were the only
two victims that he and Roundtree were aware of in the state of

Georgia. (Id. at 202.) The pretrial hearing was continued because

the judge was unable to hear the October 13th recording and was

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therefore unable to determine whether it was admissible. (Id. at
214-15.)

Later, in the continued pretrial hearing, Rivera’s ER doctor
testified extensively as to his treatment and the “half-life” of

the medications received. (See, e.g. id. at 18.) She testified

she told Bunton that Rivera “didn’t appear to be sedated or
confused” prior to their conversation with him on the 13th, and
confirmed Rivera was not forced to speak with them. (Doc. 29-14,
p- 31.) Bunton then provided more context to the October 12th
interview, saying on that date and during the “oral interview that
Investigator Roundtree and [he] conducted,”1!4 Rivera “made a
comment, because he didn’t want her to live because Marni had lived
so long. And that was [their] first true correlation between the
homicide of Marni Glista and the attack on Chrislee Barton.” (Doc.
29-14, p. 167.)

Defense counsel, Johnson, then asked Bunton on cross, “[(tjell
me about the oral interview, how long did it last?” (Id.) Bunton

responded, “thirty to maybe forty minutes,” and he said Rivera was

“obviously somewhat medicated.” (Id.) Johnson asked, “[y]ou did
not obtain a written waiver on the 12th?” (Id. at 168.) Bunton
responded, “no, sir. We did not.” (Id.) When asked, “[a]nd

4 Because the other interviews had multiple additional investigators present
and were not believed to have been recorded, Bunton distinguished the October
12th interview from the others by noting that he and Roundtree were the only
ones present and references it as the “oral” interview.

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there’s no effort made to memorialize the conversation,” Bunton
answered, “[n]otes were made from that-hnandwritten notes were made
from the conversation on the 12th.” (Id. ) Bunton also said the
“details” Rivera gave regarding the Marni Glista’s attack were
divulged in the October 13th interview, but the “first reference
was on the 12th and it was very slight reference only the use of
the name and the one statement about how she had lived so long.”
(Id.) Based on the testimony of Bunton and Rivera’s treating
physician, the Court ruled the details regarding the October 12th
statement were not admissible but the other recordings were. (Td.
at 182-86.)

Detective Roundtree testified at trial instead of Bunton.
Roundtree agreed he and Officer Bunton spoke with Rivera for the
first time the afternoon of October 12th. (Doc. 29-29, p. 129.)
He testified he attempted to confirm Rivera was medically sound by
speaking with his doctors who “cleared” Rivera to speak with him.
(Id. at 130-31.) The Court then excused the jury so Johnson could
reiterate his objection to custodial statements being entered.
And though the questioning before the break referenced the October
12th interview, when questioning resumed, the topic moved quickly
and without explicit transition to the October 13th discussion.
(Id. at 138.) Specifically, Roundtree testified “before having

any conversation with the defendant in the hospital” he advised

him of his rights. (Id.) Then, evidence in the form of a “waiver

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of counsel form” from October 13th was submitted as an exhibit in
support of Rivera’s waiver of those rights. (See doc. 30-11, p.
70; see also doc. 30-12, p. 20.) It does not appear the jury heard
further testimony regarding the October 12th interview, but his
October 13th interview was then played to the jury. (Doc. 29-29,
pep. 148-200.)

The parties disagree what the October 12th recording proves.
Rivera quotes the transcript of the recording, which begins with
the question “[t]ell me about the other girl before Chris, Ray.
What was her name.” (Doc. 142, pp. 213-19 (quoting Doc. 32-1, p.
166).) Because it starts mid-conversation, the officers obviously
began recording after the interview had begun; there is no dispute

about that. No party attacks the investigators’ testimony about

whether Rivera was Mirandized based upon the content of the

recording. Instead, Rivera points to specific instances in the
discussion to argue he was coerced and/or waived his rights
involuntarily. He argues he was “highly impaired,” and points to
instances when Rivera could not answer questions effectively.
(Doc. 142, p. 212 (citing e.g., doc. 32-1, p. 166 (Rivera
repeatedly saying, “I’m trying to think right now”) and p. 173
(Rivera answering a question about a location with “it was a
holiday”)).) To support his coercion theory, Rivera also argues
he was highly suggestable, pointing to his confirmation the “other

girl before Chris” was named “Marni” only after suggestion by the

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investigators, (id. at 215 (citing doc. 32-1, p. 168), and the
investigators’ repeated corrections of Rivera’s statements, (id.
(citing doc. 32-1, pp. 171-73, 188)). He also points out
discrepancies between the testimony about what details were shared
in the interview as compared to the contents of the recording.
(Doc. 142, pp. 213-19.)

Respondent counters the recording supports the doctor’s
testimony Rivera was coherent. (Doc. 145, pp. 236-37.) Respondent
also argues “it does not read as if law enforcement were feeding
him answers. Rivera provided details about Glista that only the
attacker could have known-e.g. that her mattress was on the floor
and her husband was deployed to Kuwait.” (Id. at 237.) In any
event, the recording ends with Rivera stating, “I had sex with
her,” in response to the investigator’s question of “[t]lell me

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what you did with this Marni, Ray. (Doc. 32-1, p. 188.) Then
Rivera said, “I took her life” when the investigator asked, “what
else . . ..% (Id. at 189.) Whether the interview concluded in
this manner is not in dispute, and given this final statement, the
Court need not wade into whose interpretation is correct and

likewise does not make the associated credibility determination

regarding the investigator’s testimony. That issue is unnecessary

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to the more relevant inquiry of whether the recording constitutes
Brady material, as explained below.

ii. The State Court Holdings

On direct appeal to the Georgia Supreme Court, Rivera argued
the trial court erred in admitting into evidence the October 13th
statements, contending Rivera was still too incapacitated to waive
his Miranda rights on October 13th given his suicidal overdose on
October 12th and the resultant sedation. (Doc. 30-15, pp. 36-37.)
The Georgia Supreme Court rejected this argument. Rivera, 647
S.E.2d at 75. In the state habeas proceedings, Rivera’s petition
generally asserted in Claim Four “[t]Jhe trial court erred in
admitting Petitioner’s unconstitutionally obtained statements to
police,” but it did not limit the claim to specific statements.
(Doc. 31-4, p. 18.) At state habeas briefing, Rivera made specific
claims of prosecutorial and “other state agent” misconduct
regarding failure to disclose the newly discovered October 12th
audiotape and the resultant constitutional concerns. (Doc. 37-8,
pp. 113-41.) First, Rivera asserted the state failed to disclose
the recording in violation of Brady v. Maryland, 373 U.S. 83
(1963). (Id. at 113-26.) Second, Rivera contended the subsequent
October 13th, 14th, and 26th custodial statements should have been

suppressed pursuant to Wong Sun v. United States, as “fruit of the

poisonous tree” because they constituted evidence gained by

exploiting unlawfully obtained evidence. 371 U.S. 471, 487-88

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(1963). (See id. at 126-39.) Third, he claimed investigators
committed perjury in denying existence of the October 12th
recording and the knowing use of perjury resulted in a conviction

that was fundamentally unfair. (Doc. 37-8, pp. 123, 140 (citing,

inter alia, Napue, 360 U.S. at 269 and Giglio v. United States,

405 U.S. 150, 153 (1972)); see also doc. 36-1, p. 184.) As noted,
these are the claims Rivera asserts here. He does not reassert
his direct appeal claim that the October 13th statement was
obtained and then admitted unlawfully on the theory of continued
incapacitation.

The state habeas court first held that, as to the portions of
“Claim Four, wherein Petitioner allege[d] that the trial court
erred in admitting Petitioner’s statements to the police,” Rivera
was barred from relitigating them by res judicata. (Doc. 37-16,
p. 3 (Section entitled “Claims that are Res Judicata” (citing
Rivera, 647 S.E.2d at 75-76).)}5 Separately, the state habeas
court also found Rivera’s Brady claims, Napue claims, and Wong-
Sun allegations relevant to the “fruit of the poisonous tree” claim

were procedurally defaulted because Rivera had not raised those

15 Until now, the parties and the courts have not precisely identified the

statements. However, the Georgia Supreme Court’s direct appeal analysis was
obviously related to the October 13th statements and possibly the October 14th
statements. Given the direct appeal argument hinged on Rivera’s sedation, it

could not have applied to the October 26th statement, and the October 12th
recording had not yet been found by the filing of the direct appeal. The
October 20th recording appears to not have been presented to the jury.
Consequently, the state habeas court’s res judicata holding appears relevant to
the October 13th and 14th statements only.

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claims on direct appeal. (Doc. 37-16, pp. 7-13 (Section entitled
“Claims that are Procedurally Defaulted.”) .) The procedural
default was likewise not excusable because Rivera failed to show
actual prejudice, i.e., he failed to prove that the October 12th
statement was involuntary or illegally obtained, and even if he
had, “every subsequent confession was properly obtained and
voluntary, thus they were properly admitted.” (Id. at 10.) While
making its prejudice determination, the state habeas court
repeated its prior finding that the Georgia Supreme Court had
already specifically held the October 13th statements were
voluntarily made and thus, res judicata applied to limit its review
of the admission of those statements. (See id. (The state habeas
court holding it was “barred from reviewing a substantive claim
surrounding [‘*particularly the October 13’] statement under the
doctrine of res judicata.”); (see also doc. 142, pp. 226-27 (citing
docs 30-15, pp. 36-40 and 37-8, pp. 132-39).)

B. The State Procedural Bar Was Adequate but Not Independent.

The state habeas court held that the claims asserted herein
related to admission of the so-called “subsequent statements,”
i.é€., those statements Rivera argued were tainted, were
procedurally defaulted. (Doc. 37-16, p. 10.) When a state law
default prevents the state court from reaching the merits of a
federal claim, that claim ordinarily cannot be reviewed in federal

court. Wainwright v. Sykes, 433 U.S. 72, 87-88 (1977); Murray v.

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Carrier, 477 U.S. 478, 485-492 (1986). Consequently, the federal
court’s review is barred where “the state court correctly applie[d]
a procedural default principle of state law to arrive at the
conclusion that the petitioner’s federal claims [were] barred” in

state court. Owen v. Sec’y, Dept. of Corr., 568 F.3d 894, 908

(llth Cir. 2009) (quoting Bailey v. Nagle, 172 F.3d 1299, 1302
(lith Cir. 1999). The state law ground must be “independent of
the federal question and adequate to support the judgment.” Id.
(citing Jennings v. McDonough, 490 F.3d 1230, 1247-48 (11th Cir.
2007)).

The Eleventh Circuit has “established a three-part test to
determine when a state court’s procedural ruling constitutes an
independent and adequate state rule of decision.” Ward v. Hall,
992 F.3d 1144, 1156-57 (11th Cir. 2010) (quoting Judd v. Haley,
250 F.3d 1308, 1313 (11th Cir. 2001)). “First, the last state
court rendering a judgment in the case must clearly and expressly
state that it is relying on state procedural rules to resolve the
federal claim without reaching the merits of that claim.” Id.
Second, the state court’s decision must rest entirely on state law
grounds and not be intertwined with an interpretation of federal
law. Id. Third, the state procedural rule must be adequate, i.e.,

firmly established and regularly followed and not applied “in an

arbitrary or unprecedented fashion.” Id.; see also Lynd v. Terry,

470 F.3d 1308, 1313 n.4 (llth Cir. 2006).

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Rivera contends the state habeas court’s holding that he
procedurally defaulted his claims relevant to the custodial
statements was based on a ground that is not adequate to bar
federal review because it conflated the claim made on direct appeal
with the one asserted on collateral appeal. (Doc. 142, pp. 226-
27.) Thus, he seeks de novo review. (Id. at 227.) Contrary to
his assertions, however, the state habeas court merely mentioned
its previous res judicata holding on the October 13th Miranda issue
when it explained there was no prejudice to excuse procedural

default of the Brady, Napue, and newly asserted Fifth Amendment

claims concerning the subsequent custodial statements. (Doc. 37-
16, p. 10.) Thus, the state habeas court appropriately and clearly
held the subsequent statements claim was procedurally defaulted.
Ward, 592 F.3d at 1156-57. Therefore, the Court straightforwardly
addresses whether Georgia’s procedural default rule constitutes an
adequate state law ground, and then determines whether the state
habeas court’s decision was independent of federal law, i.e.,
whether it intertwined its holding “with an interpretation of
federal law.” Id.; Judd, 250 F.3d at 1313.
i. The State Procedural Bar Was Adequate.

Georgia’s procedural default rule has been firmly established
and consistently followed for years. Black v. Hardin, 366 S.E.2d
754, 755 (Ga. 1985) (holding defendant procedurally barred in

habeas from raising “any alleged error or deficiency” not timely

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objected to at trial or raised on appeal unless defendant can show
cause and actual prejudice to overcome default, or miscarriage of
justice would result if error not considered). Absent a showing
of cause and prejudice or a miscarriage of justice, habeas corpus
relief shall not be granted in connection with any claim not timely
raised in accordance with Georgia procedural rules. 0O.C.G.A. § 9-
14-48 (d); 0O.C.G.A. § 9-14-40; Chatman v. Mancill, 626 S.E.2d 102,
105 (Ga. 2006) (holding claim procedurally defaulted and cannot be
considered on merits if, as here, petitioner fails to raise it on
direct appeal). Thus, the state habeas decision employed an
adequate state procedural ground to deny Rivera’s habeas claim.
See Ward, 592 F.3d at 1175-76; O.C.G.A. § 9-14-48(d); Lynd, 470
F.3d at 1313-14 (concluding Georgia’s procedural default rule, as
stated in Black v. Hardin, provides adequate and independent state
law ground for denial of claim).
ii. State Holding Did Not Rest on Independent Grounds.

However, the determination a state court judgment rested on
an “adeguate” ground only resolves half the issue. The next
question is whether the decision rested on an “independent” ground.
A state court’s finding is considered independent if it is separate

and distinct from federal law. Ake v. Oklahoma, 470 U.S. 68, 75

(1985) (“{W]hen resolution of the state procedural law question
depends on a federal constitutional ruling, the state-law prong of

the court’s holding is not independent of federal law, and our

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jurisdiction is not precluded.”); Enterprise Irrigation District

v. Farmers Mutual Canal Co., 243 U.S. 157, 164 (1917) (“But where

the non-Federal ground is so interwoven with the other as not to
be an independent matter, or is not of sufficient breadth to
sustain the judgment without any decision of the other, our
Jurisdiction is plain.”). Here, the state habeas court not only
found the claims were procedurally defaulted; it also found Rivera
could not show cause and prejudice to overcome default. The state
habeas court examined the prejudice question within the same
context as Brady’s materiality element. (See doc. 37-16, p. 7
(“The analysis of whether there is sufficient prejudice to overcome
procedural default parallels the issue of Brady ‘materiality’

.“) (citing Strickler v. Greene, 527 U.S. 263, 282 (1999)).)

Indeed, conducting the prejudice analysis necessarily considers

the merits of materiality. See, e.g., Rossell v. Macon SP Warden,

2023 WL 34103, at *4 (11th Cir. Jan. 4, 2023) (unpublished); Banks
v. Dretke, 540 U.S. 668, 691 (2004) (quoting Strickler, 527 U.S.
at 281-282 (“[C]ause and prejudice” in this case “parallel two of
the three components of the alleged Brady violation itself.”).
Thus, in this manner, the state habeas court’s decision did not
rest entirely on state law grounds and was necessarily intertwined
with an interpretation of federal law. Ward, 592 F.3d at 1156-
57. (See doc. 37-16, pp. 10-13).

To that end, the state habeas court’s analysis was applied in

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a manner questioned by the Georgia Supreme Court on CPC. (Doc.
38-26.) The Georgia Supreme Court held the state habeas court
erred in analyzing Rivera’s Napue claim. (Id. (citing Trepal v.

Sec’y, Fla. Dep’t of Corr., 684 F.3d 1088, 1108 (lith Cir. 2012).)

It found the state habeas court misapplied the “coextensive”
analysis when considering the requisite prejudice to excuse the
procedural default of Rivera’s Napue claim. (See doc. 38-26

(citing Schofield v. Palmer, 621 S.E.2d 726, 730 (Ga. 2005))

(holding materiality and prejudice analyses for Brady
constitutional claims are “co-extensive”) and Trepal, 684 F.3d at
1108 (holding materiality hurdle is lower for Giglio claims than
Brady claims) .) However, after applying the “correct legal
principle,” the Georgia Supreme Court concluded “the false
testimony could not in any reasonable likelihood have affected the
judgment of the jury.” (Id. (citing Napue, 360 U.S. at 271).)
The petitioner in Trepal, relied upon by the Georgia Supreme

Court, sought § 2254 relief under Giglio v. United States, 405

U.S. 150 (1972), based on false testimony against him at trial.
Giglio, discussed in detail below, held that, where undisclosed
evidence reveals the prosecution knowingly made false statements
or introduced or allowed trial testimony that it knew or should
have known was false, the “due process requirements enunciated in
Napue and other cases” may require a new trial. Giglio, 405 U.S.

at 154. Accordingly, Trepal considered many of the Supreme Court

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cases implicated by Rivera’s custodial statements. See Trepal,
684 3d. 1088 (discussing Napue, 360 U.S. at 271, Brady v. Maryland,
373 U.S. 83 (1963), and Giglio, 405 U.S. 150). The Georgia Supreme
Court, in relying in part upon Trepal, thus also intertwined its
holding with federal law.

The holding of both state courts-that Rivera failed to show
cause and prejudice to excuse default of his constitutional claims—
depended on those courts’ federal law rulings regarding
“materiality” and consequently do not present an independent state
ground for the decisions rendered. Both state courts’ state law
holdings were undoubtedly “intertwined” with federal law, and thus
the Court is not barred from reviewing those claims. See, @6.g.,
Rossell, 2023 WL 34103, at *4; see also Ake, 470 U.S. at 75
(explaining where federal law holding is integral to state court’s
disposition, federal ruling on issue “is in no respect advisory.”)
Moreover, after the Georgia Supreme Court denied the CPC, the
Eleventh Circuit expounded upon certain distinctions relevant to

Giglio and Brady in the § 2254 context. See United States v.

Laines, 69 F.4th 1221, 1232 (llth Cir. 2023) relying on Smith v.

Sec’y, Dep’t of Corr., 572 F.3d 1327, 1342 n.9 (llth Cir. 2009)

(expressing doubt “that Brady applies outside the realm of
exculpatory evidence and extends to evidence useful to the defense
in a fruit-of-the-poisonous-tree quest”).

The Eleventh Circuit has deferred considering whether a

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finding of a procedural default on a Brady claim constitutes an
“adjudication” on the merits of that claim for AEDPA deference
purposes in the § 2254 scenario. See Rossell, 2023 WL 34103, at
*4) (declining to answer whether consideration of Brady claim in
process of adjudicating procedural default question necessitates
AEDPA review). This presents a “complicated” procedural question.

See Bass v. Dixon, 2024 WL 168300 (N.D. Fla. Jan. 16, 2024) (noting

thorny procedural default issues presented by “intertwined”
Claim.) To abbreviate the issue, the Court reviews the individual
custodial statement claims to determine whether the merits of those
claims fail, which necessarily also considers whether Rivera can
show cause and prejudice to excuse the procedural default of those

claims. Banks, 540 U.S. at 698; Dallas v. Warden, 964 F.3d 1285,

1307 n.4 (1ith Cir. 2020) (holding the court may “skip over the
difficult procedural default questions and cut to the heart of the
matter” where a claim “would fail on the merits in any event.”)

C. Admission of Subsequent Custodial’ Statements Was Proper

Under Oregon v. Elstad, and Claim 4(a) Fails.

The Court first examines whether the unsuppressed
“subsequent” statements from October 13th, 14th, and 26th were
introduced in violation of Miranda’s exclusionary rule as “fruit
of the poisonous tree” because most of the remaining prejudice
prong/materiality arguments asserted in Claims 2(a) and (b) hinge

on the legality of admitting these statements. (See doc. 142, pp.

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240-43 (generally arguing that had court heard October 12th
recording, subsequent statements would have been suppressed and
investigators’ testimony could have been impeached.).) Even
though the investigators testified Rivera’s October 12th
confession was warned, Rivera asserts it was coerced given his
incapacity, and the unlawfully obtained statement tainted the
subsequent statements. (Doc. 142, pp. 230, 234.)

There are two inquiries relevant to determining whether the
October 12th statement was obtained lawfully under Miranda: (1)
Rivera’s Miranda rights must have been voluntarily waived in the
sense it was induced without coercion; and (2) the statement must
have been made with full awareness both of the nature of the rights
being abandoned and the consequences of the decision to abandon

it. Moran v. Burbine, 475 U.S. 412, 421 (1986); Johnson v. 4Zerbst,

304 U.S. 458, 464 (1938). Rivera argues the officers “questioned
first and warned later,” (doc. 142, Pp. 223), without
straightforwardly disputing the investigators’ testimony they
warned Rivera in compliance with Miranda. Instead, Rivera argues
his first statement was “coerced,” and therefore “unwarned,” (doc.
142, pp. 228-30), because he was incapable of waiving his Miranda
rights on October 12th due to medical sedation. Thus, more
appropriately, the facts alleged indicate an issue with the second
prong, which implicates Rivera’s awareness of the rights being

waived. See Edwards v. Arizona, 451 U.S. 477, 484 (1981)

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(“[V]Joluntariness of . . . an admission on the one hand, and a
knowing and intelligent waiver on the other, are discrete

inguiries.”); Tague v. Louisiana, 444 U.S. 469 (1980) (where

confession was admitted without evidence defendant had knowingly

waived his rights, reversal); see also Miller v. Dugger, 838 F.2d

1530, 1539 (llth Cir. 1988) (discussing Supreme Court recognition
certain defendants may not make intelligent waiver, such as
juveniles, schizophrenics, and intellectually disabled).
Therefore, by arguing only that he was incapacitated, Rivera does
not support his contention he was “coerced” as understood by the

first prong. See United States v. Barbour, 70 F.3d 580, 585 (11th

Cir. 1995) (“The fact that a defendant suffers a mental disability
does not, by itself, render a waiver involuntary; there must be
coercion by an official actor.”). And he does not show he was
unwarned simply because he was sedated.

Rivera does not acknowledge the distinction between the two
Zerbst prongs or the incongruence with asserting that incapacity
is the same as unwarned. Consequently, none of the precedent
Rivera relies upon considers the effects of violating the “full
awareness” prong of a Miranda waiver, see Moran, 475 U.S. at 421,
upon a subsequent custodial statement. (See doc. 142, p. 228

(distinguishing Elstad v. Oregon, 470 U.S. 298, 310 (1985) from

Missouri v. Seibert, 542 U.S. 600 (2004).) Indeed, while

incapacity may result in finding a waiver was invalid, this is

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different than finding Rivera was unwarned. Elstad, 470 U.S. at
310 (“The failure of police to administer Miranda warnings does
not mean that the statements received have actually been coerced,
but only that courts will presume the privilege against compulsory
self-incrimination has not been intelligently exercised.”);
Miller, 838 F.2d at 1540 (reversing where “the trial court, without
giving Miller’s counsel the opportunity to argue that Miller’s
Miranda waiver was invalid, apparently assumed that voluntariness
and waiver constituted the same issue.”).

However, the Court assumes the initial conversation was
unwarned despite evidence to the contrary, including the officers’
uncontroverted testimony that on October 12th, they warned first,
interviewed Rivera for 20 to 30 minutes, and quit when Rivera told
them he was getting tired, and despite Rivera’s conflation of the
terms. (Doc. 29-13, pp. 194-99). Even assuming he was unwarned,
Rivera’s argument fails for the reasons explained by the state
habeas court.

In Oregon v. Elstad, 40 U.S. 298, officers served a warrant
for burglary on Elstad in the home where he lived with his parents.
Id. at 300. While sitting in the family living room, one of the
officers suggested Elstad was involved in the burglary, and Elstad
responded he was “there.” Id. at 301. Elstad was then transported
to the sheriff's headquarters where he was advised of his Miranda

rights for the first time. Id. Elstad waived those rights and

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confessed. Id. at 302. The Supreme Court considered the
admissibility of Elstad’s statements made subsequent to his
unwarned admission at home, first distinguishing the protections

guarded by the Fourth Amendment “fruits” doctrine from those

protected by the Fifth Amendment and, by extension Miranda. 470

U.S. 298 (1985); see also United States v. Street, 472 F.3d 1298

(lith Cir. 2006). The Court then set out the general rule that
existence of a pre-warning statement does not require suppression
of a post-warning statement that was knowingly and voluntarily
made. Elstad, 470 U.S. at 309. Absent deliberately coercive
tactics in obtaining the initial statement, courts are not to
presume existence of the earlier unwarned statement compelled the
defendant to give another one. Id. at 314. Instead, a “subsequent
administration of Miranda warnings to a suspect who has given a
voluntary but unwarned statement ordinarily should suffice to
remove the conditions that precluded admission of the earlier
statement.” Id. at 314.

Rivera argues the exception contained in Missouri v. Seibert,

542 U.S. 600 (2004) applies. Seibert’s exception considers a now-
defunct police tactic to withhold Miranda warnings until after the
interrogation succeeds in eliciting a confession. Id. at 613.
The Supreme Court admonished this practice because it undermines
Miranda by design, and the Court established a multi-factor test

to determine the effectiveness of Miranda warnings. Other than

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providing the relevant multi-factor test, Seibert’s holding is
inapposite. Id. at 617. Key to Seibert’s holding was the police
practice of using a defendant’s own unwarned incriminating
statements to pressure repetition of those statements in a warned

segment of an interrogation. United States v. Gonzalez-Lauzan,

437 F.3d 1128, 1137-38 (11th Cir. 2006). The Seibert interview

was continuous, “systematic, exhaustive, and managed with
psychological skill.” Seibert, 542 U.S. at 616.

Contrarily, in Elstad, the second phase, in-custody
questioning was seen as a distinct experience from a prior short
conversation at home, and thus the Miranda warnings “could have
made sense as presenting a genuine choice whether to follow up on
the earlier admission.” Id. Rivera’s interviews are clearly more

like the Elstad interviews. See Gonzalez-Lauzan, 437 F.3d at 1138.

Although the intervening circumstances do not exactly resemble
those in Elstad, they are no less impactful. Here, before the
officers approached Rivera again, they waited for Rivera’s

sedation to wane, see Barbour, 70 F.3d at 585 (holding defendant

was not impaired to understand Miranda rights despite use of
Lithium and Ativan), and after approaching him a second time, they
allowed him more time to consider the decision to confess. (Docs.
29-13, pp. 199-203; 29-29, pp. 141, 154-200.) Only after he called
his wife and then sought their Presence again (docs. 29-13, pp.

204-205; 29-29, p. 158), did the officers interview him on October

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13th, after Mirandizing him a second time that day, (see doc. 29-

29, pp. 160-163). See United States v. Rivers, 2021 WL 3864582,

at *12 (N.D. Ga. Aug. 10, 2021), report and recommendation adopted,

2021 WL 3861226 (N.D. Ga. Aug. 30, 2021) (attenuation between
surgical procedure and Miranda waiver undermines argument physical
ailments necessarily prevented voluntary statements). His October
13th interview provided separate incriminating facts. Gonzalez-
Lauren, 437 F.3d at 1138 (considering degree to which defendant’s
prewarning and post-warning statements overlapped or were
continuous). His third and fourth interviews were even more
attenuated in terms of sedation and distinctive from the first.
Rivera’s claims the initial statement was a “gateway” for law

enforcement to procure more statements fall flat. United States

v. Bayer, 331 U.S. 532, 540-41 (1947) (“[T]his Court has never
gone so far as to hold that making a confession under circumstances
which preclude its use, perpetually disables the confessor from
making a usable one after those conditions have been removed.”).
Even if the first statement was coerced or unintelligent, or even
unwarned, it was properly suppressed. Moreover, whether that
initial statement was made with full comprehension or not, Rivera’s
October 13th confession was “knowingly and voluntarily made.”
Elstad, 470 U.S. at 309. Specifically, by twice giving proper
Miranda warnings on October 13th, and by allowing Rivera to make

personal phone calls and alert the officers he was ready to

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confess, the officers “remove[d] the effect of any conditions
requiring suppression of the unwarned statement.” Id. at 314.
The remaining subsequent statements were also voluntarily provided
after considerable intervening circumstances, and thus were also
properly admitted under Elstad.

“[T]he Fifth Amendment privilege is not concerned ‘with moral
and psychological pressures to confess emanating from sources

us

other than official coercion,’ such as Rivera’s repeated
expressions of faith-based contrition. Connelly, 479 U.S. at 170
(quoting Elstad, 470 U.S. at 305). Therefore, Rivera’s argument
regarding admission of his subsequent statements fails because the

subsequent statements were legally admitted under Elstad.16

D. Undisclosed Evidence & Perjury Claims Asserted in Claims

Z2(a) and (b) Fail.

Rivera’s next argument relevant to the custodial statements
also concerns the October i2th recording, which Rivera argues

constitutes newly discovered Brady material. The recording was

16 To the extent a procedural default issue is implicated, belated discovery of
the tape does not impact Rivera’s “fruit of the poisonous tree” argument, the

facts of which were not only available at trial but were asserted therein. (See
doc. 29-14, p. 177 (Johnson arguing Rivera was sedated on October 12th and
stating, “now if we treat these interviews as they appear to be, as a

continuation of one following the other then if there is a problem with the
initial interview, then does not that problem infect the other conversations
.2?”); see also doc. 29-30, p. 255 (restating his objection).) Whether the
October 12th statement had been recorded or not, whether there was perjury or
not, the information that an attempt at an interview was made but terminated
due to incapacitation after some information was obtained, was known. (Id. )
Therefore, Rivera cannot show cause to excuse procedural default of this claim.
Moreover, the finding his claim is meritless precludes a prejudice argument.

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discovered in 2008 in Officer Roundtree’s home. (Doc. 32-19, pp.
li-15.) Because Officer Bunton testified the only memorialization
of this interview consisted of handwritten notes, Rivera argues
the pretrial hearing on admissibility of similar transaction
evidence-obtained and recorded via later interviews-was greatly
impacted. He also argues the failure to disclose existence of the
tape violated Rivera’s due process rights and deprived him of a
fair trial. (Doc. 142, p. 233.) Rivera did not bring this claim
on his direct appeal, but he did bring it at the state habeas court
upon the tape’s discovery. (Id. at 237.) After he sought a CPC
on the state habeas court’s finding this claim was procedurally
defaulted, the Georgia Supreme Court held the “false testimony” at
issue “could not in any reasonable likelihood have affected the
judgment of the jury,” and thus Rivera failed to establish the
requisite prejudice to establish his claim and to excuse procedural
default. (Doc. 38-26, p. 1 (citing Napue, 360 U.S. at 271).)

As the Georgia Supreme Court acknowledged, there are two
categories of Brady violations, each with its own standard for
determining whether undisclosed evidence is material and merits a
new trial. Id. The first category, a Giglio claim,!’ occurs where
undisclosed evidence reveals the prosecution knowingly made false

statements or introduced or allowed trial testimony it knew or

“ Although the parties and state courts refer to this claim as a “Napue claim,”
it is properly analyzed under Giglio, 405 U.S. 150

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should have known was false. United States v. Agurs, 427 U.S. 97,
103-04 (1976); Giglio, 405 U.S. at 153 (noting same rule applies
when “the State, although not soliciting false evidence, allows it
to go uncorrected when it appears.”) (internal quotation marks
omitted); United States v. Alzate, 47 F.3d 1103, 1110 (11th Cir.
1995) (Giglio rule applies to “explicit factual representations by
the prosecutor at a side bar and implicit factual representations
to the jury” while questioning a witness). Under this category of
Brady violations, the defendant is entitled to a new trial “if
there is any reasonable likelihood that the false testimony could
have affected the judgment of the jury.” Agurs, 427 U.S. at 103.
A Giglio claim is “an aggravated type of Brady violation” in which

the failure to disclose evidence enabled the state to. solicit or

fail to correct false evidence. Ford v. Hall, 546 F.3d 1326, 1332

(lith Cir. 2008).

The other category of Brady violations occurs when the
government conceals evidence favorable to the defense, although
the evidence does not involve false testimony or false statements
by the prosecution. The defendant is entitled to a new trial if
he establishes “there is a reasonable probability that, had the
evidence been disclosed to the defense, the result of the
proceeding would have been different.” Bagley, 473 U.S. at 682
(internal quotation marks omitted); see also Kyles v. Whitley, 514

U.S. 419, 433 (1995). The materiality burden is lower where a

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movant attempts to establish a Giglio violation than a Brady one.
See Trepal, 684 F.3d at 1108 (“The Brady materiality standard
requiring a reasonable probability of a different result “is
substantially more difficult for a defendant to meet than the
‘could have affected’ standard” under Giglio) (citing Alzate, 47
F.3d at 1109-10). “A ‘reasonable probability’ of a different
result exists when the government’s evidentiary suppressions,
viewed cumulatively, undermine confidence in the guilty verdict.”

See Smith v. Sec’y, Dep’t of Corr., 572 F.3d 1327, 1334 (11th Cir.

2009) (citing Kyles, 514 U.S. at 434, 436-37 n.10). Because of
this distinction, the Court will review these claims individually.

First, allegations relevant to the difference between the
content of the recording and the testimony from trial falsely
describing that recording (and denying its existence) implicate a
Giglio claim. Second, Rivera’s allegations that the very existence
of the recording violated his right to a fair trial consist of a
straightforward Brady violation, sometimes referred to as Bagley

violations or Brady/Bagley violations, after United States v.

Bagley, 473 U.S. 667 (1985).

Importantly, the Court’s prior holding on admissibility of
the subsequent statements mandates Rivera may not use the impact
of the admission of these statements to prove Brady materiality or
prejudice to overcome his default of any claim. As explained

below, this conclusion dispels his first argument regarding the

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pretrial hearing on admissibility of similar transaction evidence.
However, Rivera also argues the mere existence of undisclosed
evidence mandates a new trial. (See doc. 142, p. 231.) Therefore,
the Court must also determine whether the Giglio violation was
meaningful in terms of impeachment evidence-not only because it
would have provided argument as to the subsequent statements but
also because it would have diminished the investigator's
credibility and therefore weakened the state’s case overall. (See
doc. 142, p. 243 (“Bunton and Roundtree’s false testimony would
have undermined their credibility as witnesses.”).) It is a
question unaddressed by the state courts.
i. Rivera’s Brady/Bagley Claim 2(a) Fails.
The state habeas court previously found Rivera could not show

prejudice on his Brady claim because he did not prove the mere

fact that a recording of the October 12th statement existed was

exculpatory or material. (Doc. 37-16, p. 8). Under Brady,. 373
U.S. at 87, “the suppression by the prosecution of evidence
favorable to an accused . . . violates due process where the

evidence is material either to guilt or to punishment.” A Brady
violation has three components: “(1) The evidence at issue must be
favorable to the accused, either because it is exculpatory, or
because it is impeaching; (2) that evidence must have been
suppressed by the State, either willfully or inadvertently; and

(3) prejudice must have ensued.” Strickler, 527 U.S. at 281-82.

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(internal quotation marks omitted); see also Kyles, 514 U.S. at

433. As noted above, courts determine materiality by asking
whether “the government’s evidentiary suppressions, viewed
cumulatively, undermine confidence in the guilty verdict.” Smith,
572 F.3d at 1334 (citing Kyles, 514 U.S. at 434, 436-37 n. 10)
First, the recording does not constitute exculpatory
evidence. The recording does not appear to encompass the entire
conversation between investigators and Rivera, but the recording
clearly ends with Rivera saying, “I took her life,” and is
therefore inculpatory. (Doc. 32-1, p. 189.) Rivera is not
claiming the verdict would have been different had the jury known
there was a recording, or if they had heard the recording.
Instead, Rivera is arguing he was denied the opportunity to seek
exclusion of custodial statements, based on “fruit of the

poisonous tree quest.” Smith v. Sec’y, Dep’t of Corr., 572 F.3d

1327, 1342 n.9 (11th Cir. 2009). However, consistent with the
Eleventh Circuit’s direction, the Court concludes Brady does not
apply “outside the realm of exculpatory evidence and extends to
evidence useful to the defense in a fruit-of-the-poisonous-tree
quest.” Id.; see also Laines, 69 F. 4th at 1232. Even though the
tape is arguably favorable as impeachment evidence, this issue is
properly examined under Giglio or for the purposes of a cumulative
materiality review. Smith, 572 F.3d at 1345 (considering evidence

which it deemed “somewhat favorable” to the defense only in the

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cumulative materiality analysis).

Second, the next Brady element, whether the state failed to
disclose the evidence, is undeniable: this recording was removed
from evidence by Roundtree on October 16, 2000, provided to someone
at the Sheriff’s Office, returned to Roundtree, and then it
disappeared for years. (Doc. 32-19, pp. 11-12.) It was not
disclosed until 2008.

As to the third element, prejudice, Rivera attempts to route
all his prejudice arguments back to introduction of his subsequent
confessions, (see, €.g., doc. 142, p. 230 (“[S]ubsequent
statements should have been suppressed as “fruits of the poisonous

tree.”); see also id. at 241 (“[T]he false testimony was material

because it likely affected the trial judge’s decision concerning
the admissibility of Mr. Rivera’s statements.”); doc. 150, p. 66).
However, since the subsequent statements were properly admitted,
they cannot constitute the factual basis for Rivera’s Brady
prejudice prong argument. Even if this were a possible argument,
“such evidence is not ‘material either to guilt or to punishment’
as required under Brady.” haines, 69 F.4th at 1232 (quoting Brady,
373 U.S. at 87). Even if the recording proved the investigator
lied about the details of the October 12th conversation, there is
nothing about the recording which negates the case against Rivera.
see Sawyer v. Whitley, 505 U.S. 333, 349 (1992) (“[Ljatter-day

[Brady] evidence brought forward to impeach a prosecution witness

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will seldom, if ever, make a clear and convincing showing that no
reasonable juror would have believed the heart of [the witness’s]
account of petitioner’s actions.”).

Considering these truths, the Court finds no prejudice or
materiality as to the stand-alone Brady claim. The mere existence
of a concealed recording containing an unadmitted conversation
which was not exculpatory does not create a reasonable probability
Rivera would not have been convicted or received the death penalty.
Furthermore, to the extent Rivera was required to show cause and
prejudice at this stage under the procedural default rules, his
claims fail.

ii. Rivera’s Giglio & Perjury Allegations, Claim 2(b),
Fail Under Brecht Standard of Review.

Under Giglio, due process requires a new trial where “the
false testimony could in any reasonable likelihood have affected
the judgment of the jury.” 405 U.S. at 154. (ellipsis omitted);
see also Trepal, 684 F.3d at 1106. Rivera claims the materiality
bar is easily met because the recording “would have created doubt
about the voluntariness and reliability of Mr. Rivera’s subsequent
statements to law enforcement, which would have in turn affected
the jury’s verdict.” (Doc. 142, p. 241.) He also complains
“exposure of Bunton and Rountree’s false testimony would have
undermined their credibility.” (Id. at 243.)

The Court recognizes an investigator’s testimony is important

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in any criminal case, and when determining whether false testimony
could have affected the judgment of the jury under the lower Giglio
bar, the impact is usually meaningful. Napue, 360 U.S. at 269
(“The jury’s estimate of the truthfulness and reliability of a
given witness may well be determinative of guilt or innocence, and
it is upon such subtle factors as the possible interest of the
witness in testifying falsely that a defendant’s life or liberty
may depend.”). However, even accepting Rivera’s interpretation of
how the content of the recording contradicts the investigator’s
testimony, the impact of false testimony is meager in light of
Rivera’s other legally admitted confessions. Thus, in light of
other evidence presented, there is no reasonable likelihood that
exposing every discrepancy between the October 12th recording and
the investigator’s description of that conversation could have
affected the judgment of the jury.

Additionally, Rivera cannot overcome his burden under Brecht

v. Abrahamson, to obtain relief. 507 U.S. 619. Because of the

“[s]tates’ interest in finality,” the states’ “sovereignty over
criminal matters,” and the limitation of habeas relief to those
“grievously wronged,” the Supreme Court set forth in Brecht a
standard that is more favorable to and “less onerous” on the state,
and thus less favorable to the defendant, than that which applies

on direct review. Id. at 637; accord Fry v. Pliler, 551 U.S. 112,

117 (2007). A Giglio error constitutes a trial error and is not

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“structural” for purposes of habeas review, and thus is subject to
a harmless error analysis. Ventura v. Att’y Gen., Fla., 419 F.3d

1269, 1278, n.3 (llth Cir. 2005); see also Brecht, 507 U.S. at 629

(“Trial error occurs during the presentation of the case to the
jury, and is amenable to harmless-error analysis because it may
be quantitatively assessed in the context of other evidence
presented in order to determine the effect it had on the trial.”)
{quotation marks omitted). Therefore, even if the Court finds
Rivera successfully established a Giglio violation, the Court may
grant relief only if the error alleged had a “substantial and
injurious effect or influence in determining the jury’s verdict.”
Brecht, 507 U.S. at 637; Trepal, 684 F.3d at 1113 (considering

interplay between Brecht, Brady, and Giglio materiality standards

and noting Giglio’s more lenient materiality standard “leaves room
for the possibility that perjured testimony may be material under
Giglio but still harmless under Brecht); see also Davenport, 596
U.S. at 125 (same).

“To show prejudice under Brecht, there must be more than a
reasonable possibility that the error contributed to the
conviction or sentence.” Mansfield, 679 F.3d at 1313 (quoting

Mason v. Allen, 605 F.3d 1114, 1123 (ilth Cir. 2010)). Indeed,

the violation “is likely to be harmless under the Brecht standard
where there is significant corroborating evidence” ... “or where

other evidence of guilt is overwhelming.” Mansfield, 679 F.3d at

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1313 (citations omitted). To determine the effect on the verdict

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of a constitutional error, the Court must consider the error “in

relation to all else that happened” at trial. Kotteakos v. United

States, 328 U.S. 750, 764 (1946); see id. at 764-65 (The question
turns on whether the Court can “say, with fair assurance,” that
the verdict “was not substantially swayed by the error.”); see

also Al-Amin v. Warden Georgia Dep’t of Corr., 932 F.3d 1291, 1298-

99 (llth Cir. 2019) (“Under Brecht, we cannot grant habeas relief
unless we have ‘grave doubt’ that the constitutional error ‘had
substantial and injurious effect or influence in determining the
jury’s verdict.’”).

Because he has not shown “substantial and injurious effect or
influence in determining the jury’s verdict,” Rivera cannot
satisfy the Brecht prejudice standard. Brecht, 507 U.S. at 637.
The extensive details of Rivera’s crimes were repeatedly admitted
by Rivera. Those details were set out above to accentuate the
overwhelming evidence presented to the jury and to acknowledge the
difficult and likely unsettling work that underscored their
service. Given his own descriptions of his approach to women, his
properly admitted custodial statements, his promise to the jury of
future harm, victim testimony, and the other circumstantial
evidence at play (such as, inter alia, his wrestling and physical
prowess, pseudo-criminal background, the psychological analyses,

the suspicion of him by loved ones and a coworker, and the

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resemblance to the sketch artist’s rendering), the Court cannot
hold that the jury’s evaluation of the reliability of the
investigator was in any way determinative of or even influential
to, Rivera’s “life or liberty.” Napue, 360 U.S. at 269. In
addition, when considering the effect of this potential violation
“in relation to all else that happened” at trial, Kotteakos, 328
U.S. at 764, the Court holds that exposing discrepancies in the
investigator’s description of the October 12t. interview could not
have had a “substantial and injurious effect or influence in
determining the jury’s verdict” under Brecht’s more strenuous
standard. Al-Amin, 932 F.3d at 1298. Rivera simply has not met
this threshold and thus, even if he has established a Giglio
violation, this Court may not grant relief to him on this claim.?!®
Rivera’s prosecutorial and other state agent conduct Claims 2 (a)
and (b), as well as Claim 4(a), relevant to trial court error
regarding admission of custodial statements, are thus DENIED.
VI. Raght to Counsel at Trial

In Claim 4(b) Rivera contends he is entitled to a new trial

because the trial court “permitted him to effectively waive his

right to counsel without the court first ensuring that his waiver

18 For this reason, there is likewise no basis for finding a miscarriage of
justice. See Smith v. Murray, 477 U.S. 527, 538 (1986) (emphasizing miscarriage
of justice exception is concerned with actual as compared to legal innocence
and holding habeas petitioner failed to show actual innocence of death penalty
because “alleged constitutional error neither precluded the development of true
facts nor resulted in the admission of false ones”).

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was knowing, voluntary, and intelligent” in violation of his rights
to due process and effective assistance of counsel. (Doc. 142,
pp. 245-59.) The briefing summarizes two years of supposed
conflict between Rivera and his trial counsel, during which time
counsel expressed doubts as to Rivera’s competence given the
“inhumane jail conditions, combined with interruptions and changes
to Rivera’s psychotropic medications.” (Id. at 247.) According
to Rivera, the friction culminated when Rivera attempted to use
his testimony as an opportunity to present argument to the jury,
(doc. 30-3, pp. 135-36), refused to allow his attorney to move for
a mistrial, (doc. 30-7, p. 17), and sought to limit the mitigation
evidence, (doc. 30-6, p. i0-11). (See Doc. 142, pp. 248-252.) On
each occasion, Rivera told the court he did not wish to act as his
own counsel, but the judge required trial counsel to proceed under
Rivera’s direction against trial counsel’s objection. (Id. )
Rivera now claims such directives “exceeded that of an involved
and engaged client exercising his right to participate in his own
defense,” (doc. 142, p. 252), and thus resulted in him becoming a
pro se plaintiff without receiving the benefit of a Faretta

hearing. See Faretta v. California, 422 U.S. 806, 819 (1975).

On direct appeal, Rivera argued this self-representation
claim, asserting the trial court abused its discretion by sua
sponte forcing upon him “a form of hybrid representation in which

he represented himself as co-counsel” without making any inquiry

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as to whether he was competent to control his defense. Rivera,
647 S.E.2d at 77. In state habeas court, Rivera asserted his self-
representation claim again, (doc. 31-4, p. 19), but separately
claimed the trial court erred by failing to ensure a complete
transcript of the proceedings was transmitted to the Georgia
Supreme Court for direct appeal, (doc. 31-4, p. 20). The missing
record includes an exchange between Rivera and the trial judge
regarding Rivera’s decision not to submit mitigation evidence, and
his later “agreement” with his attorneys regarding the mitigation
phase. (See docs. 36-5, pp. 101-102; 30-6, pp. 7-8.)

As to transmission of the record, the state habeas court held
Rivera’s argument was procedurally defaulted. (Doc. 37-16, p. 6.)
It then determined it was either barred from reviewing the merits
of the self-representation claim by res judicata, or, even assuming
it was improperly considered because of the omitted portion of the
transcript, the self-representation claim was also procedurally
defaulted. (Doc. 37-16, pp. 14-17.) To come to its procedural
default holding on the self-representation claim, the state habeas
court reviewed the missing portions of the transcript and
determined Rivera could not show prejudice to excuse the default.
It found the missing portions simply reflected Rivera’s colloquy
with the trial judge wherein he affirmatively stated he did not
wish to proceed pro se or serve as co-counsel and the trial judge

reminded Rivera he was in charge of his defense. (Doc. 37-16, p.

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15 (quoting doc. 36-5, pp. 99-100, 104-105).) Thus, the state
habeas court held, “Petitioner failed to prove prejudice to
overcome this default as Petitioner failed to prove that he would
now prevail on his claim with the admission of the omitted
transcript.” (Id. at 14.) It further held the “missing portion
of the transcript serve[d] to reaffirm the Georgia Supreme Court’s
ruling by making clear that Petitioner was competent and did not
wish to represent himself . . . .” (Id. at 17.)

Presently, in Claim 4(b), Rivera argues his self-
representation claim, that his Sixth and Fourteenth Amendment
rights were violated because his waiver of his right to counsel
was “unknowing” and “involuntary.” (Doc. 142, p. 245.) Rivera
argues the trial court’s failure to conduct a Faretta inquiry prior
to “permitting Mr. Rivera to make legal decisions reserved for
counsel-namely, the decision on whether to move for a mistrial
based on egregious prosecutorial misconduct—resulted in a
violation of Mr. Rivera’s right to counsel, and warrants reversal.”
(Doc. 142, p. 255.) He also separately argues that because a
portion of the record was missing on direct appeal, the Georgia
Supreme Court’s decision on his self-representation claim-that
Rivera was both competent to control his own defense and no sua
sponte inguiry into his competency was required—was an
unreasonable determination of the facts. (Doc. 142, p. 258.)

Thus, he asks the Court to reject AEDPA deference on the claim.

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(Id. at 256.) In Claim 4(c), Rivera argues the trial court failed
to ensure a complete transcript of the proceedings was transmitted
to the Georgia Supreme Court for direct appeal, resulting in the
Georgia Supreme Court reviewing an incomplete record. Respondent
retorts the missing portion does not support Rivera’s self-
representation claim and fails to show the state court made an
unreasonable decision. (Doc. 145, pp. 252-261 (citing docs. 30-
5, p- 86; 36-5, pp. 101-102, 107-09; 30-6, pp. 7-8, 13-15).)
While claim 4(c) regarding the transcript is easily
dispelled, the Court is faced with two incongruent holdings from
the state habeas court on the  self-representation claim:
procedural default and res judicata. Nevertheless, the Court
addresses both holdings on that claim in its review. The Court’s
review of the state habeas court’s procedural default holding
implicates the analysis of whether the procedural bar was
independent and adequate to bar federal review, but the res
judicata holding requires the Court to determine whether deference
is owed to the Georgia Supreme Court “on its merits” determination.

Compare Owen, 568 F.3d 894 at 907-08 with 28 U.S.C. § 2254(d).

Moreover, Rivera’s argument that the Georgia Supreme Court
unreasonably interpreted the facts because of the transcript
omission, and the state habeas court accepted those same facts,
can only be effective in disputing the state habeas court’s res

judicata holding. Its other holding, that the argument was

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procedurally defaulted, is unaffected by his complaints regarding
the missing record at direct appeal because the state habeas court
made this holding based upon the entire record.

A. Deference is Due to the State Supreme Court’s Res Judicata

Holding
To the extent the state habeas court’s holding on the self-
representation claim was on a res judicata premise, the Court must
“look through that decision to the last state-court adjudication

on the merits.” Sears v. Warden GDCP, 73 F.4th 1269, 1286 (11th

Cir. 2023) (quoting Cone, 556 U.S. at 466-67). Because the Georgia
Supreme Court adjudicated this claim on the merits, this Court can
grant relief only if Rivera can satisfy § 2254(d). That standard
requires the Court defer to the Georgia Supreme Court’s decision

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unless it “was contrary to, or involved an unreasonable application
of, clearly established Federal law, as determined by the Supreme
Court of the United States” or (2) “was based on an unreasonable
determination of the facts in light of the evidence presented in
the State court proceeding.” 28 U.S.C. § 2254(d). However, review
of factual determinations under § 2254(d)(2) is expressly limited
to “the evidence presented in the State court proceeding.” Shoop
v. Twyford, 596 U.S. 811, 819 (2022). And “review of legal claims

under § 2254(d)(1) is also “limited to the record that was before

the state court.” Id. (quoting Cullen v. Pinholster, 563 U.S. 170,

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181 (2011).

Accordingly, precedent requires the Court to defer to the
Georgia Supreme Court’s factual determinations even on the
“incomplete” factual record before it. Sears, 73 F.4th at 1286 n.
ll. Those determinations are “presumed to be correct,” and Rivera
has the burden of proving otherwise “by clear and convincing
evidence.” 28 U.S.C. § 2254 (e) (1); Pye, 50 F.4th at 1035. Rivera
relies on the transcript omission to argue “clear and convincing
evidence.” (Doc. 142, p. 256.) Indeed, the Eleventh Circuit

recently held in Sears v. Warden GDCP that a state court’s “failure

to consider the full record result{[s] in an unreasonable
determination of the facts.” 73 F.4th at 1289-90 (collecting
cases). However, in Sears, the Eleventh Circuit described how
when “a state court’s decision did not align with the record,” or
when the record “belied” the Supreme Court of Georgia’s
descriptions of an attorney’s testimony, the Court did not owe the
state court’s finding deference under AEDPA. Id. at 1290 (citing

Ward v. Hall, 583 F.3d 1144, 1173 (llth Cir. 2010) and Jones v.

Walker, 540 F.3d 1277, 1288 & n.5 (llth Cir. 2008). In the cases
referenced in Sears, the state courts had mischaracterized
testimony or faulted a party for failing to argue a claim when
they did argue that claim. Id. Here, however, there was a missing
portion of the record which was virtually inconsequential and thus

those cases are inapposite. Indeed, the missing parts of Rivera's

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direct appeal record only serve to bolster the Georgia Supreme
Court’s conclusions; they do not mischaracterize or belie the
record. Thus, unlike the cases relied upon in Sears, the Georgia
Supreme Court’s decision is supported — both by the record before
it at the time and the full version.

The Georgia Supreme Court relied on Georgia case law to find
that, because Rivera never asked the trial court to allow him to
proceed pro se, there was never any need to confirm his competence.
Rivera, 647 S.E.2d at 77. Tt held that, “[b]ly ensuring that
counsel respected Rivera’s wishes, the trial court did not
transform counsel into co-counsel, rather, it ensured that counsel
served as Rivera’s counsel.” Id. (emphasis in original). It then
held that “to the extent Rivera contends that the trial court erred
in not ensuring that he was competent to control his own defense

.,” nothing indicated “that Rivera was incompetent to stand
trial nor is there anything in the record that should have
indicated to the trial court that a sua sponte inquiry into
competency was required.” Id. at 77-78. Indeed, Rivera’s demands
that his counsel proceed in the manner he desired simply do not
indicate a waiver of the right to counsel necessitating a Sixth
Amendment inquiry under Faretta. Applying deference under AEDPA,
the Court finds that the Georgia Supreme Court’s decision did not
involve an unreasonable determination of the facts or application

of law. See 28 U.S.C. § 2254(d) (1). Moreover, even in the absence

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of any AEDPA deference, the Court agrees fully with the Georgia
Supreme Court’s rejection of this claim and supporting analysis.
Specifically as to Rivera’s argument he was improperly
allowed to direct the decision not to move for a mistrial, (doc.
142, p. 255), the trial court conducted a colloquy with Rivera
regarding his desire not to pursue a mistrial and correctly relied
on applicable U.S. Supreme Court precedent that the attorney is
bound by the client’s wishes. He then denied the secondary request
for a curative instruction. (Doc. 30-7, p. 20.) Given the flat
denial of the lesser request, a motion for mistrial based on the
Same arguments was destined to fail. Moreover, there is no U.S.
Supreme Court precedent concerning whether the Sixth Amendment is
violated when a defendant requires (and the judge allows) his

attorneys to revoke a motion for mistrial or to limit a mitigation

defense in contravention of the attorney’s strategic plans. This
conclusion does not work to Rivera’s advantage. The dearth of
caselaw specifically on point is fatal to Rivera’s claim. 28

U.S.C. § 2254 (d)(1) (habeas corpus shall not be granted unless
adjudication of the claim resulted in a decision that was contrary
to, or involved an unreasonable application of clearly established

Federal Law); Williams v. Taylor, 529 U.S. at 412 (clearly

established federal law “refers to the holdings, as opposed to the
dicta, of [the Supreme Court’s] decisions as of the time of the

relevant state-court decision”).

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Additionally, the missing portions of the transcript do not
indicate that an “important” factual error has been made. Pye, 50
F.4th at 1035. On the contrary, as the state habeas court
concluded, the missing portions actually bolster the Georgia
Supreme Court’s findings and conclusions. It therefore may
properly defer to the Georgia Supreme Court’s reasonable, and
indeed correct, determination of the facts and application of the
law despite the incomplete record under § 2254 (d) (1). To the
extent the Court must review, de novo, the complete record to
ascertain this conclusion, as argued by Rivera, the Court finds
the complete record reveals the merits of Rivera’s claim fail for

the reasons explained below in Section VI(C).

B. State Habeas Court’s Holding that Rivera Procedurally

Defaulted Self Representation Claim is Inadequate to Bar

Federal Review.

The state habeas court’s alternative finding on the self-
representation claim is “Petitioner failed to prove prejudice to
overcome [procedural] default as Petitioner failed to prove that
he would now prevail on his claim with the admission of the omitted
transcript.” (Doc. 37-16, p. 14.) In this Court’s view, the
procedural default holding conflated two separate claims. On the
one hand there is the transcript omission-at once a mere theory
for seeking de novo review, as well as a separate claim at state

habeas in its own right (see doc. 31-4, p. 20)-and on the other

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hand is the self-representation claim itself (id. at 19). The
first claim, wherein Rivera argued at state habeas that he was
wronged by the trial court’s omission of the record on appeal,
should have and could have been brought by Rivera pursuant to the
avenues available to him under Georgia appellate procedure at his
direct appeal, and therefore that argument is procedurally
defaulted. If Rivera had wished to rely upon a portion of the
transcript to make the self-representation argument to the Georgia
Supreme Court, it was incumbent upon him to ensure all relevant
pages of the transcript were included in the record and
specifically presented to the Georgia Supreme Court.12 In failing
to do so, Rivera did not comply with all “independent and adequate”
state procedures, and thus that claim is unexhausted and therefore
continues to be procedurally defaulted in federal court as well.

Id. (quoting Wainwright, 433 U.S. at 86-87; Bailey, 172 F.3d at

1302-03; 28 U.S.C. § § 2254 (b), (c)); see also Mason, 605 F.3d at

1119 (“That is, to properly exhaust a claim, the petitioner must
‘fairly present’ every issue raised in his federal petition to the

state’s highest court, either on direct appeal or on collateral

19 See, e.g., O.C.G.A. § 5-6-42 (Where there is a transcript of evidence and
proceedings to be included in the record on appeal, the appellant shall cause
the transcript to be prepared and filed as provided by Code Section 5-6-41);
O.C.G.A. $ 5-6-41 (“If anything material to either party is omitted from the
record on appeal or is misstated therein, the parties by stipulation, or the
trial court, either before or after the record is transmitted to the appellate
court, on a proper suggestion or of its own initiative, may direct that the
omission or misstatement shall be corrected and, if necessary, that a
supplemental record shall be certified and transmitted by the clerk of the trial
court.”)

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review.”) (quoting Castille v. Peoples, 489 U.S. 346, 351 (1989)).

Because it is unexhausted, Claim 4(c) is DENIED.

However, as to the self-representation claim itself, although
Rivera failed to “properly present[] his claims” regarding the
omitted transcript to the Georgia Supreme Court, he attempted to
use the transcript to support the discrete self-representation
claim. The state habeas court found the self-representation claim
was procedurally defaulted even though it had been brought to the
Georgia Supreme Court, which was confirmed by the state habeas
court’s res judicata holding. (Doc. 37-16, pp. 14-17.) The Court
is unable to definitively hold that Rivera did not fairly present
the self-representation claim to any state court given the state
habeas court’s res judicata holding. Nor is it clear whether any
state court decided the self-representation claim on the merits
given the state habeas court’s procedural default holding. See
Mason, 605 F.3d at 1119 (“When, however, a claim is properly
presented to the state court, but the state court does not
adjudicate it on the merits, we review de novo.”) (citing Cone,
556 U.S. at 472). Additionally, because the state habeas court
determined the self-representation claim was procedurally
defaulted based upon the separate issue of Rivera’s failure to
argue on direct appeal that the transcript was not complete, and
then considered the omitted transcript when discussing the merits,

its procedural default holding is “inadequate” to bar federal

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review. Judd, 250 F.3d at 1313 (holding “the last state court
rendering a judgment in the case must clearly and expressly state
that it is relying on state procedural rules to resolve the federal
claim without reaching the merits of that claim,” or the decision
does not bar federal review). The Court reviews the merits of this
claim for the sake of clarity and finality.

C. Rivera’s Self-Representation Claim Fails on the Merits.

The Court agrees with the Georgia Supreme Court’s findings
that Rivera’s competency to make important decisions about the
objectives of his defense was not in issue, and that his
involvement in his defense did not exceed some threshold mandating
a Faretta inquiry. Furthermore, unlike cases where clients either
unequivocally refuse to accept representation from their attorney
whether by “express, affirmative request for self-representation”
or, at times, by virtue of generally uncooperative conduct, United

States v. Garey, 540 F.3d 1253, 1264 (llth Cir. 2008), neither

existed here. After the Court and Rivera reviewed the precedent,
they discussed the limitations of Rivera’s authority to direct his
case. (Doc. 30-6, pp. 5-6.) They then took a recess. (Id. 9-
10.) Afterwards, Rivera unequivocally stated he did not wish to
proceed pro se, and he wished to continue being represented by his
trial counsel. (Id. at 11.) He even complimented their efforts.
(Id. at 12 (“my lawyers are -- are extremely good.”).)

Well after the state habeas court’s decision, the Supreme

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Court grappled with the autonomy given to criminal defendants to

control their defense. McCoy v. Louisiana, 584 U.S. 414 (2018).

The Court made clear that a distinction exists between trial
management and those decisions which are properly reserved for the
client, including the autonomy to decide the objective of the
defense. Id. The McCoy case did not further define these roles
but specifically held that “it is the defendant’s prerogative, not
counsel’s to . . . admit guilt in the hope of gaining mercy at the
sentencing stage.” Id. at 417-18. Rivera’s briefing assumes the
decision whether to motion for mistrial or to offer a mitigation
defense constitute “trial management” tasks reserved for the
attorney, but the Supreme Court has never stated thus. Indeed,
while McCoy considered whether an attorney may override his
client’s protests of innocence by strategically admitting guilt,
id. at 422, it reiterated Faretta’s guidance that a defendant need
not surrender control entirely to counsel to gain assistance. Id.
at 421-22 (citing Faretta, 422 U.S., at 819-20) (“[G]rant[ing] to
the accused personally the right to make his defense, .. . speaks
of the ‘assistance’ of counsel, and an assistant, however expert,
is still an assistant.”)

The Court is guided by McCoy’s dicta, which notes that a
defendant might reasonably consider “life in prison not worth
living and prefer to risk death for any hope, however small, of

exoneration.” McCoy, 584 U.S. at 423 (quoting Hashimoto,

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the Case, 90 B.U. L. Rev. 1147, 1178 (2010); and Jae Lee v. United

States, 582 U.S. 357, 371 (2017) (recognizing a defendant might
reject a plea and prefer “taking a chance at trial” despite
“[a]llmost certai[n]” conviction (emphasis deleted)). The McCoy
Court has thereby accepted the exact type of behavior which Rivera
exuded may be rational. (See doc. 32-15, p. 69 (Hawk testifying
it was important to Rivera for his children to believe he was
mentally ill, even if illness in question was psychopathy and
unlikely to meet legal standard for insanity) .) Even if it is
not, in the attorney’s opinion, “best suited to avoiding the death
penalty,” it is not necessarily violative of a defendant’s right
to counsel for him to choose that course. McCoy, 584 U.S. at 422-
23.

In other words, a defendant may direct his defense without
_ becoming a pro se party in any de facto sense because his autonomy
is guaranteed by the Sixth Amendment. See id. at 417 (noting Sixth
Amendment guarantees defendant right “to have the Assistance of
Counsel for his defence”) (emphasis in original). Therefore, the
fact that Rivera did so in this case did not render any need for
a Faretta hearing. While “[n]umerous choices affecting conduct of
the trial” do not require client consent, including “the objections
to make, the witnesses to call, and the arguments to advance” (doc.

142, p. 254 (citing Gonzalez v. United States, 553 U.S. 242, 249

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(2008))), there is simply no Supreme Court rule that, because these
decisions do not require client permission, they must be made by
the attorney. And even if an attorney’s failure to prudently make
those decisions might constitute ineffective assistance, whether
a client-directed decision on those choices creates a Sixth
Amendment violation in the manner Rivera proposes, is, at best,
not clearly established. The Court defers to the Georgia Supreme
Court’s holding, but to the extent it must consider the record
omissions to provide finality on this review given the contrary
procedural default holding, it holds Rivera’s self-representation
claim fails on the merits as well. Thus, Rivera’s Claim 4(b) is
DENIED.
Vil. Ineffective Assistance of Habeas Counsel

Rivera’s next argument is familiar. Although the Court
already denied this claim, he reasserts his state habeas counsel
was ineffective in failing to argue that trial counsel ignored
reliable and critical evidence suggesting actual innocence or that
he falsely confessed to the Glista and Wilson murders. (See, doc.

142, pp., 260-64; see also, e.g., doc. 78 pp. 3, 13-51; 158, pp.

10-11.) The Court previously denied this claim because it is time-
barred and procedurally defaulted. (Doc. 96, pp. 16-24.) Rivera
contests this Court’s finding of procedural default, but he ignores
the initial and alternative holding that it is time barred. (Id.

at 10-14) Thus, to the extent he again seeks reconsideration of

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this Court’s December 6th, 2017, Order denying this claim, his
request is, yet again, denied. (Docs. 78 (Motion); 96 (Order
Denying); 98 (Motion for Reconsideration); 107 (Order Denying

Reconsideration).) Arthur v. Thomas, 739 F.3d 611, 630 (11th Cir.

2014) (“[T]he Martinez rule explicitly relates to excusing a
procedural default of ineffective-trial-counsel claims and does
not apply to AEDPA’s statute of limitations or the tolling of that
period.”). Given that Rivera separately and most recently seeks
to assert this argument to excuse his procedural default of other
claims, including his ineffective assistance claim relevant to
prosecutorial misconduct, the Court clarifies its prior holding.
(See, e.g., doc. 158, p. 14 (“Assuming state habeas counsel’s
failure to brief the prosecutorial-misconduct IAC subclaim
rendered the claim unexhausted and procedurally defaulted, state
habeas counsel were deficient in failing to adequately preserve a
substantial IATC claim.”).)

By way of brief review, Rivera takes issue with the Court’s
reliance upon Garland v. State, 657 S.F.2d 842, 843-44 (Ga. 2008),
in holding that, because Rivera could have made his ineffective
assistance of trial counsel claims on direct appeal, before he
filed his collateral petition in state court, the Supreme Court’s
Trevino exception does not apply to excuse the default of certain
ineffective assistance of trial counsel claims. (See, e.g., docs.

142, pp. 260-64 (regarding habeas counsel failure to argue trial

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counsel “ignored” evidence of actual innocence); 158, pp. 14-16
(regarding habeas counsel failure to assert ineffective assistance
on prosecutorial misconduct claim)). Trevino expanded a
preexisting exception established by the Supreme Court in Martinez
v. Ryan, 566 U.S. 1. Martinez allowed a petitioner to rely on
errors made by their state collateral counsel to establish cause
to excuse procedural default of an ineffective trial counsel claim
when (1) “a State requires a prisoner to raise an ineffective-
assistance-of-trial-counsel claim in a collateral proceeding,” as
opposed to on direct appeal; (2) “appointed counsel in the initial-
review collateral proceeding, where the claim should have been
raised, was ineffective under the standards of Strickland;” and
(3) “the underlying ineffective-assistance-of-trial-counsel claim
is a substantial one.” 556 U.S. at 14 (citations omitted).
Trevino broadened the exception to allow such allegations to
constitute cause when the state “effectively” prohibited the
defendant from raising that ineffective assistance of trial
counsel claim on direct appeal. Trevino v. Thaler, 569 U.S. 413,
429 (2013) (“[W]here, as here, state procedural framework, by
reason of its design and operation, makes it highly unlikely ina
typical case that a defendant will have a meaningful opportunity
to raise a claim of ineffective assistance of trial counsel on
direct appeal, our holding in Martinez applies.”). Thus, while

Georgia technically allows a defendant to raise ineffective

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assistance of trial counsel claims on direct appeal, under Trevino,
if Georgia procedure makes it “virtually impossible” for appellate
counsel to adequately present an ineffective assistance claim on
direct review, “ [Georgia] courts in effect have directed
defendants to raise claims of ineffective assistance of trial
counsel on collateral, rather than on direct, review.” Trevino,
569 U.S. at 423-26. This Court’s prior Order found this threshold
was not met as to the claim regarding trial counsel’s “ignoring”
evidence of actual innocence. (Doc. 96, po. 16-24.) Still, Rivera
argues the threshold is met as to this claim as well as to the
claim trial counsel failed to object to prosecutorial misconduct.

The Texas law at issue in Trevino prevented meaningful review
in a different manner than allegedly at issue in Georgia. In
Texas, a criminal defendant was permitted to move for a new trial
to develop the record for establishing ineffective trial counsel
on appeal, but the “vehicle [was] often inadequate because of time
constraints and because the trial record has generally not been
transcribed at that point.” Trevino, 569 U.S. at 424, (quoting Ex

parte Torres, 943 S.W.2d 469, 475 (1997)). Here, the issue is

relevant to appointed trial counsel’s continued representation
from trial to appeal, (see 0.C.G.A. § 17-12-12(d)) and the inherent
conflict arising and then restricting that counsel to argue their
own trial ineffectiveness on direct appeal. As noted in this

Court’s prior order, Georgia procedure allows counsel to seek

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removal from representation so the defendant may request conflict-
free counsel be appointed to prove ineffective assistance.
Garland, 657 S.E.2d at 843-44. Or, aS Respondent notes, a
defendant may request a new trial, and though the motion is
Similarly temporally restrictive to that which exists in Texas, an
amendment may be filed at any time after the transcript is filed
(transcripts due within 45 days from sentencing) to include such
a claim. (See doc. 76 (Citing Ga. Unif. R. Super. Ct. 34, Unif.
App. P. 1iV(A)(1).). Rivera has provided no precedent suggesting
the Supreme Court, the Eleventh Circuit, or the State of Georgia
itself deems Georgia procedure to affirmatively or even
“effectively” require criminal defendants to wait to raise
ineffective assistance claims until collateral review by adopting
this procedural framework. Thus, in the absence of precedent
suggesting otherwise, the Court sustains its ruling and applies it
to Rivera’s new prosecutorial misconduct claims.

However, even if there was no “meaningful opportunity” for
Rivera to litigate his ineffective assistance of trial counsel

claim on direct appeal, thus qualifying for the Trevino exception,

Rivera failed to establish the other two elements under Martinez:
that “appointed counsel in the initial-review collateral

proceeding, where the claim should have been raised, was

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ineffective under the standards of Strickland,”?9 or that “the
underlying ineffective-assistance-of-trial-counsel claim is a
substantial one.” Martinez, 566 U.S. at 14. Rivera argued he is
unable to prove the first element, ineffective assistance of
collateral counsel, because of the inherent conflict arising from
the continued presence of the same counsel in federal court, which
is why he sought supplemental counsel.?} (Doc. 78, p. 57.)
Therefore, Rivera’s briefing on this matter concerned primarily
the failures of trial counsel, who purportedly failed to raise
evidence of actual innocence. (Doc. 78, p-. 52.) However, that
ineffective assistance of trial counsel claim fails; given the
standards for establishing actual innocence are so high - and
indeed, not met- the Court finds that collateral counsel was not
ineffective whether they failed to brief the issue of actual
innocence due to strategy or negligence. It likewise sustains its
decision on rejecting Rivera’s request for supplemental counsel.
(Doc. 96.)

As to his present cause-to-excuse-default argument, Rivera

claims any default of the claim that trial counsel was ineffective

20 Rivera disputed that he failed to exhaust these claims, arguing he was not
required to brief them in order to preserve them. The Court need not review
Georgia’s Rule 22 and 0.C.G.A. § 9-14-52(b) to hold these claims are meritless.
Even if he had exhausted them, they fail.

21 In part because the stand-alone claim of ineffective assistance of habeas

counsel is time barred, the Court previously denied Rivera’s request, (doc.
78), for supplemental counsel to investigate this allegation to prove it. (Doc.
96).

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for failing to object to prosecutorial misconduct is due to habeas
counsel’s failure to properly brief the claim. However, Rivera
cannot meet the high Strickland prejudice burden regarding his
state habeas counsel’s alleged failure to brief a meritless claim.
As described above, trial counsel did object to the alleged
prosecutorial misconduct. (Docs. 30-5, pp. 11-16; 30-7, pp. 14-
15.) Also, as described above, when Rivera appealed the underlying
claim that the prosecutor made improper arguments, the comments
were not deemed improper. Rivera, 647 S.E.2d at 79. As there was
no prosecutorial misconduct, there is no trial counsel
ineffectiveness in failing to object, and therefore no habeas
counsel ineffectiveness in failing to argue it was deficient
performance to fail to object. See Card v. Dugger, 911 F.2d 1494,
1520 (lith Cir. 1990) (“Counsel cannot be labeled ineffective for
failing to raise issues which have no merit.”); see also United

States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992) (‘[A]

lawyer’s failure to preserve a meritless issue plainly cannot
prejudice a client.”). Thus, because there was no misconduct,
there was also no “substantial” trial counsel ineffectiveness.

Therefore, Rivera may not pursue the Martinez-Trevino exception to

prove cause and prejudice to excuse the default of the claim that
trial counsel was ineffective in failing to object to prosecutorial

misconduct.

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VIII. Cumulative Error
Rivera’s Claim Six argues that even if the “many errors” he
asserts did not individually prejudice him, the cumulative impact
of those errors “rendered his death sentence unreliable and
requires the grant of a new sentencing hearing.” (See doc. no.

WwW

142, pp. 264-65.) Under the cumulative-error doctrine, a
sufficient agglomeration of otherwise harmless or nonreversible

errors can warrant reversal if their aggregate effect is to deprive

the defendant of a fair trial.” Insignares v. Sec’y, Fla. Dep’t

of Corr., 755 F.3d 1273, 1284 (11th Cir. 2014) (citing Morris v.

Sec’y, Dep’t of Corr., 677 F.3d 1117, 1132 (11th Cir. 2012)); see

also United States v. Baker, 432 F.3d 1189, 1223 (11th Cir. 2005),

abrogated on other grounds by Davis v. Washington, 547 U.S. 813

(2006). It is unclear whether such a claim is cognizable in § 2254

cases in the Eleventh Circuit. Compare Sims v. Singletary, 155

F.3d 1297, 1314 (11th Cir. 1998) (considering but reversing
district court’s holding that alleged errors cumulatively resulted
in prejudice during sentencing phase which mandated vacating his

death sentence) with Morris v. Secretary, Fla. Dep't of Corr., 677

F.3d 1117, 1132 n.3 (11th Cir. 2012) (“We need not determine
whether, under the current state of Supreme Court precedent,
cumulative error claims reviewed through the lens of the AEDPA can

ever succeed in showing that the state court’s decision on the

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merits was contrary to or an unreasonable application of clearly
established law.”)

The Eleventh Circuit has instead avoided the determination of
whether, under current Supreme Court precedent, cumulative error

could ever succeed under AEDPA. See Hill v. Secretary, Fla. Dep’t

of Corr., 578 F. App'x 805, 810 (11th Cir. 2014) (“[W]le need not
decide [whether a cumulative error claim would be cognizable in
habeas corpus] here because, even assuming a claim of cumulative
error is cognizable in federal habeas proceedings, Hill would not
be able to satisfy that standard.”); Morris, 677 F.3d at 1132 (“For
our purposes, it is enough to say that Morris’s cumulative error
claim clearly fails in light of the absence of any individual
errors to accumulate.”). In those cases, where “there is no error
in any of the trial court’s rulings, the argument that cumulative
trial error requires that this Court reverse the defendant’s
convictions [was] without merit.’” Insignares, 755 F.3d at 1284

(quoting United.States v. Taylor, 417 F.3d 1176, 1182 (11th Cir.

2005) (citations and quotations removed) (alterations in
original).

Assuming this claim is cognizable and that it is not
defaulted, it fails. As demonstrated above, Rivera asserts only
one ground which plausibly implicates constitutional principles:
his Giglio claim. It too failed because its review is ultimately

guided by the Brecht standard in this Court, not the materiality

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standard set forth in the Giglio case itself. Moreover, the Court

has considered every allegation raised by Rivera and finds that
there is no other error, harmless, prejudicial, constitutional, or
otherwise, to accumulate with it which would indicate that Rivera
was so prejudiced by the errors as to mandate the extreme remedy
of reversing the state court sentence. Accordingly, pretermitting
whether “cumulative error” is a claim cognizable in § 2254 cases,
Rivera has not demonstrated that he is entitled to relief in
connection with Ground Six. Morris, 677 F.3d at 1132 (11th Cir.

2012); see also United States v. Waldon, 363 F.3d 1103, 1110 (11th

Cir. 2004). Thus, Claim Six is DENIED.
IX. Certificate of Appealability

Federal Rule of Appellate Procedure 22(b) (1) states in part:
“In a habeas corpus proceeding in which the detention complained
of arises from process issued by a state court, . .. the applicant
cannot take an appeal unless a circuit justice or a circuit or
district judge issues a certificate of appealability under 28
U.S.C. § 2253(c).” Pursuant to 28 U.S.C. § 2253(c) (2), a district
judge should issue a COA “only if the applicant has made a
substantial showing of the denial of a constitutional right.” The
United States Supreme Court has stated that “[t]he COA inquiry

is not coextensive with a merits analysis.” Buck v. Davis,
580 U.S. 100, 115 (2017). Rather, “fa]t the COA stage, the only

question is whether the applicant has shown that ‘jurists of reason

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could disagree with the district court’s resolution of his
constitutional claims or that jurists could conclude the issues
presented are adequate to deserve encouragement to proceed
further.’” Id. (quoting Miller-El v. Cockrell, 537 U.S. 322, 327
(2003)).

Rivera has failed to make a substantial showing of the denial
of a constitutional right with respect to any of his claims. The
Court finds no jurists could disagree with the Court’s conclusions
on the issues presented in any of the claims Rivera properly
raised. Accordingly, Rivera is DENIED a COA for any of his claims.

xX. Conclusion

Because Rivera is not entitled to habeas relief on any of the
claims raised in his Amended Petition and preserved in his Amended
Brief on Exhaustion and Procedural Defenses and in Support of his
Petition for Writ of Habeas Corpus, his Petition is DENIED. His

Request for evidentiary hearing is also DENIED. The Clerk is

directed to CLOSE this case.

ORDER ENTERED at Augusta, Georgia, £#his 3B day rYinbo

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\ UNITED $TATES DISTRICT JUDGE
“\_ SOUTHE N DISTRICT OF GEORGIA

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